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                                          EXHIBIT A


                              Proposed Sale Order – Successful Bid




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                    Chapter 11

CENTER CITY HEALTHCARE, LLC d/b/a                         Case No. 19-11466 (KG)
HAHNEMANN UNIVERSITY HOSPITAL,
et al.,1                                                  Jointly Administered

                                   Debtors.               Re: Docket Nos. 142, 246, 249 & 590




     ORDER UNDER 11 U.S.C. § 105, 106, 363, 365, 503, 507, AND 525 (A) APPROVING
     ASSET PURCHASE AGREEMENT WITH THOMAS JEFFERSON UNIVERSITY
       HOSPITALS, INC., (B) AUTHORIZING SALE OF CERTAIN OF DEBTOR’S
          ASSETS FREE AND CLEAR OF INTERESTS, (C) AUTHORIZING
        ASSUMPTION AND ASSIGNMENT OF CERTAIN OF THE DEBTOR’S
        EXECUTORY CONTRACTS, AND (D) GRANTING RELATED RELIEF

             Upon the motion (the “Sale Motion”)2 of Center City Healthcare, LLC, d/b/a Hahnemann

University Hospital (the “Debtor”), for, inter alia, entry of an order, pursuant to sections 105,

363, 365, 503 and 507 of title 11 of the United States Code (the “Bankruptcy Code”): (i)

approving the sale by the Debtor to Thomas Jefferson University Hospitals, Inc. or its permitted

assignee (the “Purchaser”) of the certain assets (the “Purchased Assets”), as defined in and

pursuant to that certain Asset Purchase Agreement attached hereto as Exhibit A (the

“Agreement”) free and clear of all Interests (defined below) (except those expressly assumed by

the Purchaser), and (ii) authorizing the assumption by the Debtor and assignment to the

Purchaser of certain executory contracts free and clear of all Interests (except those expressly

1
 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617),
SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC
Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA,
L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V
of PA, L.L.C. (5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.
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 Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Sale Motion or
the Agreement (defined below) as applicable.


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assumed by the Purchaser), and (iii) granting certain related relief; and the Court having held a

hearing on September 4, 2019 (the “Sale Hearing”) to approve the Sale Motion; and the Court

having reviewed and considered (a) the Sale Motion, (b) the objections to the Sale Motion, if

any, and (c) the arguments of counsel made, and the evidence proffered or adduced at the Sale

Hearing; and it appearing that the relief requested in the Sale Motion is in the best interests of the

Debtor, its estate and creditors and other parties in interest; and upon the record of the Sale

Hearing and after due deliberation thereon; and good cause appearing therefore,


IT IS HEREBY FOUND AND DETERMINED THAT:

                         A.   This Court has jurisdiction over the Sale Motion pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference dated February 29, 2012, from

the United States District Court for the District of Delaware. Venue is proper pursuant to 28

U.S.C. §§ 1408 and 1409. This is a core proceeding under 28 U.S.C. §§ 157(b)(2)(A), (M), (N)

and (O), and the Court may enter a final order consistent with Article III of the United States

Constitution. The statutory predicates for the relief granted herein are Sections 105, 106, 363,

365, 503, 507, and 525 of the Bankruptcy Code.

                         B.   The findings and conclusions set forth herein constitute the Court’s

findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to

this proceeding pursuant to Bankruptcy Rule 9014.

                         C.   Proper, timely, adequate and sufficient notice of the Sale Motion, the Sale

Hearing and the Debtor’s potential assumption and assignment (or assignment, as applicable) of

the contracts listed on Exhibit B hereto (the “Assigned Contracts”) to the Purchaser has been

provided in accordance with sections 102(1), 363, 365, 503, and 507 of the Bankruptcy Code and

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) 2002, 6004, 6006, 9008 and


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9014 and the order of this Court dated July 19, 2019 (the “Bidding Procedures Order”), and no

other or further notice of the Sale Motion, the Sale Hearing, or of the entry of this Order is

required.

                         D.   A reasonable opportunity to object or be heard regarding the relief

requested in the Sale Motion has been afforded to all interested persons and entities, including:

(a) all entities known to have expressed an interest in a transaction with respect to some or all of

the Debtors’ Purchased Assets during the past six (6) months; (b) all entities known to have

asserted any Interest in or upon any of the Debtors’ Purchased Assets; (c) all federal, state, and

local regulatory or taxing authorities or recording offices which have a reasonably known

interest in the relief requested by this Motion; (d) known counterparties to any unexpired leases

or executory contracts related to the Purchased Assets that could potentially be assumed and

assigned to the Successful Bidder; (e) counsel to MidCap Funding IV Trust; (f) Drexel

University d/b/a Drexel University College of Medicine; (g) the Debtor’s and its debtor-

affiliates’ unions and pension funds; (h) the Internal Revenue Service; (i) the United States

Attorney for the District of Delaware; (j) the United States Department of Justice; (k) the

Pennsylvania Attorney General’s Office; (l) the Pennsylvania Department of Human Services;

(m) the City of Philadelphia; (n) the CMS; (o) the ACGME; (p) all Residents, (q) all known

creditors of the Debtor, including Known Patient Creditors (as defined in the Bidding Procedures

Order); (r) the Pension Benefit Guaranty Corporation (the “PBGC”); and (s) any party that has

requested notice pursuant to Bankruptcy Rule 2002.

                         E.   The Debtor also caused notice of the Sale Motion to be published in The

Philadelphia Inquirer and USA Today, which notice by publication is reasonable and sufficient

to bind holders of claims against the Debtor whose identity was not known to the Debtor as of



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the day before the Mailing Date, including Unknown Patients (as defined in the Bidding

Procedures Order).

                         F.   The Debtor has full corporate power and authority to execute the

Agreement and all other documents contemplated thereby and consummate the transactions

contemplated therein and the sale of the Purchased Assets and assumption and assignment (or

assignment, as applicable) to the Purchaser of any Assigned Contracts as provided in the

Agreement (defined below) (collectively, the “Sale”) has been duly and validly authorized by all

necessary corporate action of the Debtor and no consents or approvals, other than the approval of

this Court, are required for the Debtor to consummate such transactions.

                         G.   The Purchaser is not a successor to or mere continuation of the Debtor or

its estate.

                         H.   The bidding procedures established pursuant to the Bidding Procedures

Order afforded a full, fair and reasonable opportunity for any entity to make a higher or better

offer to purchase the Purchased Assets and Assigned Contracts and no higher or better offer has

been made.

                         I.   The Debtor has demonstrated that it is an exercise of its sound business

judgment to assume and assign the Assigned Contracts and sell the Purchased Assets to the

Purchaser in connection with the consummation of the Agreement, and that approval of the

Agreement and the Sale pursuant thereto is in the best interests of the Debtor, its estate, and its

creditors.

                         J.   The Sale must be completed immediately in order to preserve the value of

the Purchased Assets and to provide certainty to former Hahnemann University Hospital

Residents regarding the status of their tail insurance coverage and, as a result, good and



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sufficient business justification exists for the immediate sale of the Purchased Assets and

assumption and assignment (or assignment, as applicable) of the Assigned Contracts to the

Purchaser outside of a plan of reorganization.

                         K.   The Purchaser is not an insider, as that term is defined in the Bankruptcy

Code, of the Debtor. Furthermore, no insiders of the Debtor are receiving or retaining any

benefit, property or payments in connection with the Sale except to the extent such insiders have

allowed claims against or equity interests in the Debtor and, as a result, may participate in a

distribution of Sale proceeds.

                         L.   The Agreement was negotiated, proposed and entered into by the Debtor

and Purchaser without collusion, in good faith, and as a result of arm’s-length bargaining. The

Purchaser is a good faith purchaser under section 363(m) of the Bankruptcy Code and, as such, is

entitled to the protections afforded thereby with respect to the transactions authorized by this

Order (including specifically, but without limitation, any assumption and assignment of

executory contracts under section 365 of the Bankruptcy Code). Neither the Debtor nor the

Purchaser has engaged in any conduct that would cause or permit the Agreement to be avoided

under section 363(n) of the Bankruptcy Code.

                         M.   In the absence of a stay pending appeal, the Purchaser will be acting in

good faith within the meaning of section 363(m) of the Bankruptcy Code in closing the

transactions contemplated by the Agreement at any time after the entry of this Order, provided

the Purchaser shall not be obligated to close until all applicable conditions to closing under such

Agreement have been satisfied or waived as provided in such Agreement.                   In closing the

transactions contemplated by the Agreement absent satisfaction of the condition of CMS

consent, the Purchaser shall be deemed to have materially relied on the findings and decrees in



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this Order, including specifically, but without limitation, (i) the finding that there has not been,

and will not be, a cessation of business of Hahnemann University Hospital at any time prior to

the Closing, and the Participating Provider Agreement therefore is in full force and effect; (ii) the

finding and decrees that legacy Hahnemann University Hospital residency slots temporarily

following displaced Residents shall revert to the Purchaser upon conclusion of each such

Resident’s participation in their programs, and, subject only to the temporary displacement

described in the preceding clause, the Purchaser shall be entitled to be paid by CMS for GME

funding at aggregated legacy Hahnemann University Hospital and Thomas Jefferson University

Hospital residency slot counts; and (iii) the findings and decrees capping the Purchaser’s liability

to CMS for claims arising prior to the Closing to the CMS Pre-Closing Amount.                    The

aggregation of the legacy Hahnemann University Hospital residency slots with the Thomas

Jefferson University Hospital residency slots and the limitation of “successor liability” for pre-

Closing amounts were integral components of the bargain struck by the Purchaser for the

purchase of the Purchased Assets, without which it would not have entered into the Agreement.

                         N.   The consideration provided by the Purchaser for the Purchased Assets

being purchased, including the Assigned Contracts, pursuant to the Agreement constitutes the

best and highest offer for the Purchased Assets and the Assigned Contracts and reasonably

equivalent value and fair consideration under the Bankruptcy Code and under the laws of the

United States, any state, territory, possession thereof, and the District of Columbia.

                         O.   The Debtor may sell the Purchased Assets and Assigned Contracts free

and clear of all Interests (including, without limitation, those (i) that purport to give to any party

a right or option to effect any forfeiture, modification or termination of the Debtor’s or the

Purchaser’s interest in the Purchased Assets and/or Assigned Contracts and, (ii) in respect of



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Taxes), because each entity with an Interest in any of the Purchased Assets and/or Assigned

Contracts, including but not limited to CMS or any Governmental Body, accrediting body, or

other third party, as applicable, has consented to the Sale, is deemed to have consented to the

Sale, has a claim which is subject to a bona fide dispute, or could be compelled in a legal or

equitable proceeding to accept a money satisfaction of such Interest. For the avoidance of doubt,

HHS and CMS (as defined below) have not, and are not deemed to have, consented to the Sale.

                         P.   The Debtor has good and transferable title to the Purchased Assets and

Assigned Contracts (including specifically, but without limitation, the Participating Provider

Agreement) and, accordingly, the transfer of the Purchased Assets and assignment of the

Assigned Contracts to the Purchaser pursuant to the Agreement will be a legal, valid, and

effective transfer of the Purchased Assets and assignment of the Assigned Contracts.

                         Q.   Neither the transfer of the Purchased Assets nor the assignment of the

Assigned Contracts pursuant to the Agreement will subject the Purchaser, its Affiliates, the

Consortium or an of its members to any liability (except those expressly assumed by the

Purchaser pursuant to the Agreement (the “Assumed Liabilities”)) for claims against the Debtor

or the Debtor’s predecessors or affiliates of any kind or character, whether known or unknown,

now existing or hereafter occurring, whether fixed or contingent, based, in whole or in part,

directly or indirectly, on any theory of law, including, without limitation, any theory of

successor, vicarious or transferee liability. Without limiting the general nature of the foregoing,

neither the transfer of the Purchased Assets nor the assignment of the Assigned Contracts will

subject the Purchaser, its Affiliates, or the Consortium or its members, to any (1) liability on

account of any employee benefit plan maintained by the Debtor, or the Debtor’s predecessors or

affiliates, including but not limited to any liability related to benefits, underfunding, termination



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and/or termination premiums, regardless when such claims are deemed to have accrued and

regardless whether such would be considered “claims” as such term is defined in the Bankruptcy

Code, to (i) the PBGC, or (ii) to any plan participant or beneficiary (collectively, the “PBGC

Claims”); (2) claims, administrative proceedings or actions brought by or on behalf of any

Governmental Body, accrediting body, or other third party relating to the operation of the

Business prior to Closing, subject only to collection of an amount not exceeding, in the aggregate

with collections therefrom pursuant to the immediately following clause, the CMS Pre-Closing

Amount from the Escrow Account; (3) claims relating to the Participating Provider Agreement

for services rendered or amounts paid to Seller prior to the Closing in any amount in excess,

together with other collections therefrom pursuant to the immediately preceding clause, of the

CMS Pre-Closing Amount; and/or (4) claims or actions or proceedings brought under or related

to Medicare/Medicaid statutes or regulations or the statutes and regulations applicable to other

governmental health care reimbursement programs including enforcement actions and

administrative agency rulings or interpretations.

                         R.   The Purchaser has provided adequate assurance of future performance

under the Assigned Contracts, to the extent required by Section 365(b)(1)(C) of the Bankruptcy

Code.

                         S.   Upon the assumption and assignment (or assignment, as applicable) of the

Assigned Contracts, as provided herein, the Purchaser shall succeed to all of the right, title and

interest of the Debtor under the Assigned Contracts including, without limitation, the right to

exercise renewal options which, pursuant to any provision of the applicable Assigned Contract or

applicable nonbankruptcy law, are not exercisable by assignees of the Debtor, the Court having

found that such provisions, as they relate to the assumption and assignment (or assignment, as



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applicable) to the Purchaser of the Assigned Contracts, are unenforceable pursuant to Section

363(l), 365(e)(1), or 365(f)(3) of the Bankruptcy Code, as applicable.

                         T.   As to the Participating Provider Agreement and the objection of the

United States of America (“United States”), on behalf of the Department of Health and Human

Services (“HHS”), acting through its designated component, the Centers for Medicare &

Medicaid Services (“CMS”), specifically, and without limiting the generality of any of the

foregoing paragraphs that are otherwise applicable:

                              (i)     the Participating Provider Agreement is not an executory contract

             within the meaning of section 365 of the Bankruptcy Code because the parties thereto do

             not have any material performance obligations under such agreement, as distinct from

             their obligations under the applicable Medicare statutes and regulations, see In re B.D.K.

             Health Management, Inc., No. 98-00609-6B1, 1998 WL 34188241, *6-7 (Bankr. M.D.

             Fla. Nov. 16, 1988); accordingly, the Debtors need not satisfy the requirements of section

             365 in order to assign the Participating Provider Agreement to the Purchaser in

             accordance with the Agreement;

                              (ii)     the transfer of the Participating Provider Agreement does not

             violate the federal Anti-Assignment Act;

                              (iii)   the transaction contemplated by the Agreement (the “Transaction”)

             constitutes a “change of ownership” within the meaning of 42 C.F.R. § 489.18(a) (a

             “CHOW”), as a result of which the legacy Hahnemann University Hospital residency

             slots temporarily following each displaced Resident shall revert to the Purchaser upon

             conclusion of each such Resident’s participation in their respective program, and, subject

             only to temporary displacements referred to in the preceding clause, the Purchaser shall



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             be entitled to be paid by CMS for GME funding at aggregated legacy Hahnemann

             University Hospital and Thomas Jefferson University Hospital residency slot counts;

                               (iv)    any so-called “successor liability” under C.F.R. § 489.18(d) as a

             result of the CHOW is subject to limitation by operation of applicable provisions of the

             Bankruptcy Code, as set forth in this Order;

                               (v)     the Participating Provider Agreement may be assigned to the

             Purchaser free and clear of any alleged claim of CMS arising prior to the Closing (A) for

             amounts in excess of $3,000,000 (the “CMS Pre-Closing Amount”) or (B) brought or

             made following distribution of funds in the Escrow Account to the Debtor pursuant to the

             terms of the Agreement and the Escrow Agreement, because (X) a debtor’s rights under a

             contract are property that may be sold pursuant to section 363 of the Bankruptcy Code,

             (Y) any alleged claims in excess of the CMS Pre-Closing Amount are the subject of a

             bona fide dispute, and (Z) CMS could be compelled in a legal or equitable proceeding to

             accept a money satisfaction of such claims; accordingly, sale of the Participating Provider

             Agreement free and clear of any alleged claim of CMS for amounts in excess of the Pre-

             Closing Amount is permitted by sections 363(f)(4) and (f)(5) of the Bankruptcy Code;

                               (vi)    as of the date of entry of this order, there has been no cessation of

             business of Hahnemann University Hospital; accordingly, 42 C.F.R §§ 489.52(b)(3) and

             413.79(h) do not apply and have not resulted in the termination of the Participating

             Provider Agreement, which is in full force and effect, and not subject to pending actions

             of termination;

                               (vii)   as of the Closing, there shall be deemed not to have been any

             cessation of business of Hahnemann University Hospital; accordingly, 42 C.F.R



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             §§ 489.52(b)(3) and 413.79(h) shall be deemed not to apply and not to have resulted in

             the termination of the Participating Provider Agreement, which shall be deemed in full

             force and effect, and not subject to pending actions of termination;

                         NOW, THEREFORE, IT IS HEREBY ADJUDGED, ORDERED, AND

DECREED THAT:

                         1.   The Sale Motion, and the relief sought therein (including approval of the

Sale) is GRANTED, in all respects as set forth herein.

                         2.   All objections to the Sale Motion or the relief requested therein that have

not been withdrawn with prejudice, waived, or settled, and all reservations of rights included

therein, are overruled on the merits.

                         3.   The Agreement, and all of the terms and conditions thereof, is hereby

approved.

                         4.   Pursuant to Sections 105(a), 363(b) and 365 of the Bankruptcy Code, the

Debtor is authorized and directed to take all actions necessary to consummate the Sale pursuant

to and in accordance with the terms and conditions of the Agreement.

                         5.   In the event Purchaser fails to consummate the Sale on the terms and

conditions of the Agreement, the Debtors, in consultation with the Committee, may designate

Reading Hospital (the “Backup Bidder”) as the Successful Bidder for all purposes herein

pursuant to the terms of its backup bid attached hereto as Exhibit C (the “Backup Bid”). Upon

such designation, the Debtors shall be authorized, but not required, to submit, in consultation

with the Committee and under certification of counsel, an alternative form of proposed sale

order, substantially in the form previously submitted with the Court [D.I. 246], modified to

conform to the terms of the Backup Bid, authorizing the Debtors to consummate all transactions



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contemplated by the Backup Bid. In such case, the Purchaser’s deposit shall be forfeited to the

Debtors as set forth in the Bidding Procedures.

                         6.   As of the date of closing under the Agreement (the “Closing Date”), the

Assigned Contracts that are executory contracts or unexpired leases shall be deemed to have

been assumed by the Debtor and assigned to the Purchaser pursuant to Section 365(f) of the

Bankruptcy Code. Pursuant to section 365(k) of the Bankruptcy Code, the Debtor and the

Debtor’s estate shall be relieved from any liability for any breach of such an Assigned Contract

occurring after the effective date of the Closing Date. As of the Closing Date, the Assigned

Contracts that are not executory contracts or unexpired leases shall be deemed to have been

assigned to the Purchaser pursuant to section 363(b) of the Bankruptcy Code.

                         7.   On the Closing Date, from the Purchase Price, the Purchaser shall pay to

the Escrow Agent the Escrow Amount, which shall be deemed to include an amount equal to the

maximum cure amounts (the “Maximum Cure Amounts”) that would be assertable by the non-

debtor party to each other Assigned Contract that is an executory contract, as such Maximum

Cure Amounts are stated on Exhibit B. For the avoidance of doubt, the Maximum Cure

Amounts stated on Exhibit B shall be the maximum amount of any subsequently allowed claim

to which any non-debtor party to an Assigned Contract that is an executory contract shall be

entitled pursuant to Section 365(b)(1)(A) of the Bankruptcy Code. To the extent a Maximum

Cure Amount is stated on Exhibit B for the Participating Provider Agreement, such Maximum

Cure Amount shall be deemed to be the CMS Pre-Closing Amount for purposes of the

Agreement.

                         8.   Upon the Closing (i) all defaults under the related Assigned Contracts

required to be cured pursuant to Section 365(b)(1)(A) of the Bankruptcy Code shall be deemed



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cured and all amounts due to the non-debtor parties to such Assigned Contracts pursuant to

Section 365(b)(1)(B) on account of any pecuniary loss resulting from such defaults shall be

deemed paid in full, and (ii) each non-debtor party to such Assigned Contracts that is an

executory contract shall be forever bound by such Maximum Cure Amounts and enjoined from

seeking to terminate such Assigned Contract or enforce any other remedies under such Assigned

Contract against the Purchaser on account of defaults by the Debtor, including defaults as to

which, pursuant to Section 365(b)(1)(A) of the Bankruptcy Code, cure is not required.

                         9.    Upon payment by the Purchaser of the Escrow Amount to the Escrow

Agent, the non-debtor parties to, and beneficiaries of, Assigned Contracts that are executory

contracts, including any Governmental Body, accrediting body, or other third party, shall be (i)

forever bound by the Maximum Cure Amounts, and (ii) enjoined from seeking (A) recourse

against the Purchaser, its Affiliates, or the Consortium or its members, on account of any defaults

by the Debtor under the related Assigned Contracts required to be cured pursuant to Section

365(b)(1)(A) of the Bankruptcy Code and/or any pecuniary loss resulting from such defaults due

to such non-debtor party pursuant to Section 365(b)(1)(B) of the Bankruptcy Code in excess of

the related Maximum Cure Amount, (B) recourse against the Purchaser, its Affiliates, or the

Consortium or its members for successor, vicarious, or transferee, relating to claims,

administrative proceedings or actions relating to the operation of the Business prior to Closing,

and/or (C) to terminate such Assigned Contract or enforce any other remedies under such

Assigned Contract against the Purchaser on account of defaults by the Debtor, including defaults

as to which, pursuant to Section 365(b)(1)(A) of the Bankruptcy Code, cure is not required.

                         10.   [RESERVED]




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                         11.   Any provision in any Assigned Contract that purports to declare a breach,

default or payment right as result of an assignment or a change of control in respect of the Debtor

as relates to the assumption of any Assigned Contract by the Debtor and assignment of such

Assigned Contract to the Purchaser is unenforceable, and all such Assigned Contracts shall

remain in full force and effect, notwithstanding any such provision. No sections or provisions of

any Assigned Contract that purports to provide for additional payments, rent accelerations,

assignment fees, increases, payments, deposits, security, charges or any other fees charged to the

Purchaser or the Debtor as a result of the assumption and the assignment (or assignment, as

applicable) of the Assigned Contracts to the Purchaser shall have any force and effect with

respect to the transactions contemplated by the Agreement and assignments authorized by this

Order, and such provisions are unenforceable under Section 363(l), 365(e)(1), 365(f), or

541(c)(1) of the Bankruptcy Code, as applicable.

                         12.   Except for the Assumed Liabilities, pursuant to (and to the maximum

extent permitted by) sections 105(a) and 363(f) of the Bankruptcy Code, upon the Closing under

the Agreement, the Purchased Assets and the Assigned Contracts shall be free and clear of all

interests of any entity other than the estate (collectively, “Interests”), including, without

limitation, any (i) mortgages, security interests, conditional sale or other title retention

agreements, pledges, liens, rights of offset, judgments, demands, encumbrances and claims (as

that term is defined in the Bankruptcy Code); (ii) successor, vicarious, or transferee liability

against the Purchaser, its Affiliates, or the Consortium or its members, whether known or

unknown, now existing or hereafter occurring, whether fixed or contingent, based, in whole or in

part, directly or indirectly, on any theory of law, relating to claims, administrative proceedings or

actions brought by or on behalf of any Governmental Body, accrediting body, or other third party



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relating to the operation of the Business prior to Closing; (iii) rights or options to effect any

forfeiture, modification, repurchase, or termination of the Debtor’s or Purchaser’s interest in the

Assigned Contracts and/or Purchased Assets, regardless whether such are “claims” as that term is

defined in the Bankruptcy Code, (iv) PBGC Claims, (v) claims in respect of Taxes (including

taxes as to which applicable returns have not yet been filed, whether or not overdue); (vii) claims

relating to the Participating Provider Agreement in excess of the CMS Pre-Closing Amount or

brought or made following distribution of funds in the Escrow Account to the Debtor pursuant to

the terms of the Agreement and the Escrow Agreement; (viii) claims or actions or proceedings

brought under Medicare/Medicaid statutes or regulations or the statutes and regulations

applicable to other governmental health care reimbursement programs including enforcement

actions and administrative agency rulings or interpretations; and (ix) easements, restrictions,

rights of first refusal or charges of any kind or nature, if any, including, but not limited to, any

restriction on the use, voting, transfer, receipt of income or other exercise of any attributes of

ownership, regardless whether such are “claims” as that term is defined in the Bankruptcy Code,

with all such Interests to attach to the Net Proceeds of Sale (defined below) in the order of their

respective priorities, with the same validity, force and effect (if any) which they now have

against the Purchased Assets and Assigned Contracts, subject to any claims and defenses the

Debtor may possess with respect thereto. The “Net Proceeds of Sale” is the Base Purchase Price,

plus the adjustment pursuant to the section 3.2(d) of the Agreement, minus the Escrow Amount,

minus Tail Coverage Costs paid from the Base Purchase Price, minus the $225,000 break-up fee

payable to Reading Hospital, plus any amounts distributed by the Escrow Agent to the Debtor

after Closing. For the avoidance of doubt: (i) the Debtors may use a portion of the Base

Purchase Price, not to exceed the Tail Coverage Costs, to purchase the Tail Coverage



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Endorsement in accordance with the Agreement; and (ii) the Escrow Amount shall not be

property of the Debtor’s estate and no Interests shall attach to the Escrow Amount unless and

until such funds are distributed to the Debtor pursuant to the terms of the Agreement and the

Escrow Agreement. The Net Proceeds of Sale and any amounts reimbursed to the Debtors from

the Purchaser with respect to its Tail Coverage Costs shall be deposited into the disbursements

account maintained by the Debtors at Wells Fargo Bank, N.A., and shall not be swept by

MidCap Funding IV Trust or any of its affiliates (collectively “MidCap”), and shall not

otherwise be disbursed except: (a) as to operating disbursements, by agreement of the Debtors

and MidCap in consultation with the Committee, and otherwise by agreement of the Debtors,

MidCap and the Committee; or (b) pursuant to further Court order. All rights of the Debtors,

MidCap and the Committee are expressly reserved with regard to the extent, priority and validity

of any lien asserted by MidCap with respect to the Purchased Assets and the Net Proceeds of

Sale. Upon entry of a final order ruling that MidCap has a valid, perfected lien against the Net

Proceeds of Sale, the remaining Net Proceeds of Sale shall be disbursed to MidCap up to the

aggregate amount of MidCap’s claims against the Debtors.                    Any fees payable, or costs

reimbursable, to SSG Advisors, LLC on account of or related to the Sale shall be paid from the

Net Proceeds of Sale, upon allowance thereof by Court order.

                         13.   All claims of the Purchaser or any other Purchaser Indemnified Party for

indemnification under the terms of the Agreement or for distributions from the Escrow Funds on

account of Cure Amounts shall be treated as administrative claims pursuant to Section 503 and

507 of the Bankruptcy Code solely to the extent necessary to permit a claim against the Escrow

Amount; provided, however, except as otherwise stated in the Agreement, the sole remedy for

claims by the Purchaser or any other Purchaser Indemnified Party for indemnification for



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monetary damages shall be to and against the Escrow Amount and shall be determined and paid

pursuant to the terms of the Agreement and the Escrow Agreement. To the extent of any conflict

between the terms of the Agreement or the Escrow Agreement relating to such determination and

payment of indemnity claims and the Bankruptcy Code or Bankruptcy Rules, the terms of the

Agreement and the Escrow Agreement shall control.

                         14.   All persons (including, for the avoidance of doubt, governmental agencies

and departments) are hereby enjoined from asserting, prosecuting or otherwise pursuing any

claim against the Purchaser or any member of the Purchaser to recover on any claims (regardless

of when accrued and regardless whether meeting the definition of “claim” under the Bankruptcy

Code) such person had, has or may have (other than an Assumed Liability) against (x) the

Debtor, its estate, officers, directors, shareholders, the Purchased Assets or the Assigned

Contracts, or (y) the Purchaser in connection with the negotiation of, and any agreements

contained in, related to or conditioned upon, the Agreement.

                         15.   As of the Closing Date, each of the Debtor’s creditors is authorized and

directed to execute such documents and take all other actions as may be necessary to release its

Interests in or claims against the Purchased Assets and Assigned Contracts, if any, as such

Interests or claims may have been recorded or may otherwise exist.

                         16.   Each and every federal, state and local governmental agency or

department, together with its agents, contractors, and designees, shall be, and hereby is,

(i) authorized and directed to accept (A) this Sale Order as sufficient evidence of the transfers of

all right, title, and interest in, to, and under the Purchased Assets and the Assigned Contracts, and

(B) any and all documents and instruments necessary and appropriate to consummate the

transactions contemplated by the Agreement; and (ii) authorized to rely on this Sale Order in



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consummating, or facilitating the consummation of, the transactions contemplated by the

Agreement.

                         17.   Upon the occurrence of the Closing, all Interests in, against, or upon the

Purchased Assets or the Assigned Contracts shall be unconditionally released, terminated, and

discharged without the need for any further action.              Notwithstanding the foregoing, at the

Closing, or as soon as practicable thereafter, (x) the Debtor and the Purchaser are hereby

authorized to execute and file such termination statements, instruments of satisfaction, releases,

or other documents to reflect the unconditional release, termination, and discharge of such

Interests on behalf of such person or entity with respect to the Purchased Assets and the

Assigned Contracts, and (y) the Purchaser is hereby authorized on behalf of each holder of a

purported Interest to file, register, or otherwise record a copy of this Sale Order, which, once

filed, registered, or otherwise recorded, shall constitute conclusive evidence of the unconditional

release, termination, and discharge of all Interests in, against, or upon the Purchased Assets or

the Assigned Contracts. The provisions of this Order authorizing the sale of the Purchased

Assets free and clear of all Interests are self-executing and, notwithstanding the failure of the

Debtor, the Purchaser or any other party to execute, file or obtain termination statements,

instruments of satisfaction, releases, or other documents to reflect the release, termination, and

discharge of any such Interests, all such Interests shall be deemed divested immediately upon

Closing.

                         18.   All entities that are presently, or on the Closing Date may be, in

possession of some or all of the Purchased Assets are hereby directed to surrender possession of

the Purchased Assets to the Purchaser on the Closing Date.




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                         19.   As of the Closing Date, all agreements of any kind whatsoever and all

orders of this Court entered prior to the date hereof shall be deemed amended and/or modified to

the extent required to permit the consummation of the transactions contemplated by the

Agreement.

                         20.   Pursuant to, and to the fullest extent permitted by, Sections 105(a) and 525

of the Bankruptcy Code, all governmental units are hereby prohibited from denying, revoking,

suspending, or refusing to renew any permit, license, or similar grant relating to the operation of

the Purchased Assets or the Assigned Contracts on account of the filing or pendency of the

Bankruptcy Cases, the consummation of the Sale, or the Debtor’s or the Purchaser’s failure to

pay a debt that is dischargeable in the Bankruptcy Cases or was discharged under the Bankruptcy

Code.

                         21.   To the fullest extent permitted by applicable law, the Purchaser shall be

authorized, as of the Closing Date and upon the occurrence of Closing, to operate under any

transferred license, permit, registration and governmental authorization or approval of the Debtor

with respect to the Purchased Assets, and all such licenses, permits, registrations and

governmental authorizations and approvals are deemed to have been, and hereby are, directed to

be transferred to the Purchaser as of the Closing Date.

                         22.   Subject to paragraph 34 of this Order, nothing in this Order is intended to

abrogate or limit the authority or discretion of the Pennsylvania Department of Health over

regulatory matters such as closure and licensing of health care facilities; provided, that if CMS or

its agents, contractors, or designees seek any administrative action or processing by the

Pennsylvania Department of Health in its capacity as a state survey agency to process the

CHOW and transfer of the Participating Provider Agreement hereby, the Pennsylvania



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Department of Health, if it acts in such capacity, shall perform such action or processing to give

effect to this Transaction. For the avoidance of doubt, nothing herein shall affect any right of the

Pennsylvania Department of Health to elect or not elect, under applicable law, to serve as state

survey agency.

                         23.   No law of any state or other jurisdiction relating to bulk sales or similar

laws shall apply in any way to the Transaction, the Sale Motion, and this Order.

                         24.   For the avoidance of doubt, any privileges, protections or immunities of

the Debtor for communications, documents, materials or matters arising at any time, whether

before or after the Petition Date, including but not limited to any attorney-client privilege, work

product doctrine, common interest or joint defense privilege, relating to any matter whatsoever,

including without limitation any matter relating to the negotiation and implementation of the

Agreement and any of the transactions contemplated thereby or entered into in connection

therewith (collectively, “Privilege”) shall not be Purchased Assets under the Agreement, and any

such Privilege is owned and will continue to be owned by the Debtor, and notwithstanding

anything to the contrary herein or in the Agreement, the Purchaser shall have no interest in or

rights with respect to the Privilege, whether pursuant to this Order, the Agreement, or otherwise.

The Privilege shall remain within the sole control of the Debtor and may not be waived by any

other person or entity.

                         25.   The Agreement and the Escrow Agreement, as well as other agreements

related thereto, may be modified, amended, or supplemented by the Debtor and the Purchaser

without further order of the Court, provided that any such modification, amendment, or

supplement either is (a) not material or (b) not less favorable to the Debtor than the existing

applicable provisions.



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                         26.   This Court shall retain jurisdiction (a) to enforce and implement the terms

and provisions of the Agreement, all amendments thereto, any waivers and consents thereunder

and each of the agreements executed in connection therewith, (b) to compel delivery of the

Purchased Assets and Assigned Contracts to the Purchaser, (c) to resolve any disputes arising

under or related to the Agreement, except as otherwise provided therein, and (d) to interpret,

implement and enforce the provisions of this Order.

                         27.   Nothing contained in any plan confirmed in these Bankruptcy Cases or the

order confirming any such plan shall conflict with or derogate from the provisions of the

Agreement or the terms of this Order. Further, the provisions of this Order and any actions taken

pursuant hereto shall survive the entry of any order which may be entered confirming any plan,

converting the Debtor’s bankruptcy case from chapter 11 to a case under chapter 7 of the

Bankruptcy Code, or providing for dismissal of the Debtor’s bankruptcy case.

                         28.   The terms and provisions of the Agreement, together with the terms and

provisions of this Order, shall be binding in all respects upon, and shall inure to the benefit of,

the Debtor, its estate, its creditors, the Purchaser and its affiliates, successors and assigns, and

any affected third parties including, but not limited to, all persons asserting a claim against or

Interest in the Debtor’s estate or any of the Assigned Contracts and the Purchased Assets and any

trustee appointed for the Debtor under any chapter of the Bankruptcy Code.

                         29.   The failure specifically to include any particular provision of the

Agreement in this Order shall not diminish or impair the effectiveness of such provision, it being

the intent of the Court that the Agreement be authorized and approved in its entirety.




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                         30.   The Purchaser is a party in interest and shall have standing to appear and

be heard on all issues related to or otherwise connected with this Order, the Sale or the

Agreement.

                         31.   Participating Provider Agreement and Residency Slots.           CMS, its

applicable Regional Office (“RO”), its Medicare Administrative Contractors (“MACs”), and

their respective agents, contractors, and designees, shall treat, and shall be deemed to have

treated, the Transaction as a CHOW for all Medicare purposes, including merging provider

agreements and graduate medical education (“GME”) caps. Legacy Hahnemann University

Hospital residency slots temporarily following displaced Residents shall revert to the Purchaser

upon conclusion of each such Resident’s participation in their respective programs, and, subject

only to temporary displacement pursuant to the preceding clause, the Purchaser shall be entitled

to be paid by CMS for GME funding at aggregated legacy Hahnemann University Hospital and

Thomas Jefferson University Hospital residency slot counts.               CMS, RO, MACs, and their

respective agents, contractors, and designees shall give effect to the Transaction in all regards,

including specifically, but without limitation, the aggregation of the legacy Hahnemann

University Hospital and Thomas Jefferson University Hospital residency slot counts under the

participating provider agreement of Thomas Jefferson University Hospital, and shall take all

steps necessary and convenient to so effecting the Transaction, including, without limitation, the

process as follows:

                               (a)    RO shall issue, and prior to such issuance shall be deemed to have

             issued, a tie-in notice, effective as of the Closing Date of the Transaction, confirming the

             merger of provider numbers for Hahnemann University Hospital and Thomas Jefferson

             University Hospital;



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                            (b)    As a result of the merger of provider numbers described in the

             immediately preceding paragraph, RO shall retire, and prior to such retirement the RO

             shall be deemed to have retired, the separate provider number of Hahnemann University

             Hospital;

                            (c)    RO shall instruct the MAC promptly to, and prior to such

             instruction and performance, the RO shall be deemed to have instructed and the MAC

             shall be deemed to have performed, such tasks as are necessary to, (i) update systems to

             change Hahnemann University Hospital’s name, location, electronic funds transfer (EFT)

             account, and payment address to that of the Thomas Jefferson University Hospital;

             (ii) make other updates necessary to effect the merger of provider numbers; (iii) notify

             Thomas Jefferson University Hospital it may begin submitting under its provider number

             claims associated with the former Hahnemann University Hospital provider number (for

             GME purposes);

                            (d)    CMS shall adjust, and prior to such adjustment, shall be deemed to

             have adjusted, all indirect and direct GME payments to reflect the aggregation of

             residency slots;

                            (e)    if and to the extent that CMS, the RO, MACs, or their agents,

             contractors, or designees may require any agreement, certification, consent, instruction,

             recommendation, or other action of any of CMS, the RO, MACs, or their agents,

             contractors, or designees in order to perform such functions as are required hereunder,

             such agreement, certification, consent, instruction, recommendation, or other action shall

             be deemed to have been made, given, or taken, as applicable; and




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                               (f)    CMS, the RO, MACs, and their agents, contractors, and designees,

             are precluded from taking any action prior to the Closing to seek to terminate the

             Participating Provider Agreement for any reason related to any alleged cessation of

             business of Hahnemann University Hospital.

                         32.   Notwithstanding anything to the contrary in this Order, nothing set forth

herein shall be deemed to limit, impair or affect in any way (i) Seller’s right, title and interest in

Seller’s cash and patient accounts receivable, payor/contractor accounts receivable, Medicare

reimbursements or adjustments and all other accounts receivable (collectively, “Accounts

Receivable”) for services rendered or goods sold prior to the Closing Date, which cash and

Accounts Receivable remain the property of Seller as Excluded Assets and shall be reimbursed

to Seller if received by Purchaser nor (ii) Seller’s ability to complete any remaining billing for

services rendered or goods sold prior to the Closing Date under Seller’s Medicare provider

number. Purchaser agrees that it will provide Seller (or Seller’s billing agent) with reasonable

access to the Participating Provider Agreement, Books and Records and Governmental

Authorizations as may be necessary in order for Seller to facilitate billing and collecting for

services furnished to Medicare beneficiaries by Seller.

                         33.   Notwithstanding anything to the contrary in the Agreement or any

document relating to the Sale, the Purchased Assets shall not include (i) any cause of action or

proceeds of such cause of action under chapter 5 of the Bankruptcy Code or applicable state law

equivalents; (ii) any commercial or other tort claims arising on or before the closing date of the

Sale, or any proceeds of such claims, including, without limitation, any and all causes of action

(a) against present and former directors and officers of the Debtors and/or any of their affiliates,

(b) against direct and indirect equity holders of the Debtors and/or their affiliates, and (c) of the



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Debtors and/or any of their affiliates against any other Debtors; and (iii) any claims or causes of

action against the Debtors’ contract counterparties (other than claims or causes of action arising

under any contract that is assumed by the Debtors), or any proceeds of such claims or causes of

action.

                         34.   Notwithstanding the provisions of Fed. R. Bankr. P. 6004(h), 6006(d), and

7062, this Order shall be effective and enforceable (i) immediately upon its entry, with respect to

the relief granted in this paragraph and (ii) seven calendar days following the time of its entry, as

to all other relief. Prior to the earlier of (i) the Closing or (ii) seven calendar days following the

full effectiveness and enforceability of this Order, no person (including, for the avoidance of

doubt, any governmental agency or department), other than the Debtor and its affiliated debtors-

in-possession, may take or cause any other person to take any action with respect to or affecting

the Purchased Assets, including the Participating Provider Agreement, that in any way would

affect the ownership, transferability, validity, enforceability, or effectiveness of the Purchased

Assets, or the performance or consummation of the Transaction or any of the decrees herein. For

the avoidance of doubt, the foregoing sentence is not intended, nor shall it be construed, to

preclude (i) CMS from appealing or seeking a stay pending appeal of this Order or (ii) the

Purchaser from exercising any right to terminate the Agreement pursuant to the terms thereof.

With respect to the Pennsylvania Department of Health (“DOH”), the provisions of this

paragraph 34 shall only apply to stay DOH (1) in its capacity as a state survey agency and/or (2)

from taking any further steps in connection with the Debtor’s closure process, or otherwise

seeking the revocation, surrender and/or termination of the Debtor’s hospital license, prior to

September 30, 2019, unless otherwise ordered by the Court, it being understood that any party




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may request a hearing on shortened notice to seek relief from, or revisions to, the provisions of

this paragraph 34.

                         35.   Provided that the Closing occurs within seven calendar days following the

effectiveness and enforceability of this Order, the findings of fact and conclusions of law set

forth in this Order shall, for all purposes related to the Order and the Transaction, be deemed to

have been made as of the Closing.




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                                     EXHIBIT A

                           ASSET PURCHASE AGREEMENT




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                                ASSET PURCHASE AGREEMENT

                                      BY AND BETWEEN

                               CENTER CITY HEALTHCARE, LLC,

                                           as Seller,

                                             AND

                        THOMAS JEFFERSON UNIVERSITY HOSPITALS, INC.

                                         as Purchaser




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                                 ASSET PURCHASE AGREEMENT

        THIS ASSET PURCHASE AGREEMENT (this “Agreement”) is made and entered into
as of this ___ day of August, 2019, by and between Center City Healthcare, LLC, d/b/a,
Hahnemann University Hospital (the “Seller” or “Hahnemann”), a Delaware limited liability
company and Thomas Jefferson University Hospitals, Inc. (the “Purchaser”), a Pennsylvania
nonprofit corporation. The Seller and the Purchaser are sometimes individually referred to
herein as a “Party” and collectively as the “Parties.”

       WHEREAS, Seller is engaged in the business of owning and operating an acute care
hospital, including a graduate medical education program (the “Business”); and

             WHEREAS, the Seller is the owner of the Purchased Assets; and

       WHEREAS, the Purchaser and the Consortium (defined below) operate acute care
hospitals and graduate medical education programs; and

         WHEREAS, the Purchaser has formed or intends to form a consortium including itself,
(i) Temple University Health System; (ii) Albert Einstein Health Network; (iii) Main Line
Health, Inc.; (iv) Christiana Care Health System; and (v) The Cooper Health Systems, A New
Jersey Non-Profit Corporation (collectively, and together with the Purchaser, the
“Consortium”), for purposes of operating a GME network as a qualified Medicare GME
affiliated group;

        WHEREAS, Purchaser, directly or through the Consortium members, STC, and other
third parties currently under contract with the Purchaser or Consortium Members (collectively,
the “GME Network Affiliates”), shall assume placement of the Continuing Residents in
furtherance of continuing quality medical education in the Delaware Valley region; and

        WHEREAS, on June 30, 2019 (the “Petition Date”), a voluntary petition for relief was
filed by the Seller under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”), under Case Number 19-11466 (the “Bankruptcy Case”); and

        WHEREAS, in support of the Consortium’s continuation of GME programs in the
Delaware Valley region, and the effective transition of the Seller’s predecessor GME programs,
Seller desires to sell and Purchaser desires to purchase the Purchased Assets all in accordance
with, and subject to, the terms and conditions contained in this Agreement; and

       WHEREAS, the Purchased Assets being transferred herein are intended to be sold,
conveyed and transferred to Purchaser free and clear of all Liens and Encumbrances pursuant to
Section 363 of the Bankruptcy Code, and subject to the Sale Order.

        NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein and other good and valuable consideration, the receipt and sufficiency of which
are hereby acknowledged, the Parties, intending to be legally bound, hereby agree as follows:




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                                           ARTICLE I.
                                          DEFINITIONS

        For purposes of this Agreement (including any Exhibits or Schedules attached hereto),
the following terms shall have the meanings indicated below, unless the context clearly requires
otherwise:

        “Affiliate” shall mean, with respect to a specified Person, any other Person which
directly, or indirectly through one or more intermediaries, controls or is controlled by, or is under
common control with, the specified Person; provided that such Person shall be deemed an
Affiliate for only so long as such control exists. For purposes of this definition and the definition
of Related Person, the term “control” includes, without limitation, the possession, directly or
indirectly, of the power to direct the management and policies of a Person, whether through the
ownership of voting securities, by contract or otherwise.

       “Ancillary Documents” shall mean all other agreements, documents and instruments to
be executed and delivered by the Purchaser and/or the Seller pursuant to this Agreement.

        “Applicable Privacy and Security Law” means any applicable Law relating to privacy,
data protection, confidentiality, security, integrity and protection of personal information,
including (i) health care and medical record applicable Laws, including the Health Insurance
Portability and Accountability Act of 1996, as amended by the Health Information Technology
for Economic and Clinical Health Act, and all implementing regulations (collectively,
“HIPAA”); (ii) state data protection laws; (iii) state breach notification laws; and (iv) any
comparable applicable state Laws and the regulations promulgated pursuant to all such
applicable Laws.

       “Assigned Contracts” shall mean, collectively, those Contracts included in the
Purchased Assets, which shall consist solely of the Contracts identified on Schedule A-1 to
Exhibit A. Purchaser may add or delete Contracts from Schedule A-1 pursuant to the applicable
provisions of the Bidding Procedures Order.

        “Assignment and Assumption Agreement” shall mean the Assignment, Delegation and
Assumption Agreement to be executed at the Closing between the Seller and the Purchaser in the
form attached hereto as Exhibit B, pursuant to which, among other things, the Seller will assign
and transfer to the Purchaser all of its right, title and interest under the Assigned Contracts, on
the terms and conditions set forth therein.

         “Assumed Liabilities” shall mean, collectively, (i) all liabilities and performance
obligations of the Seller arising upon or after the Closing under the Assigned Contracts, (ii) all
liabilities arising with respect to the Purchased Assets arising on or after the Closing Date, (iii)
liability for amounts due to CMS on account of services rendered or amounts previously paid to
Seller under the Participating Provider Agreement, up to (but not to exceed) the CMS Pre-
Closing Amount, (iv) the Cure Costs, (v) and the Purchaser’s portion of the Transfer Taxes
pursuant to Section 10.4.


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       “Assumption/Cure Notice” means the Initial Notice of Assumption and Assignment and
any Supplemental Notice of Assumption and Assignment delivered to counterparties to
Contracts with the Seller pursuant to the Bidding Procedures Order.

             “Backup Bidder” shall have the meaning stated in the Bidding Procedures Order.

             “Bankruptcy Case” shall have the meaning given to it in the Recitals to this Agreement.

             “Bankruptcy Code” shall have the meaning given to it in the Recitals to this Agreement.

      “Bankruptcy Court” shall have the meaning given to it in the Recitals to this
Agreement.

             “Base Purchase Price” is defined in Section 3.1.

        “Bid Procedures” shall mean the bid procedures governing the process by which the sale
of the Purchased Assets shall occur, which are attached to the Bidding Procedures Order as
Exhibit I.

       “Bidding Procedures Order” shall mean the order of the Bankruptcy Court approving
the Bid Procedures in the form attached hereto as Exhibit F and made part hereof.

       “Bill of Sale” shall mean the bill of sale to be delivered at Closing by the Seller to the
Purchaser in the form attached hereto as Exhibit C.

        “Books and Records” means, collectively, all documents, lists and files relating or
pertaining to the Purchased Assets or the Assumed Liabilities.

             “Business” is defined in the Recitals to this Agreement.

       “Business Day(s)” shall mean calendar days other than Saturdays, Sundays and days on
which banking institutions in Wilmington, Delaware are authorized by Law to close.

             “Code” means the Internal Revenue Code of 1986, as amended.

             “Claims Close Date” is defined in Section 10.5.

             “Closing” is defined in Section 8.1.

             “Closing Date” is defined in Section 8.1.

             “CMS” means the Centers for Medicare and Medicaid Services.

        “CMS Pre-Closing Amount” means a dollar amount agreed to by and between CMS
and the Seller or, alternatively, an amount established by the Bankruptcy Court as final, which
amount shall be the maximum amount due to CMS on account of the Participating Provider
Agreement and the maximum amount which CMS would seek to collect, by offset or otherwise,
against the Purchaser on account of services rendered or amounts previously paid to Seller under
the Participating Provider Agreement.

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      “Continuing Residents” means the Residents as of the Closing Date who have agreed to
become residents training at a hospital operated by Purchaser or a GME Network Affiliate.

             “Contracts” shall mean any agreement or contract, whether written or oral.

        “Cure Costs” shall mean, with respect to any Assigned Contract, the amount due and
owing to each non-debtor counterparty to such Assigned Contract to cure any defaults required
to be cured as a condition of assumption of such Assigned Contract pursuant to Section
365(b)(1) of the Bankruptcy Code, to the extent applicable.

       “Escrow Agent” shall mean a financial institution mutually acceptable to Seller and
Purchaser.

       “Escrow Agreement” shall mean the agreement substantially in the form attached hereto
as Exhibit D.

             “Escrow Account” is defined in Section 3.1.

             “Escrow Amount” is defined in Section 3.1.

       “Excluded Assets” shall mean all rights, benefits or property of Seller which are not
Purchased Assets.

        “Excluded Liabilities” shall mean, collectively, any and all liabilities of the Seller of any
kind or description other than the Assumed Liabilities.

       “Final Order” shall mean an order, judgment or other decree as to which (a) the
operation or effect has not been reversed, stayed, modified or amended, (b) no appeals or
motions for reconsideration are pending, and (c) any and all appeal periods have expired.

        “GAAP” shall mean generally accepted accounting principles in the United States,
consistently applied.

      “GME Network Affiliate” shall have the meaning given to it in the Recitals to this
Agreement.

        “Governmental Authorization” means any consent, license, permit, certificate of
authority, registration, franchise, right, Order or notice, qualification or similar right issued,
granted, given, or required by or under the authority of any Governmental Body or pursuant to
any Law.

       “Governmental Body” means any federal, state, local, municipal, foreign or other
governmental or quasi-governmental entity or authority of any nature, including the FDA and its
equivalent authority or body in any foreign jurisdiction.

             “Hahnemann Programs” is defined in Section 6.2.

              “IME” shall mean Indirect Medical Education.


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             “Interests” shall have the meaning stated in the Sale Order.

       “Knowledge of the Seller” and “to the Seller’s Knowledge” shall mean the actual
knowledge of Joel Freedman, the Seller’s Chief Executive Officer and Allen Wilen, the Seller’s
Chief Restructuring Officer – Finance.

       “Laws” shall mean all federal, state and local laws, ordinances, rules, regulations,
standards, and Orders.

             “Lien” has the meaning given to such term in the Bankruptcy Code.

       “Liquidated Cure Costs” means all Cure Costs relating to Assigned Contracts which are
allowed in a Final Order of the Bankruptcy Court.

             “Losses” is defined in Section 10.1.

         “Material Adverse Effect” means any event, circumstance, change, occurrence or effect
that, individually or in the aggregate, has a material and adverse effect upon the Purchased
Assets; provided, however, that any adverse change, event, development or effect arising from or
relating to any of the following shall not be deemed to constitute, and shall not be taken into
account in determining whether there has been, a Material Adverse Effect: (i) the United States
economy, the global economy, in each case, as a whole, or the industry or markets in which the
Seller operates; (ii) the filing of the Bankruptcy Case; (iii) national or international political or
social conditions, including the engagement by the United States in hostilities, whether or not
pursuant to the declaration of a national emergency or war, or the occurrence of any military or
terrorist attack upon the United States, or any of its territories, possessions, or diplomatic or
consular offices or upon any military installation, equipment or personnel of the United States;
(iv) financial, banking, or securities markets (including any disruption thereof and any decline in
the price of any security or any market index); (v) changes in GAAP; (vi) changes in Law or
Orders; (vii) the taking of any action contemplated by this Agreement or any of the Ancillary
Documents; (viii) any “act of God,” including, but not limited to, weather, natural disasters and
earthquakes; (ix) changes resulting from the announcement of the execution of this Agreement or
any of the transactions contemplated hereby; or (x) the termination of any Contract that is not an
Assigned Contract, or the occurrence of any breach by any party of any Contract that does not
relate to the Purchased Assets or the Assumed Liabilities; (xi) any adverse change to the
Business prior to the date hereof.

       “Non-Disclosure Agreement” means any and all confidentiality agreements and/or non-
disclosure agreements executed by the Purchaser as a condition to obtaining confidential and/or
proprietary information from the Seller.

       “Order” shall mean any award, decision, injunction, judgment, order, ruling, subpoena,
or verdict entered, issued, made, or rendered by any court, administrative agency, or other
Governmental Body.

       “Outside Closing Date” shall mean September 6, 2019 or such other date as Seller and
Purchaser may agree.


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       “Participating Provider Agreement” means the Participating Provider Agreement with
the Centers for Medicare and Medicaid Services between the Seller and CMS related to
Hahnemann University Hospital.

             “Permitted Escrow Withdrawals” is defined in Section 3.1.

       “Person” shall mean any individual, corporation, Governmental Body, general or limited
partnership, limited liability company, joint venture, estate, trust, association, or other legal
organization.

        “Proceeding” shall mean any action, demand, complaint, inquiry, suit, injunction,
dispute, arbitration, audit, hearing, investigation, litigation, citation, notice of violation (or
similar notice), or suit (whether civil or criminal) commenced, brought, conducted, or heard by
or before, or otherwise involving, any Governmental Body.

             “Purchased Assets” shall mean the assets of Seller identified on Exhibit A.

             “Purchaser Indemnified Party” is defined in Section 10.1.

       “Purchaser Material Adverse Effect” means any event, circumstance, change,
occurrence or effect that, individually or in the aggregate, has a material and adverse effect upon
the Purchaser.

        “Related Person” (i) with respect to a Person who is an individual, shall mean, (a) any
other individual having a relationship with such specified individual (by blood, marriage or
adoption) of grandparent, parent, child, grandchild, aunt, uncle, niece, nephew, sister, brother or
first cousin (collectively, “Relatives”), (b) any Person that is controlled by such individual or
any one or more members of such individual’s Relatives; and (c) any Person with respect to
which such individual or one or more members of such individual’s Relatives serves as a
director, officer, partner, or trustee (or in a similar capacity); and (ii) with respect to a specified
Person other than an individual, shall mean (a) any Affiliate of such specified Person; and (b)
each Person that serves as a director, officer, partner, or trustee (or in a similar capacity) of such
specified Person.

        “Representative” shall mean, with respect to a particular Person, any director, officer,
trustee, employee, agent, consultant, advisor, or other representative of such Person, including
legal counsel, accountants and financial advisors.

             “Required Notification” is defined in Section 6.3.

        “Residents” means the medical residents and fellows training at, or through a residency
program sponsored by or in affiliation with, Hahnemann University Hospital. Unless otherwise
specified, all references to the number of Residents shall be in terms of full time equivalents
(“FTEs”).

        “Sale Motion” shall mean that certain motion filed by the Seller in the Bankruptcy Case
on July 9, 2019 (D.I. 142) pursuant to which, among other things, the Seller requested an order
(a) approving the Bid Procedures, (b) approving procedures relating to the assumption and

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assignment of executory contracts, including procedures for establishing Cure Costs, (a)
establishing a date for an auction, and (d) scheduling a sale hearing.

       “Sale Order” shall mean an Order of the Bankruptcy Court pursuant to the Bankruptcy
Code approving this Agreement and the transactions contemplated hereby substantially in the
form attached hereto as Exhibit E and made part hereof.

             “Seller Disclosure Letter” is defined in Article IV.

             “Seller Indemnified Party” is defined in Section 10.2.

             “SSG” means SSG Capital Advisors, LLC.

             “STC” shall have the meaning set forth in Section 6.9.

       “Tail Coverage Costs” shall mean the cost to Seller of purchasing and maintaining the
Tail Coverage Endorsement.

        “Tail Coverage Endorsement” shall mean a reporting endorsement to insure against
resident professional liability claims that have not yet been reported against the Residents related
to any period of Resident employment from January 11, 2018 until the termination of Resident’s
employment from Hahnemann University Hospital. Such endorsement shall provide for
Pennsylvania statutory limits of Five-Hundred Thousand Dollars ($500,000) per occurrence and
One Million Five-Hundred Thousand Dollars ($1,500,000) annual aggregate for each MCARE
eligible Resident only.

         “Tax” and “Taxes” shall mean individually or collectively, as appropriate, any and all
U.S. or non-U.S., federal, state, county, local, municipal or other taxes, charges, imposts, rates,
fees, levies or other assessments.

             “Transfer Taxes” is defined in Section 10.14(a).

                                      ARTICLE II.
                  AGREEMENTS TO SELL AND PURCHASE; RELATED MATTERS

         2.1    Agreement to Sell and Purchase Purchased Assets. On the Closing Date,
subject to the performance by the Parties of the terms and provisions of this Agreement and
satisfaction of the terms and conditions set forth in the Sale Order, the Seller shall sell, convey,
assign, transfer and deliver to Purchaser, and Purchaser shall purchase, acquire and accept from
Seller, the Purchased Assets, free and clear of all Interests other than Assumed Liabilities, to the
fullest extent permitted by Section 363 of the Bankruptcy Code.

        2.2     Assumed Liabilities/Excluded Liabilities. On the Closing Date, the Purchaser
shall assume and become responsible for, and shall pay, perform, fulfill and discharge, all of the
Assumed Liabilities. The Purchaser is not assuming and will have no obligation to assume,
perform, or discharge any of the Excluded Liabilities, all of which shall remain the sole
responsibility and obligation of the Seller.



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       2.3     Assigned Contracts. The Purchaser is not assuming and will have no obligation
to assume, perform, or discharge any Contracts, all of which shall remain the sole responsibility
and obligation of the Seller, except for the Assigned Contracts. As to the Assigned Contracts:

                (a)   At Closing, Seller shall assign to Purchaser, and Purchaser shall assume,
all of the Assigned Contracts and Purchaser shall pay to the applicable counterparty the Cure
Costs as and when such Cure Costs become Liquidated Cure Costs.

                (b)   Purchaser shall provide promptly any and all information required by the
Bankruptcy Code and the Bankruptcy Court to evidence Purchaser’s capability of satisfying the
conditions contained in Sections 365(b)(1)(C) and 365(f)(2)(B) of the Bankruptcy Code with
respect to the Assigned Contracts, to the extent applicable.

        2.4    Competing Transactions; Bankruptcy Court Approval. This Agreement is
subject to approval by the Bankruptcy Court and the consideration by Seller of higher or better
competing bids pursuant to the Bidding Procedures Order and the Bid Procedures approved
thereby (each, a “Competing Bid”). Until the transactions contemplated by this Agreement are
consummated, Seller may perform any and all other acts related to seeking a Competing Bid as
provided under the Bankruptcy Code, the Bidding Procedures Order or other applicable Law,
including but not limited to supplying information relating to the Purchased Assets to
prospective purchasers.

                                        ARTICLE III.
                                      PURCHASE PRICE

        3.1    Purchase Price. The Purchase Price shall be Fifty-Four Million Dollars
($54,000,000), subject to upward adjustment pursuant to Section 3.2(d) hereof (the “Base Purchase
Price”) and, subject to the following sentence, shall be paid in cash at Closing. In addition, an
amount (the “Escrow Amount”) equal to Three Million Dollars ($3,000,000) minus Liquidated
Cure Costs paid by Purchaser on the Closing Date will be withheld from the Base Purchase Price
and placed into a non-interest bearing escrow account (the “Escrow Account”) held by the
Escrow Agent pursuant to the Escrow Agreement. The Escrow Amount shall be distributed to
Purchaser from time to time in accordance with the Escrow Agreement to cover the following
losses, damages and expenses (collectively, the “Permitted Escrow Withdrawals”): (a) the
CMS Pre-Closing Amount, as and when liquidated, (b) the Cure Costs not paid on the Closing
Date and not included in the CMS Pre-Closing Amount, and (c) the Losses payable to a
Purchaser Indemnified Party. To the extent that there are any funds remaining in the Escrow
Account on the date that is the one-year anniversary of the Closing Date, such remaining funds
minus any then pending written claims asserted by Purchaser for Permitted Escrow Withdrawals
(whether or not disputed) shall be distributed to Seller in accordance with the Escrow Agreement
without any further action being required on the part of Purchaser. Upon resolution of any
Permitted Escrow Withdrawals pending as of the one-year anniversary of the Closing Date, (x)
any amounts determined to be owing to Purchaser shall be distributed to Purchaser, and (y) any
amounts determined not to be owing to Purchaser shall be distributed to Seller.

       3.2    Payment of Base Purchase Price. At Closing, the Base Purchase Price shall be
payable by Purchaser as follows:


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               (a)    Purchaser shall deposit the Escrow Amount into the Escrow Account
pursuant to and in accordance with the Escrow Agreement.

                        (b)   Purchaser shall pay Liquidated Cure Costs as of the Closing Date.

               (c)    Purchaser shall pay to the Seller the Fifty-One Million Dollars
($51,000,000) balance of the Base Purchase Price by wire transfer of immediately available
funds to an account or accounts designated in writing by the Seller prior to the Closing.

               (d)     Purchaser shall reimburse Seller for the Tail Coverage Cost actually paid
by Seller to purchase the Tail Coverage Endorsement, up to a maximum of One Million Dollars
($1,000,000).

        3.3    Tax Allocation of Base Purchase Price. The Base Purchase Price shall be
allocated among the Purchased Assets in accordance with the IRS Form 8594, Asset Acquisition
Statement Under Section 1060 as agreed by the respective accountants of Purchaser and Seller
within a reasonable period of time after Closing in good faith consistent in all respects with
applicable Laws. The Seller and the Purchaser shall file their respective Tax returns in
accordance with such allocation and shall not take any position inconsistent with such allocation,
unless the Seller or the Purchaser, as the case may be, reasonably determines (and notifies the
other Party) that such allocation is contrary to applicable Law.

                                         ARTICLE IV.
                        REPRESENTATIONS AND WARRANTIES OF THE SELLER

        Except as set forth in the disclosure letter delivered by the Seller to the Purchaser on the
date hereof (the “Seller Disclosure Letter”), the Seller represents and warrants to the Purchaser
as follows:

        4.1     Organization. The Seller is a limited liability company duly formed, validly
existing and in good standing under the laws of the State of Delaware and is duly qualified to do
business as a foreign corporation and is in good standing in each other jurisdiction where the
operation of the Business by the Seller requires such qualification, except where the failure to be
so qualified would not reasonably be expected to have, individually or in the aggregate, a
Material Adverse Effect.

        4.2     Power and Authority. Upon entry of and subject to the Sale Order, Seller shall
have all requisite power and authority to enter into this Agreement and the Ancillary Documents
and to consummate the transactions contemplated hereby and thereby. This Agreement has been
duly executed and delivered by the Seller. Upon entry of and subject to the Sale Order, this
Agreement shall constitute a valid and binding obligation of the Seller, enforceable against the
Seller in accordance with its terms.

        4.3      Non-contravention. Subject to the entry of the Sale Order by the Bankruptcy
Court, the execution and delivery of this Agreement or any other Ancillary Document to which
the Seller is a party, and the performance by the Seller of its obligations hereunder and
thereunder, will not (i) violate any provision of the organizational documents of the Seller, (ii)
result in a violation or breach of, or constitute (with or without due notice or lapse of time or

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both) a default or breach (or give rise to any right of termination, amendment, cancellation or
acceleration) under any Assigned Contract, (iii) to Seller’s Knowledge, violate in any material
respect any Law or Order applicable to the Business or the Purchased Assets, or (iv) result in the
imposition of any Lien on the Purchased Assets.

        4.4    Consents. Upon entry of the Sale Order and upon each regulatory approval to
which Section 7.1(c) of this Agreement relates having been obtained, no approval, consent or
authorization of, or declaration, filing or registration with or any notification to any
Governmental Body or any other third Person is required in connection with the execution,
delivery or performance by the Seller of this Agreement or the consummation by the Seller of the
transactions contemplated hereby.

       4.5    Liabilities. The Seller has no Liabilities with respect to the Purchased Assets for
which the Purchaser will be responsible after Closing except for any Assumed Liabilities
assumed by the Purchaser.

         4.6     Title. The Seller has good and marketable title to all of the Purchased Assets,
free and clear of all Interests other than Interests which will be divested from the Purchased
Assets by the Sale Order. Upon the completion of the transactions contemplated hereby, the
Purchaser will be vested with good and marketable title to the Purchased Assets, free and clear of
all Interests other than Assumed Liabilities.

        4.7    Litigation. There are no Proceedings pending, or to the Seller’s Knowledge,
threatened against the Purchased Assets or Business, at Law or in equity, or before any
Governmental Body which will interfere with the ownership or use by the Purchaser of the
Purchased Assets after the Closing.

        4.8    Proceedings. There is no Proceeding pending that challenges, or that is
reasonably likely to have the effect of preventing, delaying or rendering illegal any of the
transactions contemplated by this Agreement.

        4.9     Tax Matters. There are no Tax Liens or Encumbrances for Taxes upon the
Purchased Assets and as of the end of the day on the Closing Date there will be no such Tax
Liens or Encumbrances. There is not and, as of the end of the day on the Closing Date there will
not be, any liability for Taxes affecting the Purchased Assets for which the Purchaser will at any
time have any liability for payment.

        4.10 Brokers and Finders. Other than SSG, no broker, finder or investment banker is
entitled to any brokerage, finders or other fee or commission in connection with the transactions
contemplated hereby based upon arrangements made by or on behalf of the Seller. Seller will be
solely responsible for any fee, commission or other consideration of any kind due to SSG on
account of the transactions contemplated by this Agreement.

        4.11 Tail Coverage. Seller shall be solely responsible for purchasing and maintaining
the Tail Coverage Endorsement and shall incur all costs associated with the same, except as
provided in Section 3.2(d).



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        4.12 Funding and Disputes. Seller represents and warrants that no Medicare GME
funding for the Residents is currently owed to Seller and outstanding except as in the normal
course, and that Seller has not received notice of any disputes and, to Seller’s Knowledge there
are no facts or circumstances that may result in a dispute with regard the payment of Medicare
GME funding for the Residents in the amount of Fifty Thousand Dollars ($50,000) or more in
the aggregate.

                                         ARTICLE V.
                        REPRESENTATIONS AND WARRANTIES OF PURCHASER.

             The Purchaser represents and warrants to the Seller as follows.

        5.1    Organization. The Purchaser is a nonprofit corporation duly formed, validly
existing and in good standing under the laws of the Commonwealth of Pennsylvania and has all
requisite power and authority to conduct its business and own and operate its properties.

             5.2        Power and Authority.

               (a)   The Purchaser has all requisite power and authority to enter into this
Agreement and the Ancillary Documents and to consummate the transactions contemplated
hereby and thereby. This Agreement has been duly executed and delivered by the Purchaser.
This Agreement is a valid and binding obligation of the Purchaser, enforceable against the
Purchaser in accordance with its terms.

               (b)     To the extent that this Agreement or any of the Ancillary Documents
provides that any Affiliate of the Purchaser makes any covenant or undertakes the payment or
performance of any obligation in connection with the transactions contemplated hereunder or
thereunder, such Affiliate has all requisite power and authority to enter into the transactions
contemplated hereby and thereby.

       5.3     Non-contravention. Neither the execution and delivery of this Agreement or any
other Ancillary Document to which the Purchaser is a party, will (i) violate any provision of the
organizational documents of the Purchaser, or (ii) violate any Law or Order applicable to the
Purchaser.

        5.4   No Proceedings. There are no actions, suits or proceedings pending, or to the
actual knowledge of Purchaser, threatened, before or by any Governmental Body, against
Purchaser which would affect Purchaser’s ability to proceed with the transactions contemplated
by this Agreement.

       5.5       Consents. No consent, waiver, authorization or approval of any person or
declaration, filing or registration with any Governmental Body or other Person is required in
connection with the execution and delivery by Purchaser of this Agreement or the performance
by Purchaser or its Affiliates of its respective obligations hereunder or thereunder.

        5.6     Bankruptcy Matters. Purchaser is capable of satisfying the adequate assurance
of future performance conditions contained in Section 365(f)(2)(B) of the Bankruptcy Code with
respect to each Assigned Contract, to the extent applicable.

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        5.7     Financing. Purchaser has readily-available cash on hand, availability under
existing lines of credit, or other immediately available financial resources sufficient to pay the
Base Purchase Price at Closing.

         5.8    Hospital Facilities. Purchaser, directly or through Affiliates, owns and operates a
total of seven (7) Medicare-participating hospitals located within fifteen (15) miles of
Hahnemann University Hospital’s facility, all of which have the capacity to operate medical
residency programs.

        5.9     Certain Relationships. Neither the Purchaser nor any officer, director, manager,
member, Representative or Affiliate of the Purchaser is an officer or director of the Seller or a
Related Person of any officer, director or key employee of the Seller. Neither the Purchaser nor
any officer, director, manager, member, Representative or Affiliate of the Purchaser has entered
into any Contract with any officer, director or key employee of the Seller.

        5.10 Brokers and Finders. No Person has acted, directly or indirectly, as a broker,
finder or financial advisor for Purchaser in connection with the transactions contemplated
hereunder and no Person is entitled to any fee or commission or like payment in respect thereof.

                                      ARTICLE VI.
                                COVENANTS OF THE PARTIES

        6.1     Access to Information. Subject to all Applicable Privacy and Security Laws, the
Seller shall permit the Purchaser’s Representatives to have, upon prior written notice, reasonable
access during normal business hours and under reasonable circumstances, and in a manner so as
not to interfere with the normal business operations of the Business, to the personnel, books,
records, Assigned Contracts, and documents of or pertaining to the Purchased Assets; provided,
that the Seller may restrict the foregoing access to the extent that in the reasonable judgment of
the Seller, any Law applicable to the Seller requires it to restrict access to any of its business,
properties, information or personnel; and provided, further, that such access shall not
unreasonably disrupt the operations of the Seller or the Business.

        6.2    Conduct of the Business. From the date hereof until the Closing Date, except as
otherwise provided in this Agreement or consented to in writing by Purchaser (which consent
shall not be unreasonably withheld, conditioned or delayed), and subject in all respects to the
Bankruptcy Code and orders of the Bankruptcy Court (including, without limitation, the Sale
Order), the Seller shall use its commercially reasonable efforts to preserve intact its relationships
with Residents at Hahnemann University Hospital and the graduate medical educational
programs at Hahnemann University Hospital (the “Hahnemann Programs”). Seller and
Purchaser shall work cooperatively to determine clinical rotation assignments for Residents, with
such mutually-agreed assignments to commence as soon as practicable after the Purchase
Agreement is entered into. For the avoidance of doubt, neither the existence of this Agreement
nor any provisions set forth herein shall restrict Seller from agreeing to release the related cap on
Medicare reimbursement on a temporary basis for those Residents who elect not to become
Continuing Residents.




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        6.3     Notification of Certain Matters. From time to time prior to the Closing Date,
the Parties shall promptly notify each other of the occurrence or non-occurrence of any event or
circumstance that as applicable, indicates (a) that any of the representations and warranties set
forth herein may not be, will not be, or are not, true and correct, or (b) any failure on its part to
comply with or satisfy, in any material respect, any covenant, agreement or condition to be
complied with or satisfied by it pursuant hereto (any such notification, a “Required
Notification”); provided, however, that in each case, such disclosure shall not be deemed to (i)
amend or supplement any Schedule hereto, or (ii) cure any breach of such representation,
warranty, covenant or agreement or satisfy any condition set forth herein.

        6.4     Cooperation. Subject in all respects to the Bankruptcy Code and the Bankruptcy
Cases, the Parties shall use their respective commercially reasonable efforts to (a) take or cause
to be taken all actions, and to do or cause to be done all other things, necessary, proper or
advisable to expeditiously satisfy the closing conditions set forth in Article VII and to
consummate the transactions contemplated hereby as promptly as practicable, and (b) obtain in a
timely manner all necessary waivers, consents and approvals and to effect all necessary
registrations and filings in connection with the foregoing.

        6.5     Records Retention and Access. For a period of six (6) years following the
Closing or such shorter period that records are required to be retained by applicable Law (but in
no event less than three (3) years), Purchaser shall at Seller’s expense furnish to the Seller, to the
extent in Purchaser’s possession and following receipt of a reasonable, written request therefor,
information that is necessary for Seller to prepare for, prosecute or defend against any
Proceeding related to the Business, to validate claims filed in the Bankruptcy Case and/or to
enable Seller and its Representatives to prepare, complete and file all required federal, state and
local Tax returns in accordance with applicable Law.

        6.6     Cure Costs. Seller shall not agree to the amount of any Liquidated Cure Costs
without the written consent of Purchaser. From and after the Closing Date, Purchaser shall have
the sole right to contest and settle any claims for Cure Costs and, to the extent necessary and
permitted by the Bankruptcy Court, Seller shall cooperate in substituting Purchaser for Seller (at
Purchaser’s expense) in connection with any pending objections to Cure Costs.

       6.7    Bid Procedures. Seller shall not modify the Bid Procedures without the consent
of Purchaser.

      6.8               Covenants of Purchaser Regarding Transition and Accommodation of
Residents.

                (a)    Purchaser, directly or through a GME Network Affiliate, will
accommodate a maximum of 583 Continuing Residents to pursue continued medical residency
training at Purchaser-owned hospitals or GME Network Affiliate-owned hospitals, as applicable.
If requested by Purchaser, Seller shall take all reasonable actions to reflect its consent to the
transfer of Continuing Residents to Purchaser or a GME Network Affiliate. For any Resident
who does not become a Continuing Resident and elects to pursue their training at hospitals that
are not owned by Purchaser or a GME Network Affiliate, Purchaser agrees, in compliance with
applicable regulation, to release the GME cap associated with Medicare reimbursement for such


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Residents on a temporary basis to the hospital where the Resident transfers until the Resident has
completed training.

                (b)    If the Continuing Residents are required to relocate their personal
residence to continue their training with Purchaser or a GME Network Affiliate, Purchaser shall
provide, or cause such GME Network Affiliate to provide, reasonable private housing for such
residents for the longer of the remainder of the current academic year or for the duration of a
Resident’s existing vacated lease. The provision of reasonable private housing shall not extend
beyond the Resident’s completion of his or her residency training with Purchaser or such GME
Network Affiliate.

               (c)     To the extent necessary to provide for continued residency training,
Purchaser shall use reasonable efforts to transfer Seller’s residency program faculty to a
Purchaser or GME Network Affiliate hospital so that they can continue to provide education to
Residents.

                (d)     Unless inconsistent with Purchaser or GME Network Affiliate’s standard
practice for residents, Purchaser shall provide, or cause the applicable GME Network Affiliate to
provide, Continuing Residents with free meals during the time that they are training at Purchaser
or such GME Network Affiliate hospitals.

                (e)     To the extent necessary for Continuing Residents to fulfill residency
training requirements, Purchaser shall provide, or cause a GME Network Affiliate to provide,
additional transition resources to Continuing Residents as may be requested by Seller from time
to time.

              (f)    The parties shall cooperate in determining the initial clinical rotation
assignments for Continuing Residents for the period following the transfer.

               (g)    Purchaser shall use reasonable efforts to ensure that each Continuing
Resident’s terms of employment (e.g., compensation and benefits) with Purchaser or a GME
Network Affiliate are substantially equivalent or better than the Continuing Resident’s current
terms of employment with the Seller.

        6.9     Covenants of Purchaser Regarding Continued Affiliation with St.
Christopher’s Hospital for Children. For the period of ten (10) years after the Closing with
automatic renewals for periods of five (5) years, provided that at the time of each such renewal
such resident caps are used for resident training at STC only, unless either party gives not less
than one hundred eighty (180) days’ notice, Purchaser agrees to, and to cause any successor or
assignee of any Purchased Assets to agree to: (i) enter into an agreement to continue
participating in a “Medicare GME affiliated group” as that term is defined in 42 C.F.R.
413.75(b), with St. Christopher’s Hospital for Children (“STC”), whereby Purchaser will
continue sharing full-time equivalent resident caps for direct graduate medical education with
STC; (ii) accept assignment of the Medicare GME Affiliation Agreement for July 1, 2019
through June 30, 2020 between STC and Seller (the “STC GME Affiliation Agreement”) or
enter into a new GME affiliation agreement substantially in the form of the STC GME



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Affiliation Agreement; and (iii) ensure that it and STC participate in a “shared rotation
agreement” each academic year.

             6.10       Covenants of Purchaser Regarding Other GME Affiliation Agreements.

               (a)    For the remainder of the academic year during which the Closing occurs,
and to the extent permitted and required by CMS, Purchaser shall accept assignment from Seller
of the GME Affiliation Agreements identified listed as numbered items 1, 2, 3, 4 and 5 under the
heading Current GME Affiliation Agreements on Schedule A-1 to Exhibit A of this Agreement
(the “Current GME Affiliation Agreements”) (with any cure amounts with respect to any
agreements assumed pursuant to this Section 6.10(a) being included as “Cure Costs” for
purposes of this Agreement), or shall enter into new GME affiliation agreements with those
counterparties substantially in the form of the Current GME Affiliation Agreements; and

               (b)    Purchaser, subject to Purchaser’s completion of due diligence, shall accept
assignment of the agreements identified under the heading GME Obligations on Schedule A-1 to
Exhibit A of this Agreement to participate in “Medicare GME affiliated groups” and fulfill the
obligations thereunder arising after the Closing Date for the duration of the term of such
agreements (with any cure amounts with respect to any agreements assumed pursuant to this
Section 6.10(b) being included as “Cure Costs” for purposes of this Agreement).

        6.11 Covenant of Seller Regarding Tail Coverage Endorsement for Residents. At
or prior to Closing, Seller shall obtain the Tail Coverage Endorsement.

        6.12 Covenant of Seller Regarding Medical Records. Seller acknowledges that
Purchaser, GME Affiliates, and clinicians affiliated with each of them collectively have
undertaken to provide clinical care to patients who historically have received care from Seller.
To facilitate such care on an ongoing basis, and otherwise to satisfy obligations of Seller, Seller
will undertake to assure the ongoing availability of medical records of Seller’s patients to
Purchaser, GME Affiliates, clinicians affiliated with each of them, other providers to the extent
applicable, and patient themselves. To further facilitate such availability, with acknowledgment
that Seller continues to be finalizing its own arrangements in this regard as of the date of this
Agreement, Seller will consider in good faith any request by Purchaser for assignment to
Purchaser of agreements with any third-party vendor or vendors with respect to ongoing medical
records availability, storage, or maintenance.

        6.13 Covenant of Seller Regarding Medicare Cost Reports. Within 45 days of the
Closing Date, or such longer period as CMS may permit, Seller shall prepare and file any final
Medicare cost reports related to Hahnemann’s operations for the period prior to the Closing Date
and, thereafter, Seller shall provide such information and assistance as may reasonably be
requested by Purchaser with respect to Seller’s filing of Medicare cost reports.
                                            ARTICLE VII.
                                       CONDITIONS TO CLOSING

        7.1     Conditions to Obligations of Each Party. The respective obligations of each
Party to consummate the transactions contemplated hereby shall be subject to the satisfaction or
waiver at or prior to the Closing of the following conditions:

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               (a)     Proceedings; Orders. No Governmental Body of competent jurisdiction
shall have enacted, issued, promulgated, enforced or entered any Law or Order (whether
temporary, preliminary or permanent) that (i) is in effect and (ii) has the effect of making the
transactions contemplated hereby illegal or otherwise prohibiting consummation of such
transactions.

               (b)      Sale Order. The Bankruptcy Court shall have entered the Sale Order with
such changes as are mutually agreed to by the Seller and Purchaser, each in the exercise of its
respective sole discretion.

                (c)     Regulatory Approvals. CMS, the Pennsylvania Department of Health
(“DOH”) and the Accreditation Council for Graduate Medical Education (“ACGME”) and any
other applicable regulatory authority or Governmental Body, in each case to the extent required,
shall have consented to the transactions contemplated by this Agreement and, solely with respect
to CMS, shall have provided confirmation, in form and substance satisfactory to Purchaser in its
sole discretion, that the transactions contemplated hereby will result in a permanent (subject to
statutory or regulatory changes that may in the future affect teaching hospitals generally)
increase in Purchaser’s residency slot cap by the full amount of Seller’s residency slot cap,
shared, pursuant to generally applicable regulations, by GME Network Affiliates who qualify as
members of one or more applicable Medicare GME affiliated group.

        7.2    Additional Conditions to Obligations of the Purchaser. The obligations of the
Purchaser to effect the transactions contemplated hereby are subject to satisfaction or waiver of
the following additional conditions:

                (a)      Representations and Warranties. The representations and warranties of the
Seller set forth in this Agreement shall be true and correct (without giving effect to any limitation
as to “materiality” or “Material Adverse Effect” or similar qualifications) as of the Closing Date,
as if made as of such time (except to the extent that such representations and warranties
expressly speak as of another date, in which case such representations and warranties shall be
true and correct as of such date), except where the failure of such representations and warranties
to be so true and correct would not, individually or in the aggregate, have a Material Adverse
Effect.

              (b)      Agreements and Covenants. The Seller shall have performed and
complied with all of its covenants hereunder in all material respects through the Closing.

               (c)    Documents. All of the documents, instruments and agreements required to
be executed and/or delivered by Seller on or prior to Closing pursuant to Section 8.2 of this
Agreement shall have been executed by the parties thereto other than the Purchaser and delivered
to the Purchaser.

                 (d)    Successor Liability. Entry of an Order of the Bankruptcy Court, which
may be the Sale Order, which precludes the assertion of any successor, vicarious, or transferee
liability (by piercing the corporate veil or otherwise) against the Purchaser, its Affiliates, or the
Consortium or its members, relating to claims, administrative proceedings or actions brought by
or on behalf of any Governmental Body, accrediting body, or other third party relating to the


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operation of the Business prior to Closing. For the avoidance of doubt, nothing in this paragraph
is intended, nor shall it be construed, to preclude the collection of the CMS Pre-Closing Amount
from the Escrow Account as provided herein.


        7.3     Additional Conditions to Obligations of the Seller. The obligations of the
Seller to effect the transactions contemplated hereby are subject to satisfaction or waiver by the
Seller of the following additional conditions:

                (a)     Representations and Warranties. The representations and warranties of the
Purchaser set forth in this Agreement shall be true and correct (without giving effect to any
limitation as to “materiality” or similar qualifications) as of the Closing Date, as if made as of
such time (except to the extent that such representations and warranties expressly speak as of
another date, in which case such representations and warranties shall be true and correct as of
such date), except where the failure of such representations and warranties to be so true and
correct would not, individually or in the aggregate, have a Purchaser Material Adverse Effect.

              (b)      Agreements and Covenants. The Purchaser shall have performed and
complied with all of its covenants hereunder in all material respects through the Closing.

              (c)     Documents. All of the documents, instruments and agreements required to
be executed and/or delivered by Purchaser on or prior to Closing pursuant to Section 8.3 of this
Agreement shall have been executed by the parties thereto other than the Seller and delivered to
the Seller.

                                      ARTICLE VIII.
                 CLOSING; DELIVERIES AND ACTIONS TAKEN AT THE CLOSING

        8.1     Closing. The closing of the transactions contemplated hereby (the “Closing”)
shall take place at the offices of Drinker Biddle & Reath LLP, One Logan Square, 18th and
Cherry Streets, Philadelphia, PA 19103-6996, or such other place as agreed by the parties or
remotely by mail, e-mail and/or wire transfer, in each case to the extent acceptable to each of the
Parties, as soon as practicable following the satisfaction or waiver of the conditions set forth in
Article VII hereof and in any event within three (3) Business Days thereafter (the “Closing
Date”). The Closing shall be deemed to have occurred at 12:01 a.m., Eastern Time, on the
Closing Date.

        8.2     Deliveries by the Seller at the Closing. At the Closing, Seller shall furnish and
deliver to the Purchaser the following:

                        (a)   the Bill of Sale, duly executed by the Seller;

                        (b)   the Assignment and Assumption Agreement, duly executed by the Seller;

                (c)     a certificate, dated as of the Closing Date and signed by the Seller,
certifying that each of the conditions set forth in Sections 7.2(a) and 7.2(b) have been satisfied;



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                        (d)    a copy of the Sale Order;

                        (e)    evidence of satisfaction of Section 6.11; and

               (f)     all other certificates, instruments and documents reasonably required to be
delivered by the Seller pursuant to this Agreement or any of the Ancillary Documents.

        8.3    Deliveries by the Purchaser at the Closing. At the Closing, Purchaser shall
furnish and deliver to Seller the following:

               (a)     the Fifty-One Million Dollar ($51,000,000) portion of the Base Purchase
Price in excess of the Escrow Amount and the Liquidated Cure Costs by wire transfer of
immediately available funds to an account designated in writing by the Seller;

               (b)     reimbursement of up to One Million Dollars ($1,000,000) of Tail Coverage
Costs as provided in Section 3.2(d);

                        (c)    the Assignment and Assumption Agreement, duly executed by the
Purchaser;

                (d)     a certificate, dated as of the Closing Date and signed the Purchaser,
certifying that each of the conditions set forth in Sections 7.3(a) and 7.3(b) have been satisfied;
and

                        (e)    evidence of satisfaction of Section 6.9;

                        (f)    evidence of satisfaction of Section 6.10; and

              (g)     all other certificates, instruments and documents required to be delivered
by the Purchaser pursuant to this Agreement or any of the Ancillary Documents.

       8.4     Additional Actions Taken by the Purchaser at the Closing. At the Closing,
Purchaser shall take the following actions:

               (a)    Pay the Liquidated Cure Costs from the Base Purchase Price to the
respective Persons entitled to receive them.

                        (b)    Fulfill its covenants under Sections 6.8, 6.9 and 6.10 of this Agreement.

                                                 ARTICLE IX.
                                                TERMINATION

       9.1              Termination. This Agreement may be terminated at any time prior to the
Closing:

                        (a)    By mutual written consent of the Seller and the Purchaser;

               (b)     By (i) the Seller if, as of the day after the Outside Closing Date, any
condition to the obligation of the Seller to close has not been satisfied, provided, however, that if

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the Closing has not occurred on or before the Outside Closing Date due to a material breach of
any representations, warranties, covenants or agreements contained in this Agreement by Seller,
then Seller may not terminate this Agreement pursuant to this Section 9.1(b), and (ii) the
Purchaser if, as of the day after the Outside Closing Date, any condition to the obligation of the
Purchaser to close has not been satisfied; provided, however, that if the Closing has not occurred
on or before the after the Outside Closing Date due to a material breach of any representations,
warranties, covenants or agreements contained in this Agreement by Purchaser, then the
Purchaser may not terminate this Agreement pursuant to this Section 9.1(b);

                (c)   By Purchaser, in its sole and absolute discretion, if the sum of the (i) CMS
Pre-Closing Amount, and (ii) without duplication of the CMS Pre-Closing Amount, (A) the
Liquidated Cure Costs, and (B) the good faith estimate by Purchaser of the amount of any Cure
Costs related to Assigned Contracts which will become Liquidated Cure Costs after the Closing
Date, exceeds Three Million Dollars ($3,000,000);

               (d)      Automatically, and without further action by any Party, upon the issuance
of a Final Order to restrain, enjoin or otherwise prohibit the closing of the transactions
contemplated hereby, provided that neither the Seller nor the Purchaser shall take any action to
support entry of such an order;

                (e)     Automatically, and without further action by any Party, if the Bankruptcy
Case is converted into a case under Chapter 7 of the Bankruptcy Code or is dismissed, provided
that neither the Seller nor the Purchaser shall take any action to support entry of an order
providing for such conversion or dismissal;

                 (f)    By the Purchaser, if the Purchaser is not in material breach of its
obligations under this Agreement, and if (i) the Seller fails to close on the Closing Date
notwithstanding the satisfaction of all conditions to the obligation of the Seller to close (other
than conditions related to deliveries to be made at Closing by the Purchaser provided the
Purchaser is ready, willing and able to make such deliveries as of the Closing Date), (ii) any of
the representations and warranties of the Seller herein become untrue or inaccurate such that the
condition set forth in Section 7.2(a) would not be satisfied or (iii) there has been a breach on the
part of the Seller of any of its covenants or agreements contained in this Agreement such that the
condition set forth in Section 7.2(b) would not be satisfied, and, in the case of clauses (ii) and
(iii) hereof, such breach (if curable) has not been cured within ten (10) days after written notice
thereof to the Seller;

                (g)     By the Seller, if the Seller is not in material breach of its obligations under
this Agreement, and if (i) the Purchaser fails to close on the Closing Date notwithstanding the
satisfaction of all conditions to the obligation of the Purchaser to close (other than conditions
related to deliveries to be made at Closing by the Seller provided the Seller is ready, willing and
able to make such deliveries as of the Closing Date), (ii) any of the representations and
warranties of the Purchaser herein become untrue or inaccurate such that the condition set forth
in Section 7.3(a) would not be satisfied or (iii) there has been a breach on the part of the
Purchaser of any of its covenants or agreements contained in this Agreement such that the
condition set forth in Section 7.3(b) would not be satisfied, and, in the case of clauses (ii) and



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(iii) hereof, such breach (if curable) has not been cured within ten (10) days after written notice
thereof to the Purchaser;

                (h)    Automatically, and without further action by any Party, if (i) the Purchaser
is not the Successful Bidder or Backup Bidder (each as defined in the Bid Procedures), or (ii) if
the Purchaser is the Backup Bidder, upon the earlier of (A) Closing with the Successful Bidder,
and (B) the Outside Closing Date. The foregoing notwithstanding, the Purchaser shall serve as a
Backup Bidder at the Auction only if (X) its bid pursuant to this Agreement is not determined to
be the “Baseline Bid,” as defined in the Bid Procedures, and (Y) it elects, at its sole discretion, to
offer a higher and better bid at the Auction. For avoidance of doubt, the Purchaser’s offer
described in this Agreement shall not be a Back-Up Bid absent the express consent of the
Purchaser; or

                 (i)     By the Purchaser if (i) any applicable regulatory authority or
Governmental Body has not granted any necessary consents to the transfer of the Purchased
Assets to Purchaser or a GME Network Affiliate, including without limitation, the Participating
Provider Agreement and Seller’s IME and direct GME resident cap slots appurtenant thereto; or
(ii) prior to Closing, any fact or circumstance arises relating to Medicare change of ownership,
Medicare IME or direct GME funding of one or more Continuing Residents that may lead to an
aggregate reduction in Medicare IME or direct GME funding for the Continuing Residents in the
amount of Three Million Dollars ($3,000,000) or more.

         9.2     Effect of Termination. Except as provided in this Section 9.2, in the event of the
termination of this Agreement pursuant to Section 9.1, this Agreement (other than this Section
9.2, which shall survive such termination) will forthwith become void, and there will be no
liability on the part of any Party to the other and all rights and obligations of any Party will
cease, except that nothing herein shall relieve any Party from liability for any intentional and
material breach of this Agreement.

                                           ARTICLE X.
                                           INDEMNITY

        10.1 Indemnification by Seller. Subject to this Article X and consummation of the
Closing, Seller shall, indemnify, defend and hold harmless Purchaser, Purchaser’s Affiliates, the
Consortium, the members of the Consortium, and the Representatives of each (each, a
“Purchaser Indemnified Party”) against and in respect of any and all out-of-pocket losses,
documented and reasonable costs and expenses (including, without limitation, documented and
reasonable costs of investigation and defense and reasonable attorneys’ fees), claims, damages,
obligations, or liabilities, whether or not involving a third party claim, but only after deducting
therefrom any insurance proceeds and any indemnity, contribution or other similar payment
received or reasonably expected to be received by the Purchaser Indemnified Party in respect of
any such claim (collectively, “Losses”), arising out of, based upon or otherwise in respect of:

                         (i)   any inaccuracy in or breach of any representation or warranty of
Seller made in or under this Agreement or any of the Schedules attached hereto, or in any of the
certificates or other instruments or documents furnished to Purchaser by Seller pursuant to this
Agreement (determined in each case without regard to any qualification with respect to


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materiality, Material Adverse Effect or similar qualification); provided, that the Seller shall not
have any liability under this clause (i) (other than with respect any intentional fraud on the part
of Seller) unless the aggregate of all Losses asserted under this clause (i) for which Seller would,
but for this proviso and but for the $25,000-per-claim deductible described below, be liable
exceeds on a cumulative basis an amount equal to Two Hundred Thousand Dollars
($200,000.00);

                      (ii)   any nonfulfillment or breach of any covenant or agreement by
Seller under this Agreement or any of the Schedules attached hereto;

                          (iii)   any Liability or obligation of Seller which is an Excluded Liability;
and

                          (iv)    the ownership of any of the Excluded Assets by Seller after the
Closing Date.

                (b)     Each Purchaser Indemnified Party shall take, and cause its Affiliates to
take, all reasonable steps to mitigate any Loss upon becoming aware of any event or
circumstance that would reasonably be expected to, or does, give rise thereto including incurring
costs only to the minimum extent necessary to remedy the breach that gives rise to such Loss.

            (c)   NOTWITHSTANDING ANYTHING CONTAINED IN THIS
AGREEMENT OR ANY OF THE ANCILLARY DOCUMENTS TO THE CONTRARY,
SELLER WILL NOT BE LIABLE FOR ANY LOSS ASSERTED UNDER SECTION 10.1(a)(i)
UNLESS THE CUMULATIVE LOSSES EXCEED $25,000 IN WHICH CASE SELLER
WILL, SUBJECT TO THE OTHER LIMITATIONS IN THIS ARTICLE X, BE LIABLE TO
INDEMNIFY THE PURCHASER INDEMNIFIED PARTY ONLY FOR THE EXCESS OVER
$25,000; AND THE SOLE REMEDY OF ANY PURCHASER INDEMNIFIED PARTY
AGAINST SELLER UNDER THIS AGREEMENT OR ANY OF THE ANCILLARY
DOCUMENTS FOR MONETARY DAMAGES, INCLUDING, WITHOUT LIMITATION,
COSTS OF INVESTIGATION AND DEFENSE AND ATTORNEYS’ FEES, SHALL BE A
TIMELY CLAIM BY PURCHASER PURSUANT TO THE ESCROW AGREEMENT, AND
LIMITED TO THE ESCROW AMOUNT.

        10.2 Indemnification by Purchaser. Subject to this Article X and consummation of
the Closing, Purchaser shall indemnify, defend and hold harmless Seller, Seller’s present,
former, and future officers, directors, trustees, members, employees, agents, Representatives and
Affiliates (each a, “Seller Indemnified Party”), against and in respect of any and all Losses
arising out of, based upon or otherwise in respect of:

                 (a)     any inaccuracy in or breach of any representation or warranty of Purchaser
made in or under this Agreement or any of the Schedules attached hereto, or in any of the
certificates or other instruments or documents furnished to Seller by Purchaser pursuant to this
Agreement; provided, that the Purchaser shall not have any liability under this clause (a) of
Section 10.2 unless the claims asserted under this clause (a) involves Losses in excess of
Twenty-Five Thousand Dollars ($25,000.00), at which time Purchaser shall be liable for the full
amount of all such Losses in excess of Twenty-Five Thousand Dollars ($25,000.00);


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              (b)    any nonfulfillment or breach of any covenant or agreement by Purchaser
under this Agreement or any of the Schedules attached hereto; and

                        (c)   any of the Assumed Liabilities pursuant to this Agreement.

Each Seller Indemnified Party shall take, and cause its Affiliates to take, all reasonable steps to
mitigate any Loss upon becoming aware of any event or circumstance that would reasonably be
expected to, or does, give rise thereto including incurring costs only to the minimum extent
necessary to remedy the breach that gives rise to such Loss.

             10.3       Indemnification Procedures.

                (a)    Within forty-five (45) days after receipt by an indemnified party of written
notice of the commencement of any Proceeding against it to which the indemnification in this
Article X relates, such indemnified party shall, if a claim is to be made against an indemnifying
party under this Article X, give notice to the indemnifying party of the commencement of such
Proceeding.

                (b)     If any Proceeding referred to in paragraph (a) above is brought against a
Seller Indemnified Party and it gives notice to Purchaser of the commencement of such
Proceeding, Purchaser will be entitled to participate in such Proceeding and, to the extent that it
wishes, assume the defense of such Proceeding with counsel reasonably satisfactory to such
Seller Indemnified Party and, after notice from Purchaser to such Seller Indemnified Party of its
election to assume the defense of such Proceeding, Purchaser will not, as long as it diligently
conducts such defense, be liable to such Seller Indemnified Party under this Article X for any
fees of other counsel or any other expenses with respect to the defense of such Proceeding, in
each case subsequently incurred by such Seller Indemnified Party in connection with the defense
of such Proceeding subject to the limitations contained in Section 10.1 hereof, other than
reasonable costs of investigation. If Purchaser assumes the defense of a Proceeding, (A) it will
be conclusively established for purposes of this Agreement that the claims made in that
Proceeding are within the scope of and subject to indemnification; and (B) no compromise or
settlement of such claims may be effected by Purchaser without such Seller Indemnified Party’s
consent unless (1) there is no finding or admission of any violation of law by such Seller
Indemnified Party (or any Affiliate thereof) or any violation of the rights of any Person and no
effect on any other claims that may be made against such Seller Indemnified Party, and (2) the
sole relief provided is monetary damages that are paid in full by Purchaser. Such Seller
Indemnified Party will have no liability with respect to any compromise or settlement of the
claims underlying such Proceeding effected without its consent. If notice is given to Purchaser
by a Seller Indemnified Party of the commencement of any Proceeding for which such Seller
Indemnified Party seeks indemnification hereunder and Purchaser does not, within ten (10) days
after such notice is received, give notice to such Seller Indemnified Party of Purchaser’s election
to assume the defense of such Proceeding, Purchaser will be bound by any determination made
in such Proceeding or any compromise or settlement effected by such Seller Indemnified Party.

              (c)    If any Proceeding referred to in paragraph (a) above is brought against a
Purchaser Indemnified Party, Seller shall be entitled to participate in such Proceeding at its own
expense. However, such Purchaser Indemnified Party shall, in all respects, control the defense


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and settlement of such Proceeding and Seller shall be liable for all fees and expenses incurred by
such Purchaser Indemnified Party and for any liability established by any order of a
Governmental Body of competent jurisdiction and for any liability established by any settlement
or compromise agreed to by such Purchaser Indemnified Party, in the exercise of its reasonable
discretion.

        10.4 Other Claims. A claim for any matter not involving a third party claim may be
asserted by written notice to the Party from whom indemnification is sought.

        10.5 Seller Indemnification Claim Period. Except as may otherwise expressly be
provided in this Agreement and in the absence of intentional fraud or willful misrepresentation
by Seller, no claim for indemnification pursuant to Section 10.1 shall be made unless a claim
arises and written notice pursuant to Section 10.3 or Section 10.4 which reasonably describes the
claim, the basis therefor, and if possible with the exercise of reasonable diligence, the Purchaser
Indemnified Party’s reasonably-supported estimate of the Losses being asserted, is delivered to
Seller on or before the close of business on the day preceding the first (1st) anniversary of the
Closing Date (the “Claims Close Date”) in which case the indemnity with respect to that Loss
shall survive the Claims Close Date (but continue to be limited to the funds held in the Escrow
Account). For the avoidance of doubt, nothing herein is intended to limit any rights to equitable
relief not involving the payment of money to which the Purchaser or any Purchaser Indemnified
Party may be entitled.

        10.6 Purchaser Indemnification Claim Period. Except as may otherwise expressly
be provided in this Agreement and in the absence of intentional fraud or willful
misrepresentation by Purchaser, no claim for indemnification pursuant to Section 10.2 shall be
made unless a claim arises and written notice pursuant to Section 10.3 or Section 10.4 is
delivered to Purchaser on or before the Claims Close Date. For the avoidance of doubt, nothing
herein is intended to limit any rights to equitable relief not involving the payment of money to
which the Seller or any Seller Indemnified Party may be entitled.

        10.7 Payment from Indemnification Escrow. If a Purchaser Indemnified Party
becomes entitled to indemnification from Seller hereunder, such Purchaser Indemnified Party
shall be entitled to receive the amount of Losses in cash from the Escrow Account in accordance
with the Escrow Agreement, and the recovery of the Purchaser Indemnified Parties shall be
limited to such recoveries from the Escrow Account. For the avoidance of doubt, nothing herein
is intended to limit any rights to equitable relief to which the Purchaser or any Purchaser
Indemnified Party may be entitled.

        10.8 Miscellaneous Indemnification Provisions. Disclosures made after the date
hereof and any knowledge that is acquired about the accuracy or inaccuracy of or compliance
with any representation, warranty, covenant or obligation set forth herein shall not in any manner
affect rights to indemnification hereunder based on any such representation, warranty, covenant,
or obligation. The waiver of any condition based on the accuracy of any representation or
warranty, or compliance with any covenant or obligation, will not affect any right to
indemnification based on such representations, warranties, covenants and obligations unless
otherwise expressly agreed in writing by the party or parties entitled to the benefit thereto.



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                                            ARTICLE XI.
                                          MISCELLANEOUS

        11.1 Expiration of Representations, Warranties and Agreements. The
representations and warranties and covenants made by Seller and Purchaser in this Agreement
and in any Ancillary Document delivered pursuant to this Agreement shall survive beyond the
Closing Date.

        11.2 Assignment. Neither this Agreement nor any interest herein may be assigned or
transferred by either Party to any other Person without the prior written consent of the other
Party, which consent may be given or withheld in the sole discretion of such other Party;
provided, however, Purchaser may assign at Closing its rights, but not its obligations, hereunder
to any Affiliate of Purchaser.

        11.3 Notices. All notices, requests and other communications under this Agreement
shall be in writing and shall be either (a) delivered in person, (b) sent by certified mail, return-
receipt requested, (c) delivered by a recognized delivery service or (d) sent by facsimile
transmission and addressed as follows:

             If intended for Purchaser:                Thomas Jefferson University Hospitals, Inc.
                                                       925 Chestnut Street, Suite 110
                                                       Philadelphia, Pennsylvania 19107
                                                       Attention: Stephen K. Klasko, MD,
                                                       MBA, President & CEO


             With a copies to:                         Thomas Jefferson University Hospitals, Inc.
                                                       1020 Walnuts Street, 6th Floor, Scott Bldg.
                                                       Philadelphia, Pennsylvania 19107
                                                       Attention: Cristina G. Cavalieri, Esq., Senior
                                                       Vice President, Chief Legal and Governance
                                                       Officer and Secretary

                                                       Neil S. Olderman, Esquire
                                                       Drinker Biddle & Reath LLP
                                                       191 N. Wacker Drive
                                                       Suite 3700
                                                       Chicago, IL 60606-1698

                                                       And

                                                       Andrew C. Kassner, Esquire
                                                       Drinker Biddle & Reath LLP
                                                       One Logan Square
                                                       18th and Cherry Streets
                                                       Philadelphia, PA 19103-6996



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             If intended for Seller:                   Center City Healthcare, LLC
                                                       Centre Square West
                                                       1500 Market Street, Suite 2400
                                                       Philadelphia, PA 19102
                                                       Attention: Allen Wilen, CRO-Finance

             With a copy to:                           Jeffrey Hampton
                                                       Adam Isenberg
                                                       Saul Ewing Arnstein & Lehr LLP
                                                       Centre Square West
                                                       1500 Market Street, 38th Floor
                                                       Philadelphia, PA 19102-2186

or at such other address, and to the attention of such other person, as the parties shall give notice
as herein provided. A notice, request and other communication shall be deemed to be duly
received if delivered in person or by a recognized delivery service, when delivered to the address
of the recipient, if sent by mail, on the date of receipt by the recipient as shown on the return
receipt card, or if sent by facsimile, upon receipt by the sender of an acknowledgment or
transmission report generated by the machine from which the facsimile was sent indicating that
the facsimile was sent in its entirety to the recipient’s facsimile number; provided that if a notice,
request or other communication is served by hand or is received by facsimile on a day which is
not a Business Day, or after 5:00 P.M. on any Business Day at the addressee’s location, such
notice or communication shall be deemed to be duly received by the recipient at 9:00 A.M. on
the first Business Day thereafter.

        11.4 Further Assurances. Each of the Parties hereto shall execute such documents
(including, without limitation, the Ancillary Documents) and take such further actions as may be
reasonably required or desirable to carry out the provisions hereof and the transactions
contemplated hereby or, at or after the Closing, to evidence the consummation of the transactions
consummated pursuant to this Agreement.

        11.5 Entire Agreement; Modifications; Waivers. This Agreement (together with the
Exhibits and Schedules hereto), the Ancillary Documents, and the Non-Disclosure Agreement
constitute the entire agreement between the Parties with respect to the subject matter hereof and
thereof and supersedes all prior understandings of the Parties with respect to the subject matter
hereof and thereof. No supplement, modification or amendment of this Agreement will be
binding unless executed in writing by each Party. No waiver of any of the provisions of this
Agreement will be deemed to be or will constitute a continuing waiver. No waiver will be
binding unless executed in writing by the Party making the waiver.

        11.6 Applicable Law; Jurisdiction and Venue; Jury Trial Waiver. THIS
AGREEMENT AND THE TRANSACTIONS CONTEMPLATED HEREBY SHALL BE
GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE
STATE OF DELAWARE. The Parties agree that jurisdiction and venue for any litigation
arising out of this Agreement shall be in the Bankruptcy Court; provided, however, that if at the
time of commencement of any such litigation, there is no longer a pending Bankruptcy Case,
jurisdiction and venue for any litigation arising out of this Agreement shall be in the courts of the

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State of Delaware or U.S. District Court for the District of Delaware, and the Parties each hereby
waive any objections they may have with respect thereto (including any objections based upon
forum non conveniens). EACH OF THE PARTIES HEREBY IRREVOCABLY WAIVES
ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDING
ARISING OUT OF OR RELATED TO THIS AGREEMENT, ANY ANCILLARY
DOCUMENT, OR THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY.

        11.7 Headings and Captions. The headings and captions in this Agreement are
inserted for convenience of reference only and in no way define, describe, or limit the scope or
intent or otherwise affect the interpretation of, this Agreement or any of the provisions hereof.

        11.8 Binding Effect. This Agreement shall be binding upon and shall inure to the
benefit of the Parties hereto and their respective successors and permitted assigns.

        11.9 Time is of the Essence. With respect to all provisions of this Agreement, time is
of the essence. However, if the first date or last date of any period which is set out in any
provision of this Agreement falls on a day which is not a Business Day, then, in such event, the
time of such period shall be extended to the next day which is a Business Day.

        11.10 Remedies Cumulative. Except as herein expressly set forth, no remedy
conferred upon a Party by this Agreement is intended to be exclusive of any other remedy herein
or by law provided or permitted, but each shall be cumulative and shall be in addition to every
other remedy given herein or now or hereafter existing at law, in equity or by statute.

             11.11 Interpretation and Construction.

              (a)    As used herein the words “include”, “includes” and “including” shall be
deemed to be followed by the phrase “without limitation”.

                (b)     As used herein, the words “herein,” “hereof,” “hereunder” and similar
terms shall refer to this Agreement unless the context requires otherwise.

                (c)    For purposes of this Agreement, whenever the context so requires, the
neuter gender includes the masculine and/or feminine gender, and the singular number includes
the plural and vice versa.

        11.12 Estoppel. Each Party confirms and agrees that (a) it has read and understood all
of the provisions of this Agreement; (b) it is familiar with major sophisticated transactions such
as those contemplated by this Agreement; (c) it has negotiated with the other Party at arm’s
length with equal bargaining power; and (d) it has been advised by competent legal counsel of its
own choosing.

         11.13 Joint Preparation. The Parties have participated jointly in the negotiation and
drafting of this Agreement. In the event an ambiguity or question of intent or interpretation
arises, this Agreement shall be construed as if drafted jointly by the Parties and no presumption
or burden of proof shall arise favoring or disfavoring any Party by virtue of the authorship of any
of the provisions of this Agreement.


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             11.14 Expenses; Transfer Taxes.

                (a)    Except as otherwise expressly provided in this Agreement, each Party will
bear its respective expenses incurred in connection with the preparation, negotiation, execution,
and performance of this Agreement and the transactions contemplated hereby, including all fees
and expenses of agents, representatives, counsel, and accountants.

                 (b)    The Purchaser and Seller shall each pay fifty (50%) percent of all sales,
use, transfer, real property transfer, documentary, recording and similar Taxes and fees, and any
deficiency, interest or penalty asserted with respect thereof arising out of or in connection with
the transactions contemplated hereby (“Transfer Taxes”).

        11.15 Counterparts. This Agreement may be executed at different times and in any
number of counterparts, each of which when so executed shall be deemed to be an original and
all of which taken together shall constitute one and the same agreement. Delivery of an executed
counterpart of a signature page to this Agreement by e-mail shall be as effective as delivery of a
manually executed counterpart of this Agreement.

        11.16 Severability. If any term or other provision of this Agreement is invalid, illegal
or incapable of being enforced under any Law or as a matter of public policy, all other conditions
and provisions of this Agreement shall nevertheless remain in full force and effect.

                                      [Signature page follows.]




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       IN WITNESS WHEREOF, the Seller and the Purchaser have caused this Agreement to
be executed as of the date first written above.

                                                SELLER:

                                                CENTER CITY HEALTHCARE, LLC

                                                By:
                                                      Allen Wilen
                                                      Chief Restructuring Officer - Finance


                                                PURCHASER:

                                                THOMAS JEFFERSON UNIVERSITY
                                                HOSPITALS, INC.

                                                By:
                                                      Laurence M. Merlis
                                                      Executive Vice President




                               [Signature page to Asset Purchase Agreement]




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                                             EXHIBIT A

                                          Purchased Assets

               The Purchased Assets to be purchased by the Purchaser and sold, conveyed,
assigned, transferred and delivered on the Closing Date to the Purchaser by the Seller shall
include all of the Seller’s right, title and interest in and to all of the following assets, but
specifically excluding, however, the Excluded Assets:

              1.    Assigned Contracts. All of the Seller’s rights and interests as of the
Closing Date under or relating to the Contracts specifically identified on Schedule A-1 to this
Exhibit A.

               2.      Books and Records. All Books and Records related to the Purchased
Assets, but specifically excluded any Corporate Documents.

              3.       Governmental Authorizations.          All       transferable   Governmental
Authorizations identified on Schedule A-2 to this Exhibit A.

               4.      Rights; Warranty Claims. All of Seller’s rights, claims, counterclaims,
credits, causes of action or rights of set-off against third parties that relate to warranties,
indemnities, and all similar rights to the extent related to any Purchased Assets.

               5.         Other Assets. Those other assets of the Seller identified on Schedule A-3
to this Exhibit A.




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                                                  Schedule A-1



I.           Current GME Affiliation Agreements

             1.         Medicare GME Affiliation Agreement for July 1, 2019 Through June 30, 2020
                        between the Trustees of the University of Pennsylvania, as the owner and operator
                        of the Hospital of the University of Pennsylvania, and Seller.

             2.         Medicare GME Affiliation Agreement for July 1, 2019 Through June 30, 2020
                        between Prime Healthcare Services Roxborough, LLC, the owner and operator of
                        Roxborough Memorial Hospital, and Seller.

             3.         Medicare GME Affiliation Agreement for July 1, 2019 Through June 30, 2020
                        among Temple University Hospital, Seller and St. Christopher’s Healthcare, LLC
                        d/b/a St. Christopher’s Hospital for Children.

             4.         Medicare GME Affiliation Agreement for July 1, 2019 through June 30, 2020
                        between Friends Behavioral Health System and Seller.

             5.         Medicare GME Affiliation Agreement for July 1, 2019 through June 30, 2020
                        between Abington Memorial Hospital and Seller.

II.          GME Obligations

             Graduate Hospital/Penn

             •          Agreement Regarding Medicare FTE Resident Caps, between the Trustees of the
                        University of Pennsylvania and Tenet HealthSystem Hahnemann, LLC, dated
                        March 30, 2007

             Roxborough and Warminster/Solis

             •          Agreement Regarding Medicare FTE Resident Caps between Solis Healthcare, LP
                        and Tenet HealthSystem Hahnemann, LLC, dated July 1, 2007

             •          Agreement Concerning Family Medicine Training among Abington Memorial
                        Hospital, Solis Healthcare, LP and Tenet HealthSystem Hahnemann, LLC dated
                        June 23, 2008

             •          Second Amendment to Agreement Regarding Medicare FTE Resident Caps;
                        between Solis Healthcare, LP and Tenet HealthSystem Hahnemann, LLC dated
                        June 29, 2010




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             Hahnemann/Friends

             •          Residency Rotation Agreement between Tenet HealthSystem Hahnemann, LLC
                        and Friends Behavioral Health System, LP dated June 2008

             •          Memorandum of Understanding for Residency Rotation Agreement between
                        Tenet HealthSystem Hahnemann, LLC and Friends Behavioral Health System, LP

             Hahnemann/Abington

                        Master Agreement for Shared Rotational Arrangements between Hahnemann
                        University Hospital and Abington Memorial Hospital dated June 29, 2007

III.         The Participating Provider Agreement

IV.          Tower Health GME Affiliation Agreement




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                                         Schedule A-2

                                 Governmental Authorizations

The Participating Provider Agreement




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                                         Schedule A-3

                                         Other Assets

[None]




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                                            EXHIBIT B
                   ASSIGNMENT, DELEGATION AND ASSUMPTION AGREEMENT

               ASSIGNMENT, DELEGATION AND ASSUMPTION AGREEMENT
(“Agreement”) dated as of [_____________] by and between Center City Healthcare, LLC, a
Delaware limited liability company (“Assignor”), and Thomas Jefferson University Hospitals,
Inc., a Pennsylvania nonprofit corporation (“Assignee”).

                                         BACKGROUND

           A.   ASSIGNEE AND ASSIGNOR HAVE ENTERED INTO AN ASSET
PURCHASE AGREEMENT DATED AS OF [________________] (TOGETHER WITH THE
EXHIBITS AND SCHEDULES THERETO, THE “PURCHASE AGREEMENT”)
PROVIDING FOR, AMONG OTHER THINGS, THE SALE, TRANSFER, CONVEYANCE,
ASSIGNMENT, AND DELIVERY BY ASSIGNOR TO ASSIGNEE OF CERTAIN ASSETS
OF ASSIGNOR (COLLECTIVELY, THE “PURCHASED ASSETS”) THAT ARE OWNED
OR USED BY ASSIGNOR IN CONNECTION WITH THE BUSINESS.

           B.   IN CONNECTION WITH THE SALE AND PURCHASE OF THE
PURCHASED ASSETS PURSUANT TO THE PURCHASE AGREEMENT, ASSIGNOR IS
TO ASSIGN AND DELEGATE, AND ASSIGNEE IS TO ASSUME, THE ASSIGNED
CONTRACTS. CLOSING IS BEING HELD ON THE DATE HEREOF UNDER THE
PURCHASE AGREEMENT.

              NOW, THEREFORE, pursuant to and in consideration of the Purchase
Agreement and the mutual covenants and agreements set forth therein and herein, Assignor and
Assignee, each intending to be legally bound, agree as follows:

                 1.      Incorporation of Background; Defined Terms. The Background
provisions set forth above (including, without limitation, all of the defined terms set forth
therein) are hereby incorporated by reference into this Agreement and made a part hereof as if set
forth in their entirety in this Section 1. Capitalized terms used herein which are not otherwise
defined shall have the respective meanings assigned to them in the Purchase Agreement.

               2.      Assignment of Rights. Assignor hereby sells, transfers, conveys, and
assigns to Assignee all of Assignor’s right, title and interest in, to and under all of the Assigned
Contracts, each of which are identified on Schedule 2 attached hereto.

              3.      Delegation of Duties. Assignor hereby delegates to Assignee all of
Assignor’s duties and liabilities under the Assigned Contracts.

                 4.      Assumption of Liabilities. In partial consideration for the sale of the
Purchased Assets by Assignor pursuant to the Purchase Agreement, Assignee hereby undertakes
and agrees to assume, discharge, or perform as the case may be, all duties, obligations, and
liabilities of Assignor under the Assigned Contracts which are to be performed after, and relate
to the period after, the date hereof or which are otherwise assigned to and assumed by the
Purchaser under or pursuant to the Purchase Agreement or the Sale Order.


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                 5.      Assignment of Governmental Authorizations; Etc. Assignor hereby
assigns, sells, transfers, and sets over to Assignee all of Assignor’s right, title and interest in, to,
and under all of the Governmental Authorizations which are listed on Schedule 5 attached
hereto, but only to the extent that any of the foregoing may be legally sold, transferred,
conveyed, assigned and delivered by Assignor to Assignee without any action by any such
applicable federal, state, or local government or regulatory body.

                6.      Binding Effect. This Agreement shall be binding upon and inure to the
benefit of the parties hereto and their respective successors and assigns.

                7.      Governing Law. This Agreement shall be governed by, and construed in
accordance with, the domestic, internal laws of the State of Delaware, without regard to its rules
pertaining to the conflict of laws.

                8.     Counterparts. This Agreement may be executed in two (2) or more
counterparts, each of which shall be deemed to be an original of this Agreement and all of which,
when taken together, will be deemed to constitute one and the same agreement. Any party to this
Agreement may deliver an executed counterpart hereof by facsimile transmission or electronic
mail (as a Portable Document Format (PDF) file) to the other party hereto and any such delivery
shall have the same force and effect as the manual delivery of an original executed counterpart of
this Agreement.

                             Remainder of Page Intentionally Left Blank

                                       Signature Page Follows




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              IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
duly executed and delivered by their duly authorized officers the day and year first above
written.

                                            CENTER CITY HEALTHCARE, LLC

                                            By
                                               Allen Wilen
                                               Chief Restructuring Officer - Finance
                                              “Assignor”


                                            THOMAS JEFFERSON UNIVERSITY
                                            HOSPITALS, INC.

                                            By
                                                  Laurence M. Merlis
                                                  Executive Vice President
                                                  “Assignee”




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                                            EXHIBIT C

                                          BILL OF SALE

                                      _______________, 2019

                 KNOW ALL BY THESE PRESENTS that CENTER CITY HEALTHCARE,
LLC, a Delaware limited liability company (the “Seller”), for good and valuable consideration,
the receipt and sufficiency of which is hereby acknowledged, and intending to be legally bound,
has granted, bargained, sold, conveyed, transferred, assigned and delivered, and by this Bill of
Sale hereby grants, bargains, sells, conveys, transfers, assigns and delivers, to Thomas Jefferson
University Hospitals, Inc., a Pennsylvania nonprofit corporation (“Purchaser”), its successors and
assigns, all of the Seller’s right, title and interest in and to the Purchased Assets. As used herein,
the term “Purchased Assets” has the meaning given to such term in that certain Asset Purchase
Agreement, dated as of - _____________________, 2019, by and between the Seller and
Purchaser (together with the Exhibits and Schedules thereto, the “Purchase Agreement”), which
Purchase Agreement is incorporated herein by this reference.

              EXCLUDING, HOWEVER, the “Excluded Assets” (as such term is defined in
the Purchase Agreement).

               TO HAVE AND TO HOLD the Purchased Assets unto Purchaser, its successors
and assigns, forever.

               This Bill of Sale is being executed and delivered by the Seller to the Purchaser
under and pursuant to Section 8.2(a) of the Purchase Agreement and is subject to the terms and
conditions of the Purchase Agreement in all respects.

                             Remainder of Page Intentionally Left Blank

                                      Signature Page Follows




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               IN WITNESS WHEREOF, Seller has executed and delivered this Bill of Sale as
of the date and year first set forth above.

                                            CENTER CITY HEALTHCARE, LLC


                                            By
                                              Allen Wilen
                                              Chief Restructuring Officer - Finance




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                                          EXHIBIT D

                                      ESCROW AGREEMENT



                                         [To be provided]




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                                         EXHIBIT E



                                        SALE ORDER



                                        [To be provided]




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                                          EXHIBIT F



                               BIDDING PROCEDURES ORDER




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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

                                  )
In re:                            )                               Chapter 11
                                  )
CENTER CITY HEALTHCARE, LLC d/b/a )                               Case No. 19-11466 (KG)
HAHNEMANN UNIVERSITY HOSPITAL, et )
al.,1                             )                               Jointly Administered
                                  )
                    Debtors.      )                               Re: Docket No. 142
                                  )

       ORDER (I)(A) ESTABLISHING BIDDING PROCEDURES RELATING TO
     THE SALE OF THE DEBTORS’ RESIDENT PROGRAM ASSETS, INCLUDING
  APPROVING A BREAK-UP FEE, (B) ESTABLISHING PROCEDURES RELATING TO
  THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS,
   INCLUDING NOTICE OF PROPOSED CURE AMOUNTS, (C) APPROVING FORM
             AND MANNER OF NOTICE RELATING THERETO, AND
       (D) SCHEDULING A HEARING TO CONSIDER THE PROPOSED SALE


               Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

  debtors in possession (the “Debtors”) for the entry of an order (this “Bidding Procedures

  Order”): (a) approving the proposed bidding procedures attached as Schedule 1 to this Bidding

  Procedures Order (the “Bidding Procedures”), by which the Debtors will solicit and select the

  highest or otherwise best offer for the sale (the “Sale”) of the Residents Program Assets;

  (b) establishing procedures for the assumption and assignment of executory contracts, including

  notice of proposed cure amounts (the “Assumption and Assignment Procedures”);

  1
               The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
               number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
               Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
               PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
               Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
               Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
               (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
               230 North Broad Street, Philadelphia, Pennsylvania 19102.
  2
               Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to them in the
               Motion or the Bidding Procedures, as applicable.



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(c) approving the form and manner of notice with respect to certain procedures, protections,

schedules, and agreements described herein and attached hereto; (d) approving the Debtors’

selection of Tower Health (“Tower Health”) as the stalking horse bidder (the “Stalking Horse

Bidder”) 3, the Break-Up Fee (as defined below) for the Stalking Horse Bidder, and that certain

asset purchase agreement (as may be amended from time to time, the “Stalking Horse Sale

Agreement”), as filed with the Court [D.I. 246], among Debtor Center City Healthcare, LLC

d/b/a Hahnemann University Hospital (the “Seller”) and the Stalking Horse Bidder;

(e) scheduling a final hearing (the “Sale Hearing”) to approve the Sale; and (f) granting related

relief, and upon the Debtors’ further request that, at the Sale Hearing, this Court enter an order (a

“Sale Order”), a proposed form of which is attached as Exhibit E to the Stalking Horse Sale

Agreement: (x) authorizing the sale of the Residents Program Assets free and clear of Interests as

defined in footnote 4, below (the “Interests”)4, with any such Interests to attach to the proceeds

thereof with the same validity, extent and priority (under the Bankruptcy Code) as such Interests

existed immediately prior to the consummation of the Sale; (y) authorizing the assumption and

assignment of certain executory contracts; and (z) granting related relief, all as more fully

described in the Motion; and the Court having found that it has jurisdiction over this matter

3
             The Court has been advised that Reading Hospital, a subsidiary of Tower Health, will actually serve as the
             Stalking Horse Bidder and, as a result, all references herein to the Stalking Horse Bidder shall be deemed to
             include Reading Hospital.
4
             Interests shall include: (i) mortgages, security interests, conditional sale or other title retention agreements,
             pledges, liens, rights of offset, judgments, demands, encumbrances and claims (as that term is defined in
             the Bankruptcy Code), (ii) rights or options to effect any forfeiture, modification, repurchase, or
             termination of the Seller’s or purchaser’s interest in the Assigned Contracts and/or Residents Program
             Assets, regardless whether such are “claims” as that term is defined in the Bankruptcy Code, (iii) claims of
             the Pension Benefit Guaranty Corporation or any plan participant or beneficiary, (iv) tax claims (including
             taxes as to which applicable returns have not yet been filed, whether or not overdue), and (v) restrictions,
             rights of first refusal or charges of any kind or nature, if any, including, but not limited to, any restriction
             on the use, voting, transfer, receipt of income or other exercise of any attributes of ownership, regardless
             whether such are “claims” as that term is defined in the Bankruptcy Code, and with respect to the rights
             described in this sub-clause (v) only as they relate to the Resident Program Assets that are the subject of the
             Stalking Horse Bidder’s Stalking Horse Sale Agreement.



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pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of this proceeding and

the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court

having found that the relief requested in the Motion is in the best interests of the Debtors’ estates,

their creditors, and other parties in interest; and the Court having found that the Debtors provided

appropriate notice of the Motion and the opportunity for a hearing on the Motion under the

circumstances; and the Court having reviewed the Motion and having heard the statements in

support of the relief requested therein at a hearing, if any, before the Court; and the Court having

determined that the legal and factual bases set forth in the Motion and at the hearing establish

just cause for the relief granted herein; and upon all of the proceedings had before the Court; and

after due deliberation and sufficient cause appearing therefor, THE COURT HEREBY FINDS

THAT:

             A.          The findings of fact and conclusions of law herein constitute the Court’s findings

of fact and conclusions of law for the purposes of Bankruptcy Rule 7052, made applicable

pursuant to Bankruptcy Rule 9014. To the extent any findings of facts are conclusions of law,

they are adopted as such. To the extent any conclusions of law are findings of fact, they are

adopted as such.

             B.          This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue in this Court is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.

             C.          The statutory bases for the relief requested in the Motion are sections 105, 363,

365, 503, and 507 of the Bankruptcy Code, Bankruptcy Rules 2002(a)(2), 6004, 6006, 9007, and

9014, and Rule 6004-1 of the Local Rules of Bankruptcy Practice and Procedure of the United



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States Bankruptcy Court for the District of Delaware (the “Local Rules”). The legal and factual

bases set forth in the Motion establish just cause for the relief granted herein. Entry of this

Bidding Procedures Order is in the best interests of the Debtors and their respective estates,

creditors, and all other parties in interest.

             D.          Notice of the Motion, as relates to the Bidding Procedures Hearing and the

proposed entry of this Bidding Procedures Order, was adequate and sufficient under the

circumstances of these Chapter 11 Cases, and such notice complied with all applicable

requirements of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules. Notice of the

Motion as relates to the Bidding Procedures Hearing and the proposed entry of this Bidding

Procedures Order has been given to: (a) all entities known to have expressed an interest in a

transaction with respect to some or all of the Debtors’ Residents Program Assets during the past

six (6) months; (b) all entities known to have asserted any Interest in or upon any of the Debtors’

Residents Program Assets; (c) all federal, state, and local regulatory or taxing authorities or

recording offices which have a reasonably known interest in the relief requested by this Motion;

(d) known counterparties to any unexpired leases or executory contracts related to the Residents

Program Assets that could potentially be assumed and assigned to the Successful Bidder;

(e) counsel to MidCap Funding IV Trust; (f) Drexel University d/b/a Drexel University College

of Medicine; (g) the Debtors’ unions; (h) the Internal Revenue Service; (i) the United States

Attorney for the District of Delaware; (j) the United States Department of Justice; (k) the

Pennsylvania Attorney General’s Office; (l) the Pennsylvania Department of Health; (m) the City

of Philadelphia; (n) the CMS; (o) the ACGME; and (p) any party that has requested notice

pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”). Accordingly, no further




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notice of the Motion as relates to the Bidding Procedures Hearing and the proposed entry of this

Bidding Procedures Order is necessary or required.

             E.          The Debtors have demonstrated a compelling and sound business justification for

the Court to grant the relief requested in the Motion as relates to the entry of this Bidding

Procedures Order, including, without limitation:              (a) approval of the Bidding Procedures;

(b) approval of the selection of the Stalking Horse Bidder and approval of the Break-Up Fee to

be paid to the Stalking Horse Bidder under the circumstances described in the Motion;

(c) approval of the Assumption and Assignment Procedures; (d) approval of the form and

manner of notice of all procedures, protections, schedules, and agreements described in the

Motion and attached thereto; (e) the scheduling of a date for the Sale Hearing; and (f) all related

relief as set forth herein. Such compelling and sound business justification, which was set forth

in the Motion and on the record at the hearing for such Motion, are incorporated herein by

reference and, among other things, form the basis for the findings of fact and conclusions of law

set forth herein.

             F.          Entry into the Stalking Horse Sale Agreement with the Stalking Horse Bidder is

in the best interests of the Debtors and the Debtors’ estates and creditors, and it reflects a sound

exercise of the Debtors’ business judgment. The Stalking Horse Sale Agreement provides the

Debtors with the opportunity to sell the Residents Program Assets in order to preserve and

realize their optimal value, while at the same time minimizing the negative impact of the closure

of Hahnemann University Hospital on Residents, as well as upon the Debtors’ academic

affiliation partner, Drexel University.

             G.          The Bidding Procedures, in the form attached hereto as Schedule 1 and

incorporated herein by reference as if fully set forth in this Bidding Procedures Order, are fair,



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reasonable, and appropriate and represent the best method for maximizing the value of the

Debtors’ estates. The Break-Up Fee: (a) shall, if triggered, be deemed an actual and necessary

cost and expense of preserving the Debtors’ estates, within the meaning of sections 503(b)

and 507(a)(2) of the Bankruptcy Code in accordance with the Stalking Horse Sale Agreement;

(b) is commensurate to the real and substantial benefit conferred upon the Debtors’ estates by the

Stalking Horse Bidder; (c) is reasonable and appropriate, including in light of the size and nature

of the Sale and comparable transactions, the commitments that have been made, and the efforts

that have been and will be expended by the Stalking Horse Bidder, notwithstanding that the Sale

is subject to higher or better offers; and (d) was necessary for the Stalking Horse Bidder to

pursue the Sale and to be bound by the Stalking Horse Sale Agreement.

             H.          The Debtors have demonstrated a reasonable business justification for the

payment of the Break-Up Fee under the circumstances set forth in the Stalking Horse Sale

Agreement. The Bidding Procedures and the Break-Up Fee were a material inducement to, and

express condition of, the willingness of the Stalking Horse Bidder to submit bids through

execution of the Stalking Horse Sale Agreement that will serve as a minimum or floor bid on

which the Debtors, their creditors, and other bidders may rely. Unless it is assured that the

Break-Up Fee will be available, the Stalking Horse Bidder is unwilling to be bound under the

Stalking Horse Sale Agreement (including the obligation to maintain its committed offer while

such offer is subject to higher or otherwise better offers as contemplated in the Bidding

Procedures). The Stalking Horse Bidder has provided a material benefit to the Debtors and their

creditors by increasing the likelihood that the best possible purchase price for the Residents

Program Assets will be realized and that Residents will be protected.




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             I.          The Assumption and Assignment Notice is appropriate and reasonably calculated

to provide all interested parties with timely and proper notice of the potential assumption and

assignment of the applicable Designated Contracts in connection with the sale of the Residents

Program Assets and the related Cure Costs, and no other or further notice shall be required. The

Motion and the Assumption and Assignment Notice are reasonably calculated to provide

counterparties to any Designated Contracts with proper notice of the intended assumption and

assignment of their Designated Contracts, the procedures in connection therewith, and any cure

amounts relating thereto.

             J.          The Auction and Sale Notice attached hereto as Schedule 5 is appropriate and

reasonably calculated to provide all interested parties with timely and proper notice of the sale of

the Residents Program Assets, including, without limitation: (a) the date, time, and place of the

Auction (if one is held); (b) the Bidding Procedures; (c) the deadline for filing objections to the

Sale and entry of the Sale Order, and the date, time, and place of the Sale Hearing;

(d) identification of the assets to be sold; (e) instructions for promptly obtaining copies of the

Stalking Horse Sale Agreement; (f) a description of the Sale as being free and clear of all

Interests, with all Interests attaching with the same validity and priority to the Sale proceeds; and

(g) notice of the proposed assumption and assignment of Designated Contracts to the Stalking

Horse Bidder pursuant to the Stalking Horse Sale Agreement (or to another Successful Bidder

arising from the Auction, if any), and no other or further notice of the Sale shall be required.

             K.          All current and former patients of Debtor Center City Healthcare, LLC (“Center

City”) who have, as of the date of this order, asserted claims against Center City, including but

not limited to claims formally asserted by the filing of suit or a proof of claim in these

Bankruptcy Cases and claims informally asserted by letter or by a request for medical records



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from a lawyer or otherwise (the “Known Patient Creditors”) shall be treated as known creditors

of the Debtors for purposes of notice requirements related to the Sale.

             L.          All current and former patients of Center City who, as of the date of this order, are

not Known Patient Creditors (including current and former patients who are not, as of the date of

this order, aware that they have or may have claims against the Debtors including such patients

as to whom personal injury has not manifested as of the date of this order) (the “Unknown

Patient Creditors”) shall be treated as unknown creditors of the Debtors for purposes of the

notice requirements related to the Sale.

             M.          The Debtors’ marketing process has been reasonably calculated to maximize

value for the benefit of all stakeholders.

IT IS HEREBY ORDERED THAT:

             1.          The Motion is granted as provided herein.5

             2.          All objections to the relief requested in the Motion that have not been withdrawn,

waived, or settled as announced to the Court at the hearing on the Motion or by stipulation filed

with the Court, are overruled.

I.           Timeline for the Sale

             3.          The Debtors are authorized to perform any obligations of the Debtors set forth in

the Stalking Horse Sale Agreement that are intended to be performed prior to the Sale Hearing or

entry of the Sale Order. The Debtors, in consultation with the Official Committee of Unsecured

Creditors (the “Committee”), as indicated herein and in the Bidding Procedures, are authorized

to proceed with the Sale in accordance with the Bidding Procedures and are authorized to take



5
             Notwithstanding anything to the contrary herein, or in the Bidding Procedures, the acceptance of a Bid and
             Sale Agreement by the Debtors and the consummation of a Sale are subject to entry of the Sale Order.



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any and all actions reasonably necessary or appropriate to implement the Bidding Procedures in

accordance with the following timeline:

                             Milestone                                     Proposed Date

 Deadline to Object to Approval of the Sale to the               4:00 p.m. (prevailing Eastern Time)
 Stalking Horse Bidder on the terms of the                               on August 5, 2019
 Stalking Horse Bid as set forth in the Stalking
 Horse Sale Agreement
 Bid Deadline                                                    4:00 p.m. (prevailing Eastern Time)
                                                                         on August 5, 2019
 Auction (if necessary)                                         10:00 a.m. (prevailing Eastern Time)
                                                                         on August 7, 2019
 Sale Hearing                                                  August 9, 2019 at 11:00 a.m. (prevailing
                                                                           Eastern Time)
 Deadline to Object to conduct of the Auction and                (may be raised at the Sale Hearing)
 Sale to a Successful Bidder (Other than a Sale to
 the Stalking Horse Bidder on the terms of the
 Stalking Horse Bid as set forth in the Stalking
 Horse Sale Agreement)

             4.          For the avoidance of doubt, the Debtors, in consultation with the Committee,

reserve the right, and are authorized to, modify the above timeline and the Bidding Procedures in

accordance with the provisions of the Bidding Procedures, subject to the terms of the Stalking

Horse Sale Agreement.

II.          The Bidding Procedures

             5.          The Bidding Procedures, substantially in the form attached hereto as Schedule 1,

are approved in their entirety. The Debtors are authorized to take any and all actions reasonably

necessary or appropriate to implement the Bidding Procedures, in accordance therewith and the

Stalking Horse Sale Agreement. The failure to specifically include or reference a particular

provision of the Bidding Procedures in this Bidding Procedures Order shall not diminish or




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impair the effectiveness of such provision, it being the intent of the Court that the Bidding

Procedures be authorized and approved in their entirety.

             6.          The process and requirements associated with submitting a Qualified Bid are

approved as fair, reasonable, appropriate, and designed to maximize recoveries for the benefit of

the Debtors’ estates, creditors, and other parties in interest. As further described in the Bidding

Procedures, the Bid Deadline shall be 4:00 p.m. (prevailing Eastern Time) on August 5, 2019.

Any disputes or objections to the selection of Qualified Bids, Successful Bids, or Backup Bids

(all as defined in the Bidding Procedures) shall be resolved by this Court at the Sale Hearing as

set forth herein.

             7.          The Stalking Horse Bidder is deemed a Qualified Bidder for all purposes, and the

Stalking Horse Bid as set forth in the Stalking Horse Sale Agreement is deemed a Qualified Bid.

In the event that no other Qualified Bids are submitted, the Debtors shall deem the Stalking

Horse Bidder to be the Successful Bidder.

             8.          The Debtors are authorized to conduct the Auction in accordance with the

Bidding Procedures. The Auction, to the extent that an Auction is necessary under the Bidding

Procedures, shall take place at 10:00 a.m. (prevailing Eastern Time) on August 7, 2019 at the

offices of the proposed counsel for the Debtors, Saul Ewing Arnstein & Lehr LLP, Centre

Square West, 1500 Market Street, 38th Floor, Philadelphia, PA 19102 (or at any other time and

location as the Debtors may hereafter designate on proper notice).                 The Auction will be

conducted openly and all creditors and the Committee will be permitted to attend.

             9.          Any creditor with a valid and perfected lien on all of the Residents Program

Assets (each, a “Secured Creditor”) shall have the right, subject in all respects to the

Bankruptcy Code and other applicable law (and the rights of the Committee and other parties in



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interest to object to or challenge such creditor’s lien thereunder (a “Challenge”)), to credit bid all

or any portion of such Secured Creditor’s allowed secured claims to purchase the Residents

Program Assets to the extent that such secured claims are valid and undisputed pursuant to

Bankruptcy Code section 363(k) or other applicable law, unless otherwise ordered by the

Bankruptcy Court for cause. The foregoing notwithstanding, any credit bid shall include a cash

component sufficient to satisfy in full all costs of sale, including the Break-Up Fee. In the event

that the Committee, or another party in interest Challenges a creditor’s lien, the approval of a

Successful Bid by such creditor that includes a credit bid shall be contingent upon a final

determination that such creditor’s lien is valid and perfected. In the event that such a creditor’s

lien is successfully Challenged, or otherwise determined not to be valid and perfected, such

creditor shall pay the credit bid portion of its Bid in cash at the closing of the Sale.

             10.         Further, in the event of a competing Qualified Bid, the Stalking Horse Bidder will

be entitled, but not obligated, to submit overbids and will be entitled in any such overbids to

include all or any portion of the Break-Up Fee in lieu of cash and have the Break-Up Fee be

treated as equal to cash in the same amount for the purposes of evaluating the overbid.

III.         Stalking Horse Bidder, Bid Protections, and Stalking Horse Sale Agreement

             11.         The Debtors are authorized to enter into the Stalking Horse Sale Agreement,

subject to higher or otherwise better offers at the Auction. The Break-Up Fee described in the

Bidding Procedures is approved. The Debtors are authorized to pay any and all amounts owing

to the Stalking Horse Bidder on account of the Break-Up Fee upon the Debtors’ closing of the

Sale with a purchaser other than the Stalking Horse Bidder (an “Alternative Transaction”). If

triggered, the Break-Up Fee: (a) shall be an allowed administrative expense claim under section

503(b) and 507 of the Bankruptcy Code and a direct cost of any such Sale; and (b) shall be

payable in at closing on the Alternative Transaction without further order of this Court; and

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(c) shall be payable solely from the proceeds of such Alternative Transaction. No Interests shall

attach to the proceeds of any such Alternative Transaction equal to the amounts owed to the

Stalking Horse Bidder on account of the Break-Up Fee.

IV.          Notice Procedures

             12.         The Auction and Sale Notice is approved.

             A.          Notice of Sale, Auction, and Sale Hearing.

             13.         Within two (2) business days after the entry of this Bidding Procedures Order, or

as soon as reasonably practicable thereafter (the “Mailing Date”), the Debtors shall serve the

Auction and Sale Notice by first-class mail, electronic mail or, for those parties who have

consented to receive notice by the Electronic Case Files (“ECF”) system, by ECF, upon (a) the

Notice Parties, (b) all Residents, and (c) all known creditors of Center City, including any

Known Patient Creditors. In addition, on or before the Mailing Date, the Debtors shall serve the

Notice to Residents and Fellows Regarding Proposed Sale of Residency Program Assets (the

“Residents’ Notice”), in substantially the form attached hereto as Schedule 2, on all Residents

by first class mail or electronic mail.

             14.         Service of the Auction and Sale Notice and the Residents’ Notice as described in

paragraph 13 above shall be sufficient and proper notice of the and satisfies all due process

requirements.

             15.         Within ten (10) days of the date of this Bidding Procedures Order, the Debtors

shall cause the notice (the “Publication Notice”) substantially in the form attached hereto as

Schedule 3 to be published once in the National Edition of USA Today and once in the

Philadelphia Inquirer. The Publication Notice shall be sufficient and proper notice of the Sale to

all creditors whose identities are unknown to the Debtors, including all of the Unknown Patient

Creditors.

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             B.          Notice of Successful Bidder.

             16.         As soon as reasonably practicable after the Bid Deadline, if no Qualified Bid

other than the Stalking Horse Sale Agreement is received by the Bid Deadline, or conclusion of

the Auction, if a Qualified Bid other than the Stalking Horse Sale Agreement is received by the

Bid Deadline, the Debtors shall file on the docket, but not serve, a notice which shall identify the

Successful Bidder.

V.           Assumption and Assignment Procedures

             17.         The Assumption and Assignment Procedures, which are set forth below,

regarding the assumption and assignment of the executory contracts proposed to be assumed by

the Debtors pursuant to section 365(b) of the Bankruptcy Code and assigned to the Stalking

Horse Bidder (or other Successful Bidder, following the Auction, if any) pursuant to section

365(f) of the Bankruptcy Code and in accordance with the Stalking Horse Sale Agreement are

hereby approved to the extent set forth herein.

             A.          Notice of Assumption and Assignment.

             18.         The Debtors previously filed with the Court, [D.I. 246], a list (the “Initial

Designated Contracts List”) specifying: (a) each of the Debtors’ executory contracts that may

be assumed and assigned in connection with the Sale (the “Initial Designated Contracts”),

including the name of each non-Debtor counterparty to such Designated Contract (the “Initial

Designated Contract Counterparty”); and (b) the proposed amount necessary, if any, to cure

all monetary defaults, if any, under the Initial Designated Contract (the “Cure Costs”).

             19.         On the Mailing Date, the Debtors shall serve the Notice of Proposed Assumption

and Assignment of Executory Contracts attached hereto as Schedule 4 (the “Initial Notice of

Assumption and Assignment”) on all Initial Designated Contract Counterparties by first-class




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mail, email or, for those parties who have consented to receive notice by the Electronic Case

Files (“ECF”) system, by ECF.

             20.         Any Initial Designated Contract Counterparty may file an objection (a “Contract

Objection”) to the proposed assumption and assignment of the applicable Initial Designated

Contract, the proposed Cure Costs, if any, and the ability of the Stalking Horse Bidder to provide

adequate assurance of future performance. All Contract Objections must: (a) be in writing;

(b) state with specificity the basis for the objection as well as any Cure Costs that the objector

asserts to be due, including each and every asserted default in the applicable contract or lease (in

all cases with appropriate documentation in support thereof); (c) comply with the Bankruptcy

Rules and the Local Rules; and (d) be filed and served on (i) Saul Ewing Arnstein & Lehr LLP,

1201 N. Market Street, Suite 2300, Wilmington, Delaware 19801, Attn: Mark Minuti

(mark.minuti@saul.com) and Centre Square West, 1500 Market Street, 38th Floor, Philadelphia,

Pennsylvania, 19102, Attn: Jeffrey C. Hampton (jeffrey.hampton@saul.com), proposed counsel

to the Debtors, (ii) Sills Cummis & Gross P.C., One Riverfront Plaza, Newark, New Jersey,

07102, Attn: Andrew Sherman (Asherman@sillscummis.com) and Boris Mankovetskiy

(BMankoverskiy@sillscummis.com), proposed counsel to the Committee, and (iii) Stevens &

Lee, P.C., 620 Freedom Business Center, Suite 200, King of Prussia, Pennsylvania 19406, Attn:

Robert Lapowsky (rl@stevenslee.com), counsel to the Stalking Horse Bidder (the “Contract

Notice Parties”) by 4:00 p.m. (prevailing Eastern Time) on August 5, 2019 (the “Initial

Designated Contract Objection Deadline”). Objections to the ability of a Successful Bidder

other than the Stalking Horse Bidder to provide adequate assurance of future performance shall

be raised at or prior to the Sale Hearing.




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             21.         If an Initial Designated Contract Counterparty files a Contract Objection in a

manner that is consistent with the requirements set forth above, and the parties are unable to

consensually resolve the dispute prior to the Sale Hearing, such Contract Objection will be

determined at the Sale Hearing.

             B.          Modification of Initial Designated Contracts List and Supplemental Notice of
                         Assumption and Assignment.

             22.         Prior to the selection of a Successful Bidder, the Debtors may not modify the

Initial Designated Contracts List without the consent of the Stalking Horse Bidder. Subsequent to

the selection of a Successful Bidder, the Debtors may not modify the Initial Designated

Contracts List without the consent of the Successful Bidder (who may be the Stalking Horse

Bidder).

             23.         Until the opening of business on the date of the Auction, if another Qualified Bid

is received by the Bid Deadline, or the conclusion of the Sale Hearing, if another Qualified Bid is

not received by the Bid Deadline, at the request of the Stalking Horse Bidder, the Debtors will

modify the Initial Designated Contracts List to add or delete contracts and/or to change stated

Cure Costs. Following the conclusion of the Auction, if an Auction occurs, and prior to the

conclusion of the Sale Hearing, at the request of the Successful Bidder (who may be the Stalking

Horse Bidder), the Debtors will modify the Initial Designated Contracts List to add or delete

contracts and/or to change stated Cure Costs, provided, however, that such deletion of any

contracts shall not result in any reduction in the Purchase Price (as defined in the Stalking Horse

Sale Agreement”), and any contracts added after the Auction will not be considered in

connection with the right of termination in Article 9.1(c) of the Stalking Horse Sale Agreement.

For the avoidance of doubt, the Initial Designated Contracts List may be modified more than




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once. The contracts listed on the Initial Designated Contracts List, as modified from time to time,

are hereafter referred to as the “Designated Contracts”).

             24.         In the event that the Initial Designated Contracts List is modified, the Debtors will

promptly serve a supplemental notice of assumption and assignment (a “Supplemental Notice of

Assumption and Assignment”) on the affected counterparty in the same manner as the Initial

Notice of Assumption and Assignment was served. Each Supplemental Notice of Assumption

and Assignment will include the same information with respect to listed contracts as was

included in the Notice of Assumption and Assignment.

             25.         Any counterparty to an executory contract listed on a Supplemental Notice of

Assumption and Assignment (each a “Supplemental Designated Contract Counterparty”)

may file an objection with respect to the applicable Designated Contract (a “Supplemental

Contract Objection”) to (a) Cure Costs (but only to the extent reduced as to contracts included

on the Initial Notice of Assumption and Assignment or any prior Supplemental Notice of

Assumption and Assignment), and (b) if such Designated Contract was not included on the

Initial Notice of Assumption and Assignment or any prior Supplemental Notice of Assumption

and Assignment, (i) the proposed assumption and assignment of the applicable Designated

Contract and (ii) the ability of a Successful Bidder, including the Stalking Horse Bidder, to

provide adequate assurance of future performance. All Supplemental Contract Objections must:

(a) be in writing; (b) state with specificity the basis for the objection as well as any Cure Costs

that the objector asserts to be due (in all cases with appropriate documentation in support

thereof); (c) comply with the Bankruptcy Rules and the Local Rules; and (d) be filed and served

on the Contract Notice Parties no later than seven (7) days from the date of service of such

Supplemental Notice of Assumption and Assignment, which date will be set forth in the



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Supplemental Notice of Assumption and Assignment (the “Supplemental Contract Objection

Deadline”).

             26.         If a Supplemental Designated Contract Counterparty files a Supplemental

Contract Objection in a manner that is consistent with the requirements set forth above and the

parties are unable to consensually resolve the dispute, (a) if the Supplemental Contract Objection

Deadline is on or before the date of the Sale Hearing, such Supplemental Contract Objection will

be determined at the Sale Hearing, and (b) if the Supplemental Contract Objection Deadline is

after the date of the Sale Hearing the Debtors will seek an expedited hearing before the Court to

determine the Supplemental Contract Objection. If there is no such Supplemental Contract

Objection (or such objection has been resolved), then the Debtors may submit an order to this

Court, including by filing a certification of counsel, fixing the applicable Cure Costs and

approving the assumption of the contract listed on a Supplemental Notice of Assumption and

Assignment.

             C.          Additional Notice of Assumption and Assignment Procedures.

             27.         If the counterparty to any Designated Contract does not file and serve a Contract

Objection or Supplemental Contract Objection, as applicable, in a manner that is consistent with

the requirements set forth above, (a) the Cure Costs, if any, set forth in the Notice of Assumption

and Assignment (or Supplemental Notice of Assumption and Assignment) shall be controlling

with respect to the applicable Designated Contract, notwithstanding anything to the contrary in

any Designated Contract or any other document, and (b) the Designated Contract Counterparty

will be deemed to have consented to the assumption and assignment of the Designated Contract

and the Cure Costs, if any, and will be forever barred from asserting any claim related to such

Designated Contract for any default occurring or continuing prior to the date of the assumption



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and assignment of such Designated Contract against the Debtors or the Successful Bidder, or the

property of any of them.

             28.         The inclusion of a Designated Contract on the Notice of Assumption and

Assignment (or Supplemental Notice of Assumption and Assignment) will not: (a) obligate the

Debtors to assume any Designated Contract listed thereon or the Successful Bidder to take

assignment of such Designated Contract; or (b) constitute any admission or agreement of the

Debtors that such Designated Contract is an executory contract.                 Only those Designated

Contracts that are included on a schedule of assumed and acquired contracts attached to the final

asset purchase agreement with the Successful Bidder (including amendments or modifications to

such schedules in accordance with such asset purchase agreement) will be assumed and assigned

to the Successful Bidder.

VI.          Sale Hearing.

             29.         A Sale Hearing to (a) approve the sale of the Debtors’ Residents Program Assets

to the Successful Bidder and (b) authorize the assumption and assignment of certain executory

contracts and unexpired leases shall be held at 11:00 a.m. (prevailing Eastern Time) on

August 9, 2019, and may be adjourned or rescheduled without further notice other than by

announcement in open court on the date scheduled for the Sale Hearing or by the filing of a

notice on the Court’s docket. At the Sale Hearing, the Debtors will seek Bankruptcy Court

approval of the Sale to the Successful Bidder, including any Backup Bidder. The Sale Hearing

shall be an evidentiary hearing on matters relating to the Sale. In the event that the Successful

Bidder cannot or refuses to consummate the Sale after the Sale has been approved by the Court,

the Debtors may, in consultation with the Committee, in accordance with the Bidding

Procedures, designate the Backup Bid to be the new Successful Bid and the Backup Bidder to be

the new Successful Bidder, and the Debtors, in consultation with the Committee, shall be

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authorized, but not required, to consummate the transaction with the Backup Bidder without

further order of the Bankruptcy Court.

             30.         Any and all objections, if any, to (a) the Sale to the Stalking Horse Bidder on the

terms of the Stalking Horse Bid as set forth in the Stalking Horse Sale Agreement and (b) entry

of the Sale Order approving such Sale (a “Sale Objection”) must be filed and served on (i) Saul

Ewing Arnstein & Lehr LLP, 1201 N. Market Street, Suite 2300, Wilmington, Delaware 19801,

Attn: Mark Minuti (mark.minuti@saul.com), proposed counsel to the Debtors, (ii) Sills Cummis

& Gross P.C., One Riverfront Plaza, Newark, New Jersey, 07102, Attn: Andrew Sherman

(Asherman@sillscummis.com) and Boris Mankovetskiy (BMankoverskiy@sillscummis.com),

proposed counsel to the Committee, and (iii) Stevens & Lee, P.C., 620 Freedom Business Center,

Suite 200, King of Prussia, Pa. 19406 Attn: Robert Lapowsky (rl@stevenslee.com), counsel to

the Stalking Horse Bidder by 4:00 p.m. (prevailing Eastern Time) on August 5, 2019 (the “Sale

Objection Deadline”). Any and all objections to the conduct of the Auction and the terms of a

Sale to a Successful Bidder (other than a Sale to the Stalking Horse Bidder on the terms of the

Stalking Horse Bid as set forth in the Stalking Horse Sale Agreement) (an “Auction Objection”)

must be raised at or prior to the Sale Hearing (the “Auction Objection Deadline”). Any party

failing to timely file a Sale Objection or raise an Auction Objection, as applicable, will be

forever barred from objecting and will be deemed to have consented to the Sale, including the

transfer of the Debtors’ right, title and interest in, to, and under the assets free and clear of any

and all Interests. For the avoidance of doubt, if the Stalking Horse Bidder is selected as the

Successful Bidder, but its successful Bid is not the Stalking Horse Bid or an increased bid based

on an agreement substantially similar to the Stalking Horse Sale Agreement, objections to a Sale




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to the Stalking Horse Bidder, limited to the changed terms (excluding any increase in price) may

be raised by the Auction Objection Deadline.

VII.         Miscellaneous.

             31.         Notwithstanding anything to the contrary in any asset purchase agreement or

document relating to the Sale, the purchased assets (including the Residents Program Assets)

shall not include (i) any cause of action or proceeds of such cause of action under chapter 5 of

the Bankruptcy Code or applicable state law equivalents; (ii) any commercial or other tort claims

arising on or before the closing date of the Sale, or any proceeds of such claims, including,

without limitation, any and all causes of action (a) against present and former directors and

officers of the Debtors and/or any of their affiliates, (b) against direct and indirect equity holders

of the Debtors and/or their affiliates, and (c) of the Debtors and/or any of their affiliates against

any other Debtors; and (iii) any claims or causes of action against the Debtors’ contract

counterparties (other than claims or causes of action arising under any contract that is assumed

by the Debtors), or any proceeds of such claims or causes of action. The provisions of this

paragraphs shall not apply to the Stalking Horse Sale Agreement, as the same may be modified

other than any modifications to the defined term “Purchased Assets.”

             32.         This order and the Bidding Procedures shall be interpreted so as to afford the

Debtors, in consultation with the Committee, the greatest opportunity to maximize the value of

the Residents Program Assets for the benefit of the Debtors’ estates provided, however, the

provisions of this paragraph shall not apply to any matters affecting the Stalking Horse Bidder

without the consent of the Stalking Horse Bidder.

             33.         The Debtors, in consultation with the Committee as applicable, are authorized to

take all actions necessary to effectuate the relief granted pursuant to this Bidding Procedures

Order in accordance with the Motion.

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             34.         Notwithstanding anything in the Motion, the Bidding Procedures, and/or the July

9, 2019 Stalking Horse LOI to the contrary, nothing in this Bidding Procedures Order shall be

construed as authorizing the sale, transfer or assignment of any Medicare provider agreement to

the Successful Bidder free and clear of successor liability for any liability to the United States

arising from such provider agreements, nor as restricting the United States’ right of setoff and

recoupment. Any assumption and assignment of the Medicare provider agreements shall be

authorized only in accordance with 11 U.S.C. § 365, all applicable Medicare statutes and

regulations, and the Anti-Assignment Act.

             35.         To the extent the Successful Bid or the Backup Bid includes the assignment of a

Medicare provider agreement, such bid must include a provision that requires the agreement be

assumed and assigned pursuant to and in accordance with section 365 of the Bankruptcy Code,

all applicable Medicare statutes and regulations, and the Anti-Assignment Act. No Successful

Bid or Backup Bid may include a requirement that any Medicare provider agreement be sold,

assigned, or transferred “free and clear” of successor liability for any liability to the United

States arising from such provider agreement pursuant to section 363(f) of the Bankruptcy Code.

             36.         This Bidding Procedures Order shall constitute the findings of fact and

conclusions of law and shall take immediate effect upon execution hereof.

             37.         This Bidding Procedures Order shall be binding on the Debtors, including any

chapter 7 or chapter 11 trustee or other fiduciary appointed for the estates of the Debtors.

Certain provisions of this Bidding Procedures Order that relate to the Break-Up Fee shall inure to

the benefit of the Stalking Horse Bidder and its affiliates, successors, and assigns.

             38.         Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 6006(d),

7062, 9014, or otherwise, this Court, for good cause shown, orders that the terms and conditions



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of this Bidding Procedures Order shall be immediately effective and enforceable upon its entry.

This Court shall retain jurisdiction with respect to all matters arising from or related to the

implementation or interpretation of this Bidding Procedures Order, including, but not limited to,

any matter, claim, or dispute arising from or relating to the Bidding Procedures, any Stalking

Horse Sale Agreement, and the implementation of this Bidding Procedures Order.




           Dated: July 19th, 2019              KEVIN GROSS
           Wilmington, Delaware                UNITED STATES BANKRUPTCY JUDGE
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                                         SCHEDULE 1


                                   BIDDING PROCEDURES




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                      )
    In re:                            ) Chapter 11
                                      )
    CENTER CITY HEALTHCARE, LLC d/b/a ) Case No. 19-11466 (KG)
    HAHNEMANN UNIVERSITY HOSPITAL, et )
    al.,1                             ) Jointly Administered
                                      )
                        Debtors.      )
                                      )

                                            BIDDING PROCEDURES

        On July 19, 2019, the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”) entered the Order (I) Establishing Bidding Procedures and Granting
Related Relief and (II) Approving the Sale of the Debtors’ Resident Program Assets Free and
Clear of Liens, Claims, Encumbrances, and Interests [Docket No. [Ɣ]] (the “Bidding
Procedures Order”),2 by which the Bankruptcy Court approved the following procedures (the
“Bidding Procedures”). These Bidding Procedures set forth the process by which the Debtors,
in consultation with the Official Committee of Unsecured Creditors (the “Committee”) as set
forth herein, are authorized to conduct an auction (the “Auction”) for the sale (the “Sale”) of the
resident program assets related to the operation of Hahnemann University Hospital, including:
(a) National Provider Identifiers (general and psych) and Medicare provider number and
agreement, (b) the Pennsylvania Department of Health license to operate an acute care hospital,
and (c) the Hahnemann training programs for Residents (collectively, the “Residents Program
Assets”), in accordance with and as described in that certain agreement (the “Stalking Horse
Sale Agreement”), dated as of July 19, 2019, by and among Center City Healthcare, LLC d/b/a
Hahnemann University Hospital and Tower Health (the “Stalking Horse Bidder”), or in
accordance with the terms of such higher and better offer as determined by the Debtors, in
consultation with the Committee, to be the Successful Bidder (defined below).




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             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
             PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
             Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
             Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
             (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
             230 North Broad Street, Philadelphia, Pennsylvania 19102.
2
             All capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the
             Bidding Procedures Order.



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A.           Submissions to the Debtors and the Committee.

        All submissions to the Debtors and the Committee required to be made under these
Bidding Procedures must be directed to each the following persons unless otherwise provided
(collectively, the “Notice Parties”):

             a.         Debtors. Center City Healthcare, LLC, 230 North Broad Street, Philadelphia,
                        Pennsylvania, Attn: Allen Wilen, Chief Restructuring Officer.

             b.         Debtors’ Counsel. Saul Ewing Arnstein & Lehr LLP, 1201 N. Market Street,
                        Suite 2300, Wilmington, Delaware 19801, Attn: Mark Minuti
                        (mark.minuti@saul.com).

             c.         Debtors’ Investment Banker. SSG Advisors, LLC, Five Tower Bridge, 300
                        Barr Harbor Drive, West Conshohocken, PA 19428 Suite 420, Attn: J. Scott
                        Victor (jsvictor@ssgca.com); Teresa Kohl (tkohl@ssgca.com); and Craig
                        Warznak (cwarznak@ssgca.com).

             d.         Committee’s Counsel. Sills Cummis & Gross P.C., One Riverfront Plaza,
                        Newark, NJ 07102, Attn: Andrew Sherman (asherman@sillscummis.com) and
                        Boris Mankovetskiy (bmankovetskiy@sillscummis.com).

B.           Potential Bidders.

       The Debtors and their financial advisors have identified, and may in the future, in
consultation with the Committee, identify, parties they believe potentially may be interested in
consummating (and potentially may have the financial resources necessary to consummate) a
competing transaction. To participate in the bidding process or otherwise be considered for any
purpose under these Bidding Procedures, a person or entity interested in consummating a Sale
(each, a “Potential Bidder”), other than the Stalking Horse Bidder, must deliver or have
previously delivered, if determined to be necessary by the Debtors:

             a.         an executed confidentiality agreement on terms acceptable to the Debtors, in
                        consultation with the Committee (a “Confidentiality Agreement”), to the extent
                        not already executed; and

             b.         the most current audited and latest unaudited financial statements (collectively,
                        the “Financials”) of the Potential Bidder (or, if the Potential Bidder is an entity
                        formed for the purpose of acquiring the Residents Program Assets, (i) Financials
                        of the equity holder(s) of the Potential Bidder or such other form of financial
                        disclosure as is acceptable to the Debtors and their advisors, in consultation with
                        the Committee, (ii) a written commitment acceptable to the Debtors and their
                        advisors, in consultation with the Committee, of the equity holder(s) of the
                        Potential Bidder to be responsible for the Potential Bidder’s obligations in
                        connection with the applicable Sale, and (iii) copies of any documents evidencing
                        any financing commitments necessary to consummate the transaction.



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C.           Qualified Bidders.

             a.         A “Qualified Bidder” is a Potential Bidder: (i) whose Financials, or the
                        Financials of its equity holder(s), as applicable, demonstrate the financial
                        capability to consummate the Sale, as determined by the Debtors, in consultation
                        with the Committee; and (ii) whose Bid (as defined below) is a Qualified Bid (as
                        defined below). On or before the date that is one (1) business day after the Bid
                        Deadline (defined below), the Debtors’ advisors will notify each Potential Bidder
                        in writing whether such Potential Bidder is a Qualified Bidder. The Stalking
                        Horse Bidder shall be deemed a Qualified Bidder at all times. MidCap Funding
                        IV Trust (“Midcap”), solely to the extent it seeks to credit bid, shall be deemed a
                        Qualified Bidder at all times; provided that MidCap Funding IV Trust’s right to
                        credit bid shall be subject to the provisions set forth in the Bidding Procedures
                        Order and these Bidding Procedures.

             b.         If any Potential Bidder is determined by the Debtors, in consultation with the
                        Committee, not to be a Qualified Bidder, the Debtors will refund such Qualified
                        Bidder’s Deposit (as defined below) and all accumulated interest thereon on or
                        within three (3) business days after the Bid Deadline.

             c.         Between the date that the Debtors notify a Potential Bidder that it is a Qualified
                        Bidder and the Auction, the Debtors may discuss, negotiate, or seek clarification
                        of any Qualified Bid from a Qualified Bidder. Without the written consent of the
                        Debtors, in consultation with the Committee, a Qualified Bidder may not modify,
                        amend, or withdraw its Qualified Bid, except for proposed amendments to
                        increase the consideration contemplated by, or otherwise improve the terms of,
                        the Qualified Bid, during the period that such Qualified Bid remains binding as
                        specified in these Bidding Procedures; provided, however, that any Qualified Bid
                        may be improved at the Auction as set forth herein. Any improved Qualified Bid
                        must continue to comply with the requirements for Qualified Bids set forth in
                        these Bidding Procedures.

             d.         Any disputes related to these Bidding Procedures, including whether a Bid
                        constitutes a Qualified Bid, shall be resolved by the Bankruptcy Court.

D.           Due Diligence.

             a.         Diligence Provided to Potential Bidders.

        Only (a) the Stalking Horse Bidder, and (b) Potential Bidders that have entered into a
Confidentiality Agreement shall be eligible to receive due diligence information related to the
Residents Program Assets. No Potential Bidder will be permitted to conduct any due
diligence without entering into a Confidentiality Agreement. The Debtors will provide to
each Potential Bidder that has entered into a Confidentiality Agreement reasonable due diligence
information, as requested by such Potential Bidder in writing, as soon as reasonably practicable
after such request. For all Potential Bidders other than the Stalking Horse Bidder, the due



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diligence period will end on the Bid Deadline and subsequent to the Bid Deadline, the Debtors
shall have no obligation to furnish any due diligence information.

        The Debtors shall not furnish any confidential information relating to the Residents
Program Assets, the Debtors’ liabilities, or the Sale (“Confidential Sale Information”) to any
person, except to a Potential Bidder that has entered into a Confidentiality Agreement or to such
Potential Bidder’s duly-authorized representatives, in each case, to the extent provided in the
applicable Confidentiality Agreement; provided, however, that nothing herein shall limit the
Debtors’ ability to furnish Confidential Sale Information to the professional advisors of any
official committee appointed in the Debtors’ chapter 11 cases on a professionals’ eyes only basis.
The Debtors and their advisors shall coordinate all reasonable requests from Potential Bidders
for additional information and due diligence access; provided that the Debtors, in consultation
with the Committee, may decline to provide such information to Potential Bidders who, at such
time and in the Debtors’ reasonable business judgment have not established, or who have raised
doubt, that such Potential Bidder intends in good faith to, or has the capacity to, consummate the
Sale.

        The Debtors also reserve the right to withhold from Potential Bidders any diligence
materials that the Debtors, in consultation with the Committee, determine are sensitive or
otherwise not appropriate for disclosure to a Potential Bidder who the Debtors, in consultation
with the Committee, determine is a competitor of the Debtors or is affiliated with any competitor
of the Debtors. Neither the Debtors nor their representatives shall be obligated to furnish
information of any kind whatsoever to any person that is not approved by the Debtors, in
consultation with the Committee, as a Potential Bidder; provided, however, that, subject to the
limitations set forth in the immediately preceding paragraph, the Debtors may furnish
information to MidCap and the Committee.

       All due diligence requests must be directed by email to SSG Advisors, LLC Attn: J.
Scott Victor (jsvictor@ssgca.com); Teresa Kohl (tkohl@ssgca.com); and Craig Warznak
(cwarznak@ssgca.com); or by phone to (610) 940-3615.

             b.         Diligence Provided by Potential Bidders.

        Each Potential Bidder shall comply with all reasonable requests for additional
information and due diligence access requested by the Debtors or their advisors regarding the
ability of the Potential Bidder to consummate the Sale. Failure by a Potential Bidder to comply
with such reasonable requests for additional information and due diligence access may be a basis
for the Debtors, in consultation with the Committee, to determine that such Potential Bidder is
not a Qualified Bidder or that a bid made by such Potential Bidder is not a Qualified Bid.

        The Debtors and each of their respective advisors and representatives shall be obligated
to maintain in confidence any confidential information in accordance with any applicable
confidentiality agreement, except as otherwise set forth in these Bidding Procedures. Each
recipient of confidential information agrees to use, and to instruct their advisors and
representatives to use, such confidential information only in connection with the evaluation of
Bids (as defined below) during the bidding process or otherwise in connection with the chapter
11 cases or in accordance with the terms of any applicable confidentiality agreement.


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       Notwithstanding the foregoing and the provisions contained in any applicable
Confidentiality Agreement, the Debtors and the Debtors’ advisors may disclose confidential
information: (a) with the prior written consent of such bidder and the Debtors; (b) to the
applicable bidder; (c) to the professional advisors of any official committee appointed in the
Debtors’ chapter 11 cases, and (d) as otherwise required or allowed by any applicable
confidentiality agreement with respect to a particular bidder or other agreement, law, court or
other governmental order, or regulation, including, as appropriate, to regulatory agencies.

E.           Bid Requirements.

        A proposal, solicitation, or offer (each, a “Bid”) by a Qualified Bidder that is submitted
in writing and satisfies each of the following requirements (collectively, the “Bid
Requirements”), as determined by the Debtors, in consultation with the Committee, in their
reasonable business judgment, shall constitute a “Qualified Bid.” For the avoidance of doubt,
notwithstanding the following, the Stalking Horse Sale Agreement will be deemed a Qualified
Bid for all purposes.

             a.         Assets. Each Bid must provide for the purchase of all or substantially all of the
                        Residents Program Assets, and must clearly state which assets the Qualified
                        Bidder is agreeing to purchase.

             b.         Purchase Price. Each Bid must clearly set forth the purchase price to be paid
                        (the “Purchase Price”). The Purchase Price must be in cash consideration and
                        must equal or exceed $7,825,000 (i.e., the sum of (i) the Base Purchase Price set
                        forth in the Stalking Horse Sale Agreement and (ii) the Break-Up Fee) and (iii) a
                        $100,000 incremental amount (a “Minimum Bid”).

             c.         Deposit. With its Bid, each Potential Bidder must submit by wire transfer of
                        immediately available funds, a cash deposit in the amount equal to ten (10)
                        percent of the aggregate cash Purchase Price set forth in the Bid, to be held in an
                        interest-bearing escrow account to be identified and established by the Debtors
                        (the “Deposit”). Within three (3) business days after the conclusion of any
                        Auction, the Successful Bidder and Backup Bidder shall submit by wire transfer
                        of immediately available funds, a supplemental cash deposit in an amount that,
                        when added to the amount of the Deposit, is equal to ten (10) percent of the
                        aggregate cash Purchase Price set forth in their respective Successful Bid and
                        Backup Bid. The foregoing notwithstanding, the Stalking Horse Bidder shall not
                        be required to submit any Deposit.

             d.         Residents. Each Bid must specify the Potential Bidder’s proposed treatment with
                        respect to Residents, including whether and to what extent Residents will be
                        offered placement with the Potential Bidder and on what terms. Each Bid must
                        further provide a description of the Potential Bidder’s accreditation status with the
                        Accreditation Council on Graduate Medical Education, including a description of
                        accredited residency and fellowship programs currently offered by the Potential
                        Bidder and/or expected to be offered in the future.



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             e.         Same or Better Terms. Each Bid must be on terms that are not more
                        burdensome to the Debtors than the terms of the Stalking Horse Sale Agreement,
                        as determined by the Debtors, in consultation with the Committee. Each Bid must
                        include duly executed, non-contingent transaction documents necessary to
                        effectuate the Sale and shall include a schedule of executory contracts proposed to
                        be assumed by the Debtors and assigned to the Qualified Bidder (“Assumed
                        Contracts”), and a copy of the Stalking Horse Sale Agreement clearly marked to
                        show all changes requested by the Qualified Bidder, including those related to the
                        respective Purchase Price and assets to be acquired by such Qualified Bidder, as
                        well as all other material documents integral to such bid and a written
                        commitment demonstrating to the satisfaction of the Debtors, in consultation with
                        the Committee, that the Qualified Bidder will be able to close the transaction
                        proposed in its Bid on the terms and conditions set forth therein (the “Qualified
                        Bid Documents”).

             f.         Contingencies; No Financing or Diligence Outs. A Bid shall not be
                        conditioned on (i) the Potential Bidder obtaining financing, (ii) approval of the
                        Potential Bidder’s shareholders, board of directors or other internal approval, or
                        (iii) the outcome or completion of due diligence by the Potential Bidder.
                        Notwithstanding the foregoing, a Bid may be subject to (i) the accuracy at the
                        closing of the Sale of specified representations and warranties, (ii) or the
                        satisfaction at the closing of the Sale of specified conditions, which shall not be
                        more burdensome to the Debtors, as determined in the Debtors’ business
                        judgment, in consultation with the Committee, than those set forth in the Stalking
                        Horse Sale Agreement.

             g.         Identity. Each Bid must fully disclose the identity of each entity that will be
                        bidding or otherwise participating in connection with such Bid (including each
                        equity holder or other financial backer of the Potential Bidder if such Potential
                        Bidder is an entity formed for the purpose of consummating the Sale), and the
                        complete terms of any such participation. Under no circumstances shall any
                        undisclosed principals, equity holders, or financial backers be associated with any
                        Bid. Each Bid must also include contact information for the specific persons and
                        counsel whom the Debtors and their advisors should contact regarding such Bid.

             h.         Demonstrated Financial Capacity. A Qualified Bidder must have, in the
                        Debtors’ business judgment, as determined in consultation with the Committee,
                        the necessary financial capacity to consummate the proposed transactions
                        required by its Bid and provide adequate assurance of future performance under
                        all contracts proposed to be assumed by such Bid. Each Bid must be
                        accompanied by reasonable evidence of the Qualified Bidder’s ability to operate
                        the business related to the Residents Program Assets and include a packet of
                        information, including financial information, that will be provided to the non-
                        Debtor counterparties to Assumed Contracts sufficient to demonstrate adequate
                        assurance of future performance.




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             i.         Committed Financing. To the extent that a Bid is not accompanied by evidence
                        of the Potential Bidder’s capacity to consummate the sale set forth in its Bid with
                        cash on hand, each Bid must include executed unconditional committed financing
                        from a qualified source documented to the satisfaction of the Debtors, in
                        consultation with the Committee, which demonstrates that the Potential Bidder
                        has received sufficient debt and/or equity funding commitments to satisfy the
                        Potential Bidder’s Purchase Price and other obligations under its Bid. Such
                        funding commitments or other financing must be unconditional and must not be
                        subject to any internal approvals, syndication requirements, diligence, or credit
                        committee approvals, and shall have covenants and conditions acceptable to the
                        Debtors, in consultation with the Committee,.

             j.         Binding and Irrevocable. A Qualified Bid must include a signed writing stating
                        that the Qualified Bid is irrevocable until the later of (i) two (2) business days
                        after the closing of a Sale to another Qualified Bidder, and (ii) thirty (30) days
                        after the conclusion of the Sale Hearing (as defined below).

             k.         Expenses; Disclaimer of Fees. Each Bid (other than the Stalking Horse Sale
                        Agreement) must disclaim any right to receive a break-up fee, expense
                        reimbursement, termination fee, or any other similar form of compensation. For
                        the avoidance of doubt, no Potential Bidder (other than the Stalking Horse
                        Bidder) will be permitted to request, nor be granted by the Debtors, at any time,
                        whether as part of the Auction or otherwise, a break-up fee, expense
                        reimbursement, termination fee, or any other similar form of compensation, and
                        by submitting its Bid is agreeing to refrain from and waive any assertion or
                        request for reimbursement on any basis, including under section 503(b) of the
                        Bankruptcy Code.

             l.         Authorization. Each Bid must contain evidence that the Potential Bidder has
                        obtained authorization or approval from its board of directors (or a comparable
                        governing body acceptable to the Debtors, in consultation with the Committee)
                        with respect to the submission of its Bid and the consummation of the transactions
                        contemplated in such Bid.

             m.         As-Is, Where-Is. Each Bid must include a written acknowledgement and
                        representation that the Potential Bidder: (i) has had an opportunity to conduct any
                        and all due diligence regarding the Residents Program Assets prior to submitting
                        the Bid; (ii) has relied solely upon its own independent review, investigation,
                        and/or inspection of any documents and/or the Residents Program Assets in
                        making its Bid; and (iii) did not rely upon any written or oral statements,
                        representations, promises, warranties, or guaranties whatsoever, whether express,
                        implied by operation of law, or otherwise, regarding the Residents Program
                        Assets or the completeness of any information provided in connection therewith
                        or the Auction, except as expressly stated in the Bid.




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             n.         Adherence to Bid Procedures. By submitting its Bid, each Potential Bidder is
                        agreeing to abide by and honor the terms of these Bidding Procedures and agrees
                        not to submit a Bid or seek to reopen the Auction after conclusion of the Auction.

             o.         Regulatory Approvals and Covenants. A Bid must set forth each regulatory
                        and third-party approval to consummate the Sale and the time period within which
                        the Potential Bidder expects to receive such regulatory and third-party approvals
                        (and in the case that receipt of any such regulatory or third-party approval is
                        expected to take more than thirty (30) days following execution and delivery of
                        the asset purchase agreement, those actions the Qualified Bidder will take to
                        ensure receipt of such approvals as promptly as possible).

             p.         Consent to Jurisdiction. Each Potential Bidder must submit to the jurisdiction
                        of the Bankruptcy Court and waive any right to a jury trial in connection with any
                        disputes relating to Debtors’ qualification of Bids, the Auction, the construction
                        and enforcement of these Bidding Procedures, the Sale documents, and the
                        closing of the Sale, as applicable.

             q.         Bid Deadline. Each Bid must be transmitted via email (in .pdf or similar format)
                        so as to be actually received on or before 4:00 p.m. (prevailing Eastern Time) on
                        August 5, 2019 (the “Bid Deadline”).

       The Debtors reserve the right, in consultation with the Committee, to work with any
Potential Bidder in advance of the Auction to cure any deficiencies in a Bid that is not initially
deemed to be a Qualified Bid.

F.           Right to Credit Bid.

        At the Auction, subject to section 363(k) of the Bankruptcy Code, any Qualified Bidder
who has a valid and perfected lien on all of the Resident Program Assets (a “Secured Creditor”)
shall have the right, subject in all respects to the Bankruptcy Code and other applicable law (and
the rights of the Committee and other parties in interest to object or challenge such creditor’s lien
thereunder (a “Challenge”)) to credit bid all or a portion of the value of such Secured Creditor’s
claims within the meaning of section 363(k) of the Bankruptcy Code, unless otherwise ordered
by the Bankruptcy Court for cause. In the event that the Committee or another party in interest
Challenges a creditor’s lien, the approval of a Successful Bid by such creditor that includes a
credit bid shall be contingent upon a final determination that such creditor’s lien is valid and
perfected. If such creditor’s lien is successfully Challenged, or otherwise determined not to be
valid and perfected, such creditor shall pay the credit bid portion of its Bid in cash as the closing
of the Sale.

       In the event of a competing Qualified Bid, the Stalking Horse Bidder will be entitled, but
not obligated, to submit overbids and will be entitled in any such overbids to include all or any
portion of the Break-Up fee in lieu of cash.

      Credit bids, if any, by Secured Creditors will not impair or otherwise affect the Stalking
Horse Bidder’s entitlement to the Break-Up Fee granted under the Bidding Procedures Order.


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Any credit bid shall include a cash component sufficient to satisfy in full all costs of sale,
including the Break-Up Fee.

G.           Auction.

       If, prior to the Bid Deadline, the Debtors receive a Qualified Bid, other than the Stalking
Horse Sale Agreement, the Debtors will conduct an Auction to determine the Successful Bidder.
By 6:00 p.m. on the date of the Bid Deadline, the Debtors shall notify the Stalking Horse Bidder
if one or more Qualified Bids were received prior to the Bid Deadline. If the Debtors do not
receive a Qualified Bid (other than the Stalking Horse Sale Agreement) prior to the Bid
Deadline, the Debtors will not conduct an Auction and shall designate the Stalking Horse
Bidder’s Bid as the Successful Bid.

        On the date that is one (1) day after the Bid Deadline, the Debtors will notify each
Qualified Bidder of the highest or otherwise best Qualified Bid, as determined in the Debtors’
business judgment, in consultation with the Committee (the “Baseline Bid”), and provide copies
of all Qualified Bid Documents supporting the Baseline Bid and each other Qualified Bid to each
Qualified Bidder. The determination of which Qualified Bid constitutes the Baseline Bid and
which Qualified Bid constitutes the Successful Bid shall take into account any factors the
Debtors, in consultation with the Committee, reasonably deem relevant to the value of the
Qualified Bid to the Debtors’ estates, and may include, among other things: (a) the number, type,
and nature of any changes to the Stalking Horse Sale Agreement, if any, requested by the
Qualified Bidder, including the type and amount of Residents Program Assets sought to be
acquired and obligations sought to be assumed in the Qualified Bid; (b) the amount and nature of
the total consideration; (c) the likelihood of the Qualified Bidder’s ability to close the applicable
Sale and the timing thereof; (d) the net economic effect of any changes to the value to be
received by the Debtors’ estates from the transaction contemplated by the Qualified Bid
Documents; and (e) the impact on Residents (collectively, the “Bid Assessment Criteria”).
Only the Stalking Horse Bidder and other Qualified Bidders will be entitled to make any
subsequent bids at the Auction. At least one (1) day prior to the Auction, each Qualified Bidder
who has timely submitted a Qualified Bid must inform the Debtors and the Committee whether it
intends to attend the Auction and all Qualified Bidders wishing to attend the Auction must have
at least one individual representative with authority to bind such Qualified Bidder in attendance
at the Auction in person.

        The Auction, if necessary, will be conducted at the offices of Saul Ewing Arnstein &
Lehr LLP, Centre Square West, 1500 Market Street, 38th Floor, Philadelphia, Pennsylvania
19102 on August 7, 2019 at 10:00 a.m. (prevailing Eastern Time), or at such other time and
location as designated by the Debtors. The Auction, if necessary, shall be conducted in a timely
fashion according to the following procedures:

             a.         The Debtors Shall Conduct the Auction.

        The Debtors and their professionals shall direct and preside over the Auction, in
consultation with the Committee as applicable. At the start of the Auction, the Debtors shall
describe the terms of the Baseline Bid. All incremental Bids made thereafter shall be Overbids
(as defined below) and shall be made and received on an open basis, and all material terms of


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each Overbid shall be fully disclosed to all other Qualified Bidders who submitted Bids. The
Debtors shall maintain a written transcript of all Bids made and announced at the Auction,
including the Baseline Bid, all applicable Overbids, and the Successful Bid.

       The Auction will be conducted openly and the Committee and all creditors will be
permitted to attend. The Qualified Bidders, including the Stalking Horse Bidder, may appear at
the Auction in person or through duly authorized representatives.

             b.         Terms of Overbids.

       “Overbid” means any bid made at the Auction by a Qualified Bidder subsequent to the
Debtors’ announcement of the Baseline Bid. Each Overbid must comply with the following
conditions:

                        (a)   Minimum Overbid Increment. The initial Overbid, if any, shall provide
                              for total consideration to the Debtors with a value that exceeds the value
                              of the consideration under the Baseline Bid by an incremental amount that
                              is not less than the sum of $100,000 (a “Minimum Overbid Increment”).

                              Additional consideration in excess of the amount set forth in the respective
                              Baseline Bid must include: (1) cash or (2) in the case of a Bid by a
                              Secured Creditor, a credit bid of up to the full amount of such secured
                              creditors’ allowed secured claim, subject to section 363(k) of the
                              Bankruptcy Code and any other restrictions set forth in the Bidding
                              Procedures Order or these Bidding Procedures (including the requirement
                              of a cash component sufficient to pay all costs of sale including the Break-
                              Up Fee).

                        (b)   Conclusion of Each Overbid Round. Upon the solicitation of each
                              round of applicable Overbids, the Debtors may, in consultation with the
                              Committee, announce a deadline (as the Debtors may, in their business
                              judgment, extend from time to time, the “Overbid Round Deadline”) by
                              which time any Overbids must be submitted to the Debtors and the
                              Committee.

                        (c)   Overbid Alterations. An applicable Overbid may contain alterations,
                              modifications, additions, or deletions of any terms of the Bid no less
                              favorable to the Debtors’ estates than any prior Bid or Overbid, as
                              determined in the Debtors’ reasonable business judgment, in consultation
                              with the Committee, but shall otherwise comply with the terms of these
                              Bidding Procedures. Any Overbid must comply with the conditions for a
                              Qualified Bid.

                        (d)   Announcing Highest Bid. Subsequent to each Overbid Round Deadline,
                              the Debtors shall announce whether the Debtors, in consultation with the
                              Committee, have (i)in the initial Overbid round, identified an Overbid as
                              being higher or otherwise better than the Baseline Bid for the Residents
                              Program Assets, or (ii) in subsequent rounds, identified an Overbid as

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                              being higher or otherwise better than the Overbid previously designated by
                              the Debtors as the prevailing highest or otherwise best Bid for the
                              Residents Program Assets (the “Prevailing Highest Bid”). The Debtors
                              shall describe to all Qualified Bidders the material terms of any new
                              Overbid designated by the Debtors, in consultation with the Committee, as
                              the Prevailing Highest Bid as well as the value attributable by the Debtors,
                              in consultation with the Committee, to such Prevailing Highest Bid.

             c.         Consideration of Overbids.

         The Debtors reserve the right, in their reasonable business judgment, and in consultation
with the Committee, to adjourn the Auction one or more times to, among other things:
(i) facilitate discussions among the Debtors, the Committee, and any Qualified Bidders;
(ii) allow Qualified Bidders to consider how they wish to proceed; (iii) provide Qualified Bidders
the opportunity to provide the Debtors and the Committee with such additional evidence as the
Debtors, in their reasonable business judgment, in consultation with the Committee, may require,
including that the Qualified Bidder has sufficient internal resources or has received sufficient
non-contingent debt and/or equity funding commitments to consummate the proposed transaction
at the prevailing Overbid amount; and (iv) provide the Debtors with an opportunity to consider,
in consultation with the Committee, how to value each Overbid.

             d.         Closing the Auction.

                        (a)   The Auction shall continue until there is only one Bid that the Debtors
                              determine, in their reasonable business judgment, and in consultation with
                              the Committee, to be the highest or otherwise best Bid in accordance with
                              the Bid Assessment Criteria. Such Bid shall be declared the “Successful
                              Bid,” and such Qualified Bidder the “Successful Bidder,” at which point
                              the Auction will be closed. The Debtors shall notify the Qualified Bidders
                              of the Successful Bid within one business day following such selection.
                              The Auction shall not close unless and until all Qualified Bidders have
                              been given a reasonable opportunity to submit an Overbid at the Auction
                              to the then Prevailing Highest Bid. Such acceptance by the Debtors of the
                              Successful Bid is conditioned upon approval by the Bankruptcy Court of
                              the Successful Bid.

                        (b)   The Debtors shall not consider any Bids or Overbids submitted after the
                              conclusion of the Auction, and any such Bids or Overbids shall be deemed
                              untimely.

                        (c)   As soon as reasonably practicable after closing the Auction, the Debtors
                              shall cause the Qualified Bid Documents for the Successful Bid and
                              Backup Bid to be filed with the Bankruptcy Court.




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             e.         No Collusion; Good-Faith Offer.

         Each Qualified Bidder participating at the Auction will be required to confirm on the
record at the Auction that: (i) it has not engaged in any collusion with respect to the bidding; and
(ii) its Bid is a good-faith offer and it intends to consummate the Sale if selected as the
Successful Bidder. All Potential Bidders and all Qualified Bidders will immediately disclose to
the Debtors, the Committee, and the United States Trustee any discussions regarding
employment of or offers to retain or employ any officer or insider of the Debtors.

H.           Backup Bidder.

             a.         Notwithstanding anything in these Bidding Procedures to the contrary, if an
                        Auction is conducted, the Qualified Bidder with the next-highest or otherwise
                        second-best Bid at the Auction, as determined by the Debtors in the exercise of
                        their reasonable business judgment, in consultation with the Committee (the
                        “Backup Bid”), shall be required to serve as a backup bidder (the “Backup
                        Bidder”), and each Qualified Bidder shall agree and be deemed to agree to be the
                        Backup Bidder if so designated by the Debtors. The Stalking Horse Bidder shall
                        serve as a Backup Bidder only if (X) the Bid set forth in the Stalking Horse
                        Agreement is not determined to be the Baseline Bid (as defined herein), and
                        (Y) the Stalking Horse Bidder elects, in its sole discretion, to offer a higher and
                        better bid at the Auction. The Stalking Horse Bidder’s Bid described in the
                        Stalking Horse Agreement shall not be a Backup Bid absent the express consent
                        of the Stalking Horse Bidder.

             b.         The identity of the Backup Bidder and the amount and material terms of the
                        Backup Bid shall be announced by the Debtors at the conclusion of the Auction at
                        the same time the Debtors announce the identity of the Successful Bidder. The
                        Backup Bidder shall be required to keep its Bid (or if the Backup Bidder submits
                        one or more Overbids at the Auction, its final Overbid) open and irrevocable,
                        until the closing of the Sale with the Successful Bidder. The foregoing
                        notwithstanding, if the Stalking Horse Bidder serves as the Backup Bidder, its
                        Backup Bid shall expire on the earlier of closing on an Alternative Transaction
                        (defined below) or September 6, 2019. The Backup Bidder’s Deposit shall be
                        held in escrow until the closing of the transaction with the Successful Bidder and
                        shall thereafter be returned within five (5) business days.

             c.         If a Successful Bidder fails to consummate the approved transactions
                        contemplated by its Successful Bid, the Debtors, in consultation with the
                        Committee, may select the Backup Bidder as the Successful Bidder, and such
                        Backup Bidder shall be deemed a Successful Bidder for all purposes. The
                        Debtors will be authorized, but not required, to consummate all transactions
                        contemplated by the Backup Bid without further order of the Bankruptcy Court or
                        notice to any party. In such case, the defaulting Successful Bidder’s Deposit shall
                        be forfeited to the Debtors. The Debtors specifically reserve the right to seek all
                        available remedies against the defaulting Successful Bidder, including with
                        respect to specific performance.


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I.           Reservation of Rights.

        Without prejudice to the rights of the Stalking Horse Bidder under the terms the Stalking
Horse Sale Agreement, the Debtors reserve their rights, in consultation with the Committee, to
modify these Bidding Procedures in their reasonable business judgment in any manner that will
best promote the goals of the bidding process, or impose, at or prior to the Auction, additional
customary terms and conditions on the sale of the Residents Program Assets, including, without
limitation: (a) extending the deadlines set forth in these Bidding Procedures; (b) adjourning the
Auction at the Auction and/or adjourning the Sale Hearing in open court without further notice;
(c) adding procedural rules that are reasonably necessary or advisable under the circumstances
for conducting the Auction; (d) canceling the Auction; and (e) rejecting any or all bids or Bids.

J.           Sale Hearing.

       A hearing to consider approval of the Sale of the Residents Program Assets to the
Successful Bidder (or to approve the Stalking Horse Agreement if no Auction is held) (the “Sale
Hearing”) is currently scheduled to take place on August 9, 2019, at 11:00 a.m. (ET) before the
Honorable Kevin Gross, at the United States Bankruptcy Court, 824 Market Street, 6th Floor,
Courtroom No. 3, Wilmington, Delaware 19801.

       The Sale Hearing may be continued to a later date by the Debtors, in consultation
with the Committee, by sending notice prior to, or making an announcement at, the Sale
Hearing. No further notice of any such continuance will be required to be provided to any
party (including the Stalking Horse Bidder). The foregoing notwithstanding, if the Sale
Hearing is continued without the consent of the Stalking Horse, the Stalking Horse may
terminate the Stalking Horse Agreement.

       At the Sale Hearing, the Debtors shall present the Successful Bid to the Bankruptcy Court
for approval.

K.           Break-Up Fee.

       To provide an incentive and to compensate the Stalking Horse Bidder for performing the
substantial due diligence and incurring the expenses necessary and entering into a Stalking Horse
Sale Agreement with the knowledge and risk that arises from participating in the sale and
subsequent bidding process, the Debtors have agreed to pay the Stalking Horse Bidder, under the
conditions set forth in the Bidding Procedures Order, a break-up fee in the amount of $225,000
(the “Breakup Fee”).

        The Break-Up fee, to the extent owed by the Debtors, (a) shall be an allowed
administrative expense claim under section 503(b) and 507 of the Bankruptcy Code and a direct
cost of any such Sale; (b) shall be payable at closing on of a Sale to a purchaser other than the
Stalking Horse Bidder (an “Alternative Transaction”)without further order of the Court; and (c)
shall be payable solely from the proceeds of such Alternative Transaction. No Interests shall
attach to the proceeds of any such Alternative Transaction equal to the amounts owed to the
Stalking Horse Bidder on account of the Break-Up Fee.



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L.           Return of Deposit.

        The Deposit of the Successful Bidder shall be applied to the Purchase Price of the
transaction at closing. The Deposits for each Qualified Bidder shall be held in one or more
interest-bearing escrow accounts on terms acceptable to the Debtors, in consultation with the
Committee, and shall be returned (other than with respect to the Successful Bidder and the
Backup Bidder) on or within five (5) business days after the Auction. The Stalking Horse Bidder
shall not be required to provide a Deposit.

       If the Successful Bidder fails to consummate the Sale because of a breach by the
Successful Bidder, the Debtors will not have any obligation to return the Deposit deposited by
the Successful Bidder, which may be retained by the Debtors as liquidated damages, in addition
to any and all rights, remedies, or causes of action that may be available to the Debtors, and the
Debtors shall be free to consummate the Sale with the Backup Bidder without the need for an
additional hearing or order of the Bankruptcy Court.

M.           Fiduciary Out.

        Nothing in these Bidding Procedures shall require the Debtors’ board of managers to take
any action, or to refrain from taking any action, with respect to these Bidding Procedures prior to
the commencement of the Auction if the Debtors’ board of managers determines, based on the
advice of counsel, that taking such action, or refraining from taking such action, as the case may
be, is required to comply with applicable law or the board’s fiduciary obligations thereunder;
provided that, in the event the Debtors’ board of managers determines to take any action, or
refrain from taking any action, pursuant to this paragraph, without the consent of the Stalking
Horse Bidder, the Stalking Horse Bidder may, but shall not be required to, terminate the Stalking
Horse Agreement if taking such action or refraining from taking such action, as the case may be,
would otherwise be grounds for termination under the Stalking Horse Agreement, it being
understood that any material modification to the Bid Procedures without the consent of the
Stalking Horse would be a breach of the Stalking Horse Agreement pursuant to which the
Stalking Horse would have the right to terminate the Stalking Horse Agreement.




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                                          SCHEDULE 2


                                      RESIDENT’S NOTICE




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                      )
    In re:                            ) Chapter 11
                                      )
    CENTER CITY HEALTHCARE, LLC d/b/a ) Case No. 19-11466 (KG)
    HAHNEMANN UNIVERSITY HOSPITAL, et )
    al.,1                             ) Jointly Administered
                                      )
                        Debtors.      )
                                      )

                         NOTICE TO RESIDENTS AND FELLOWS
               REGARDING PROPOSED SALE OF RESIDENCY PROGRAM ASSETS

TO: ALL RESIDENTS AND FELLOWS AT HAHNEMANN UNIVERSITY HOSPITAL:

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”), including Center City Healthcare, LLC, the entity that operates
Hahnemann University Hospital (“Hahnemann”), each filed a voluntary petition for relief under
chapter 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy
Court for the District of Delaware (the “Court”) on June 30, 2019 or July 1, 2019.

       PLEASE TAKE FURTHER NOTICE that the Debtors have entered into an agreement
(the “Agreement”) with Tower Health (“Tower”) to sell certain assets related to Hahnemann’s
residency and fellowship training programs (the “Sale”). Specifically, the Debtors intend to sell
to Tower: (a) National Provider Identifiers (general and psych) and Medicare provider number
and agreement; (b) the Pennsylvania Department of Health license to operate an acute care
hospital; and (c) to the extent assignable or transferrable, the Hahnemann training programs for
residents and fellows.

                                       KEY DATES AND DEADLINES

       The proposed Sale is subject to the approval of the Court and subject to better offers from
other qualified bidders. On July 9, 2019, the Debtors file a motion (the “Sale Motion”) seeking
the Court’s approval of the Sale and certain procedures (“Bidding Procedures”) related to the
Sale. On July 19, 2019, the Court entered an order (the “Bidding Procedures Order”), which

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             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
             PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
             Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
             Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
             (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
             230 North Broad Street, Philadelphia, Pennsylvania 19102.



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sets forth certain key dates and deadlines in connection with the proposed Sale. In particular, the
Bidding Procedures establish August 5, 2019 as the deadline for parties to file objections to the
Sale (the “Sale Objection Deadline”) and as the deadline for third parties to submit competing
bids. A final hearing to seek Court approval of the Sale (either to Tower or another party
submitting the best bid) is currently scheduled for August 9, 2019 at 11:00 a.m. (ET) (the “Sale
Hearing”). A copy of the Agreement, the Bidding Procedures Order and the Bidding Procedures
is enclosed herewith.

                                     THE PROPOSED SALE

        If approved by the Court, the Agreement will enable residents and fellows (collectively
herein, the “Residents”) at Hahnemann to continue their training at one of six hospitals operated
by Tower - Brandywine Hospital in Coatesville, Pennsylvania, Chestnut Hill Hospital, in
Philadelphia, Pennsylvania, Jennersville Hospital in West Grove, Pennsylvania, Phoenixville
Hospital in Phoenixville, Pennsylvania, Pottstown Hospital, in Pottstown, Pennsylvania, and
Reading Hospital, in Reading, Pennsylvania. Residents have a choice, and are not required to
continue their training with Tower. For any Resident who elects to complete their training
elsewhere, Tower or the Debtors, as applicable, will release the related cap on Medicare
reimbursement on a temporary basis to accommodate that choice.

        For Residents who elect to stay with Tower, Tower will provide housing for those
residents doing rotations at Reading Hospital, which is sixty miles from Hahnemann. Tower has
also agreed to seek to hire the faculty who are currently training Residents at Hahnemann to
ensure continuity of the Hahnemann training programs. Tower will also provide free housing
(subject to parameters set forth in the Agreement) for the remainder of the academic year or
during the term of a resident’s existing vacated lease if it is necessary for the Resident to relocate
during the current academic year. Residents will receive free meals while in any Tower hospital,
and Tower will also provide additional amenities to assist Residents and their families with the
transition.

      If the Sale is approved by the Court to someone other than Tower, the terms of the Sale,
and the impact upon Residents, may be different than those under the Agreement.

       The Debtors recognize the unique difficulties and challenges facing Residents in light of
the bankruptcy filing and expected closure of Hahnemann. The Debtors believe that the
proposed Sale is in the best interests of Residents because it provides Residents with the option
to continue their training and, to minimize, to the greatest extent possible, the impact of
Hahnemann’s closure on Residents, their professional training and education, and their families.

                                 Obtaining Additional Information

        Copies of all documents filed with the Court with respect to the Debtors’ bankruptcy
cases are available free of charge on the website of the Court-appointed claims and noticing
agent     for   the    Debtors’     chapter    11    cases,  Omni     Management       Group,
https://omnimgt.com/sblite/centercityhealthcare/. You may also contact the Debtors’ attorneys,



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whose contact information is in the signature block below, for more information. In addition,
Residents should contact their Program Director with questions specific to their situation.

                                         Filing Objections

        Objections to the Sale (a “Sale Objection”), if any, must (a) be in writing, (b) state the
basis of such objection with specificity and (c) be filed with the Court and served upon, so as to
be actually received on or prior to the Sale Objection Deadline: (a) the Debtors Center City
Healthcare, LLC, d/b/a Hahnemann University Hospital, 230 North Broad Street, Philadelphia,
Pennsylvania, Attn: Allen Wilen, Chief Restructuring Officer; and (b) proposed counsel to the
Debtors, Saul Ewing Arnstein & Lehr LLP, (i) 1201 North Market Street, Suite 2300,
Wilmington, DE 19899, Attn: Mark Minuti; and (ii) Centre Square West, 1500 Market Street,
38th Floor, Philadelphia, PA, Attn: Jeffrey C. Hampton; and (c) Stevens & Lee, P.C., 620
Freedom Business Center, Suite 200, Attn: Robert Lapowsky (rl@stevenslee.com), counsel to
Tower.

              CONSEQUENCES OF FAILING TO TIMELY ASSERT AN OBJECTION

     ANY PARTY OR ENTITY WHO FAILS TO TIMELY ASSERT AN OBJECTION
TO THE SALE ON OR BEFORE THE OBJECTION DEADLINE IN ACCORDANCE
WITH THE BIDDING PROCEDURES ORDER SHALL BE FOREVER BARRED FROM
ASSERTING ANY OBJECTION TO THE SALE, INCLUDING WITH RESPECT TO
THE TRANSFER OF THE RESIDENTS PROGRAM ASSETS FREE AND CLEAR OF
ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS. IF YOU FAIL
TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT
THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR
HEARING. ANY CREDITOR THAT RECEIVES NOTICE OF THE SALE HEARING
AND FAILS TO TIMELY FILE AN OBJECTION TO THE SALE ON OR BEFORE THE
OBJECTION DEADLINE IN ACCORDANCE WITH THE BIDDING PROCEDURES
ORDER SHALL BE DEEMED TO HAVE CONSENTED UNDER SECTION 363(f)(2) OF
THE BANKRUPTCY CODE TO SUCH SALE FREE AND CLEAR OF SUCH
CREDITOR’S LIEN OR INTERESTS, IF ANY.




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Dated: July 19, 2019                         SAUL EWING ARNSTEIN & LEHR LLP

                                          By:/s/ Aaron S. Applebaum
                                             Mark Minuti (DE Bar No. 2659)
                                             Monique B. DiSabatino (DE Bar No. 6027)
                                             1201 N. Market Street, Suite 2300
                                             P.O. Box 1266
                                             Wilmington, DE 19899
                                             Telephone: (302) 421-6800
                                             Fax: (302) 421-5873
                                             mark.minuti@saul.com
                                             monique.disabatino@saul.com

                                                     -and-

                                             Jeffrey C. Hampton
                                             Adam H. Isenberg
                                             Aaron S. Applebaum (DE Bar No. 5587)
                                             Centre Square West
                                             1500 Market Street, 38th Floor
                                             Philadelphia, PA 19102
                                             Telephone: (215) 972-7700
                                             Fax: (215) 972-7725
                                             jeffrey.hampton@saul.com
                                             adam.isenberg@saul.com
                                             aaron.applebaum@saul.com

                                             Proposed Counsel for Debtors and
                                             Debtors in Possession




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                                          SCHEDULE 3


                                     PUBLICATION NOTICE




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                      )
    In re:                            ) Chapter 11
                                      )
    CENTER CITY HEALTHCARE, LLC d/b/a ) Case No. 19-11466 (KG)
    HAHNEMANN UNIVERSITY HOSPITAL, et )
    al.,1                             ) Jointly Administered
                                      )
                        Debtors.      )
                                      )

NOTICE REGARDING PROPOSED SALE OF RESIDENTS PROGRAM ASSETS FREE
  AND CLEAR OF ALL INTERESTS, INCLUDING PERSONAL INJURY CLAIMS

TO:          ALL PERSONS WITH CLAIMS AGAINST THE DEBTORS IN THE ABOVE
             CAPTIONED CASES, INCLUDING CLAIMS AGAINST HAHNEMANN
             UNIVERSITY HOSPITAL:

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”), including Center City Healthcare, LLC, the entity that operates
Hahnemann University Hospital (“Hahnemann”), each filed a voluntary petition for relief under
chapter 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy
Court for the District of Delaware (the “Court”) on June 30, 2019 or July 1, 2019.

        PLEASE TAKE FURTHER NOTICE that the Debtors have entered into an agreement
(the “Agreement”) with Reading Hospital (the “Purchaser”) to sell certain assets related to
Hahnemann’s residency and fellowship training programs (the “Sale”). Specifically, the Debtors
intend to sell to the Purchaser: (a) National Provider Identifiers (general and psych) and
Medicare provider number and agreement; (b) the Pennsylvania Department of Health license to
operate an acute care hospital; and (c) to the extent assignable or transferrable, the Hahnemann
training programs for residents and fellows.

         PLEASE TAKE FURTHER NOTICE that the Sale, if approved, will be free and clear
of all Interests, including claims of successor liability.



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             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
             PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
             Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
             Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
             (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
             230 North Broad Street, Philadelphia, Pennsylvania 19102.



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     PLEASE TAKE FURTHER NOTICE THAT, IF THE SALE IS APPROVED, THE
PURCHASER WILL NOT BE LIABLE ON ACCOUNT OF ANY CLAIMS AGAINST
ANY OF THE DEBTORS (OTHER THAN CLAIMS AFFIRMATIVELY ASSUMED BY
THE PURCHASER), INCLUDING CLAIMS OF PATIENTS TREATED AT
HAHNEMANN, INCLUDING CLAIMS OF WHICH THE HOLDER MAY NOT BE
PRESENTLY AWARE.

                                  KEY DATES AND DEADLINES

        The proposed Sale is subject to the approval of the Court and subject to better offers from
other qualified bidders. On July 9, 2019, the Debtors filed a motion (the “Sale Motion”) seeking
the Court’s approval of the Sale and certain procedures (“Bidding Procedures”) related to the
Sale. On July 19, 2019, the Court entered an order (the “Bidding Procedures Order”), which
sets forth certain key dates and deadlines in connection with the proposed Sale. In particular, the
Bidding Procedures establish August 5, 2019 as the deadline for parties to file objections to the
Sale (the “Sale Objection Deadline”) and as the deadline for third parties to submit competing
bids. A final hearing to seek Court approval of the Sale (either to Tower or another party
submitting the best bid) is currently scheduled for August 9, 2019 at 11:00 a.m. (ET) (the “Sale
Hearing”).

                                 Obtaining Additional Information

        Copies of all documents filed with the Court with respect to the Debtors’ bankruptcy
cases are available free of charge on the website of the Court-appointed claims and noticing
agent     for   the    Debtors’     chapter     11     cases,     Omni  Management      Group,
https://omnimgt.com/sblite/centercityhealthcare/. You may also contact the Debtors’ attorneys,
whose contact information is below, for more information. In addition, Residents should contact
their Program Director with questions specific to their situation.

                                         Filing Objections

        Objections to the Sale (a “Sale Objection”), if any, must (a) be in writing, (b) state the
basis of such objection with specificity and (c) be filed with the Court and served upon, so as to
be actually received on or prior to the Sale Objection Deadline: (a) the Debtors Center City
Healthcare, LLC, d/b/a Hahnemann University Hospital, 230 North Broad Street, Philadelphia,
Pennsylvania, Attn: Allen Wilen, Chief Restructuring Officer; and (b) proposed counsel to the
Debtors, Saul Ewing Arnstein & Lehr LLP, (i) 1201 North Market Street, Suite 2300,
Wilmington, DE 19899, Attn: Mark Minuti; and (ii) Centre Square West, 1500 Market Street,
38th Floor, Philadelphia, PA, Attn: Jeffrey C. Hampton; (c) Stevens & Lee, P.C., 620 Freedom
Business Center, Suite 200, Attn: Robert Lapowsky (rl@stevenslee.com), counsel to Tower, and
(d) Sills Cummis & Gross P.C., One Riverfront Plaza, Newark, New Jersey, 07102, Attn:
Andrew       Sherman       (Asherman@sillscummis.com)            and      Boris     Mankovetskiy
(BMankoverskiy@sillscummis.com), proposed counsel to the Committee.




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              CONSEQUENCES OF FAILING TO TIMELY ASSERT AN OBJECTION

     ANY PARTY OR ENTITY WHO FAILS TO TIMELY ASSERT AN OBJECTION
TO THE SALE ON OR BEFORE THE OBJECTION DEADLINE IN ACCORDANCE
WITH THE BIDDING PROCEDURES ORDER SHALL BE FOREVER BARRED FROM
ASSERTING ANY OBJECTION TO THE SALE, INCLUDING WITH RESPECT TO
THE TRANSFER OF THE RESIDENTS PROGRAM ASSETS FREE AND CLEAR OF
ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS. IF YOU FAIL
TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT
THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR
HEARING. ANY CREDITOR THAT FAILS TO TIMELY FILE AN OBJECTION TO
THE SALE ON OR BEFORE THE OBJECTION DEADLINE IN ACCORDANCE WITH
THE BIDDING PROCEDURES ORDER SHALL BE DEEMED TO HAVE CONSENTED
UNDER SECTION 363(f)(2) OF THE BANKRUPTCY CODE TO SUCH SALE FREE
AND CLEAR OF SUCH CREDITOR’S LIEN OR INTERESTS, IF ANY.

Dated: July 19, 2019                         SAUL EWING ARNSTEIN & LEHR LLP

                                          By:/s/ Mark Minuti
                                             Mark Minuti (DE Bar No. 2659)
                                             Monique B. DiSabatino (DE Bar No. 6027)
                                             1201 N. Market Street, Suite 2300
                                             P.O. Box 1266
                                             Wilmington, DE 19899
                                             Telephone: (302) 421-6800
                                             Fax: (302) 421-5873
                                             mark.minuti@saul.com
                                             monique.disabatino@saul.com

                                                     -and-

                                             Jeffrey C. Hampton
                                             Adam H. Isenberg
                                             Aaron S. Applebaum (DE Bar No. 5587)
                                             1500 Market Street, 38th Floor
                                             Philadelphia, PA 19102
                                             Telephone: (215) 972-7700
                                             Fax: (215) 972-7725
                                             jeffrey.hampton@saul.com
                                             adam.isenberg@saul.com
                                             aaron.applebaum@saul.com

                                             Proposed Counsel for Debtors and
                                             Debtors in Possession




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                                          SCHEDULE 5


                                  AUCTION AND SALE NOTICE




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                      )
    In re:                            ) Chapter 11
                                      )
    CENTER CITY HEALTHCARE, LLC d/b/a ) Case No. 19-11466 (KG)
    HAHNEMANN UNIVERSITY HOSPITAL, et )
    al.,1                             ) Jointly Administered
                                      )
                        Debtors.      )
                                      )

      NOTICE OF SALE, BIDDING PROCEDURES, AUCTION, AND SALE HEARING

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) each filed a voluntary petition for relief under chapter 11 of the
United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
District of Delaware (the “Court”) on June 30, 2019 and July 1, 2019.

        PLEASE TAKE FURTHER NOTICE that on July 9, 2019, the Debtors filed a motion
(the “Sale and Bidding Procedures Motion”)2 seeking the entry of orders, among other things,
approving (a) procedures for the solicitation of bids in connection with the proposed sale of
certain of the Debtors’ assets to Tower Health (the “Stalking Horse Bidder”) for $7.5 million
plus the assumption of certain contracts and responsibilities of the Debtors with respect to
Residents at Hahnemann University Hospital (the “Sale”), subject to the submission of higher or
better offers in an auction process (the “Auction”); (b) the form and manner of notices related to
the Sale; and (c) procedures for the assumption and assignment of contracts in connection with
the Sale.

        PLEASE TAKE FURTHER NOTICE that on July 19, 2019, the Court entered an order
(the “Bidding Procedures Order”) approving, among other things, the Bidding Procedures,
which establish the key dates and times related to the Sale and the Auction. All interested
bidders should carefully read the Bidding Procedures Order and the Bidding Procedures in their
entirety. To the extent that there are any inconsistencies between the Bidding Procedures and the

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             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
             PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
             Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
             Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
             (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
             230 North Broad Street, Philadelphia, Pennsylvania 19102.
2
             Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
             Sale and Bidding Procedures Motion.



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summary descriptions of the Bidding Procedures in this notice, the terms of the Bidding
Procedures shall control in all respects. The deadline by which all Bids must be actually
received by the parties specified in the Bidding Procedures Order is August 5, 2019 at 4:00 p.m.
(prevailing Eastern time) (the “Bid Deadline”).

                          Contact Persons for Parties Interested in Submitting a Bid

         The Bidding Procedures set forth the requirements for submitting a Qualified Bid, and
any person interested in making an offer to purchase the Residents Program Assets must comply
strictly with the Bidding Procedures. Only Qualified Bids will be considered by the Debtors.
Any interested persons should contact:

Proposed Investment Banker to Debtors                       Proposed Counsel to Debtors

             SSG Advisors, LLC                            Saul Ewing Arnstein & Lehr LLP
        Five Tower Bridge, Suite 420                      1201 N. Market Street, Suite 2300
           300 Barr Harbor Drive                            Wilmington, Delaware 19899
       West Conshohocken, PA 19428                      Mark Minuti (mark.minuti@saul.com),
    J. Scott Victor (jsvictor@ssgca.com)          Jeffrey C. Hampton (jeffrey.hampton@saul.com),
       Teresa Kohl (tkohl@ssgca.com)              Aaron S. Applebaum (aaron.applebaum@saul.com)
   Craig Warznak (cwarznak@ssgca.com)                             (215) 972-7777
               (610) 940-3615

                                   Obtaining Additional Information

       Copies of the Sale and Bidding Procedures Motion, the Bidding Procedures, and the
Bidding Procedures Order, as well as all related exhibits, including the Stalking Horse Purchase
Agreement and all other documents filed with the Court, are available free of charge on the
website of the Court-appointed claims and noticing agent for the Debtors’ chapter 11 cases,
Omni Management Group, https://omnimgt.com/sblite/centercityhealthcare/.

                                    Important Dates and Deadlines

             1. The deadline to submit a Qualified Bid is August 5, 2019 at 4:00 p.m. (prevailing
                Eastern time).

             2. The deadline to file an objection with the Bankruptcy Court to the entry of an order
                approving the Sale (the “Sale Order”) and all objections relating to the Stalking
                Horse Bidder (collectively, “Sale Objections”) is August 5, 2019 at 4:00 p.m.
                (prevailing Eastern time) (the “Sale Objection Deadline”).

             3. In the event that the Debtors timely receive a Qualified Bid in addition to the
                Qualified Bid of the Stalking Horse Bidder, the Debtors intend to conduct an Auction
                for the Residents Program Assets. The Auction, if one is necessary, will commence
                on August 7, 2019 at 10:00 a.m. (prevailing Eastern time), or such other date as
                determined by the Court, at the offices of Saul Ewing Arnstein & Lehr LLP, Centre


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                   Square West, 1500 Market Street, 38th Floor, Philadelphia, PA 19102 (or at any other
                   location as the Debtors may hereafter designate on proper notice).

             4. Objections to the conduct of the Auction and the terms of a sale to a Successful
                Bidder other than the Stalking Horse Bidder (collectively, “Auction Objections”)
                may be raised at the Sale Hearing (as defined below).

             5. A hearing (the “Sale Hearing”) to consider the proposed Sale will be held before the
                Court on August 9, 2019 at 11:00 a.m. (ET), or such other date as determined by the
                Bankruptcy Court, at 824 North Market Street, Wilmington, Delaware 19801.

                                              Filing Objections

        Sale Objections, if any, must (a) be in writing, (b) state the basis of such objection with
specificity and (c) be filed with the Court and served upon, so as to be actually received on or
prior to the Sale Objection Deadline: (a) the Debtors Center City Healthcare, LLC, 230 North
Broad Street, Philadelphia, Pennsylvania, Attn: Allen Wilen, Chief Restructuring Officer; (b)
proposed counsel to the Debtors, Saul Ewing Arnstein & Lehr LLP, 1201 North Market Street,
Suite 2300, Wilmington, DE 19899, Attn: Mark Minuti and Centre Square West, 1500 Market
Street, 38th Floor, Philadelphia, PA 19102, Attn: Jeffrey C. Hampton; (c) proposed counsel to
the Official Committee of Unsecured Creditors, Sills Cummis & Gross P.C., One Riverfront
Plaza, Newark, New Jersey, 07102, Attn: Andrew Sherman and Boris Mankovetskiy; and (d)
counsel to the Stalking Horse Bidder, Stevens & Lee, P.C., 620 Freedom Business Center, Suite
200, King of Prussia, Pennsylvania 19406, Attn: Robert Lapowsky.

              CONSEQUENCES OF FAILING TO TIMELY ASSERT AN OBJECTION

     ANY PARTY OR ENTITY WHO FAILS TO TIMELY ASSERT AN OBJECTION
TO THE SALE ON OR BEFORE THE OBJECTION DEADLINE IN ACCORDANCE
WITH THE BIDDING PROCEDURES ORDER SHALL BE FOREVER BARRED FROM
ASSERTING ANY OBJECTION TO THE SALE, INCLUDING WITH RESPECT TO
THE TRANSFER OF THE RESIDENTS PROGRAM ASSETS FREE AND CLEAR OF
ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS. IF YOU FAIL
TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT
THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR
HEARING. ANY CREDITOR THAT RECEIVES NOTICE OF THE SALE HEARING
AND FAILS TO TIMELY FILE AN OBJECTION TO THE SALE ON OR BEFORE THE
OBJECTION DEADLINE IN ACCORDANCE WITH THE BIDDING PROCEDURES
ORDER SHALL BE DEEMED TO HAVE CONSENTED UNDER SECTION 363(f)(2) OF
THE BANKRUPTCY CODE TO SUCH SALE FREE AND CLEAR OF SUCH
CREDITOR’S LIEN OR INTERESTS, IF ANY.




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Dated: July 19, 2019                         SAUL EWING ARNSTEIN & LEHR LLP

                                          By:/s/ Aaron S. Applebaum
                                             Mark Minuti (DE Bar No. 2659)
                                             Monique B. DiSabatino (DE Bar No. 6027)
                                             1201 N. Market Street, Suite 2300
                                             P.O. Box 1266
                                             Wilmington, DE 19899
                                             Telephone: (302) 421-6800
                                             Fax: (302) 421-5873
                                             mark.minuti@saul.com
                                             monique.disabatino@saul.com

                                                     -and-

                                             Jeffrey C. Hampton
                                             Adam H. Isenberg
                                             Aaron S. Applebaum (DE Bar No. 5587)
                                             Centre Square West
                                             1500 Market Street, 38th Floor
                                             Philadelphia, PA 19102
                                             Telephone: (215) 972-7700
                                             Fax: (215) 972-7725
                                             jeffrey.hampton@saul.com
                                             adam.isenberg@saul.com
                                             aaron.applebaum@saul.com

                                             Proposed Counsel for Debtors and
                                             Debtors in Possession




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                                       EXHIBIT B

                                  ASSIGNED CONTRACTS




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   No.                   Counterparty/Counterparties                                   Contract Type and Description                        Maximum Cure
                                                                                                                                              Amount
     1        Abington Memorial Hospital                             Medicare GME Affiliation Agreement for July 1, 2019 through June 30,       $0.00
                                                                     2020
     2        Abington Memorial Hospital                             Agreement for Clinical Rotations with Center City Healthcare, LLC,         $0.00
                                                                     d/b/a Hahnemann University Hospital, dated September 14, 2018
     3        Abington Memorial Hospital and Solis Healthcare, LP    Agreement Concerning Family Medicine Training with Tenet                   $0.00
                                                                     HealthSystem Hahnemann, LLC, dated June 23, 2008
     4        The Centers for Medicare and Medicaid Services         Participating Provider Agreement                                       $3,000,000.00
     5        Friends Behavioral Health System, L.P.                 Medicare GME Affiliation Agreement for July 1, 2019 through June 30,       $0.00
                                                                     2020
     6        Prime Healthcare Services Roxborough, LLC              Medicare GME Affiliation Agreement for July 1, 2019 through June 30,       $0.00
                                                                     2020
     7        Solis Healthcare, LP                                   Agreement Regarding Medicare FTE Resident Caps with Tenet                  $0.00
                                                                     HealthSystem Hahnemann, LLC, dated July 1, 2007
     8        Solis Healthcare, LP                                   Second Amendment to Agreement Regarding Medicare FTE Resident              $0.00
                                                                     Caps with Tenet HealthSystem Hahnemann, LLC, dated June 29, 2010
     9        Solis Healthcare, LP and Abington Memorial Hospital    Agreement Concerning Family Medicine Training with Tenet                   $0.00
              (duplicate of #3 above)                                HealthSystem Hahnemann, LLC, dated June 23, 2008
    10        St. Christopher’s Hospital for Children (co-debtor)    Medicare GME Affiliation Agreement for July 1, 2019 through June 30,       $0.00
                                                                     2020
    11        Temple University Hospital and St. Christopher’s       Medicare GME Affiliation Agreement for July 1, 2019 through June 30,       $0.00
              Hospital for Children (co-debtor)                      2020
    12        Tower Health                                           Medicare GME Affiliation Agreement for July 1, 2019 through June 30,       $0.00
                                                                     2020
    13        Trustees of the University of Pennsylvania             Medicare GME Affiliation Agreement for July 1, 2019 through June 30,       $0.00
                                                                     2020
    14        Trustees of the University of Pennsylvania             Agreement regarding Medicare FTE Resident Caps with Tenet                  $0.00
                                                                     HealthSystem Hahnemann, LLC, dated March 30, 2007




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                                      EXHIBIT C

                     BACKUP BID ASSET PURCHASE AGREEMENT




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                              ASSET PURCHASE AGREEMENT

                                     BY AND BETWEEN

                             CENTER CITY HEALTHCARE, LLC,

                                          as Seller,

                                            AND

                                     READING HOSPITAL

                                         as Purchaser




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                                 ASSET PURCHASE AGREEMENT

        THIS ASSET PURCHASE AGREEMENT (this “Agreement”) is made and entered into
as of this ___ day of September , 2019, by and between Center City Healthcare, LLC, d/b/a,
Hahnemann University Hospital (the “Seller” or “Hahnemann”), a Delaware limited liability
company and Reading Hospital (the “Purchaser”), a Pennsylvania nonprofit corporation. The
Seller and the Purchaser are sometimes individually referred to herein as a “Party” and
collectively as the “Parties.”

       WHEREAS, Seller is engaged in the business of owning and operating an acute care
hospital, including a graduate medical education program (the “Business”); and

             WHEREAS, the Seller is the owner of the Purchased Assets; and

        WHEREAS, on June 30, 2019 (the “Petition Date”), a voluntary petition for relief was
filed by the Seller under Chapter 11 of Title 11 of the United States Bankruptcy Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”), under Case Number 19-11466 (the “Bankruptcy Case”); and

         WHEREAS, Seller desires to sell and Purchaser desires to purchase the Purchased Assets
all in accordance with, and subject to, the terms and conditions contained in this Agreement; and

       WHEREAS, the Purchased Assets being transferred herein are intended to be sold,
conveyed and transferred to Purchaser free and clear of all Liens and Encumbrances pursuant to
Section 363 of the Bankruptcy Code, and subject to the Sale Order.

        NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein and other good and valuable consideration, the receipt and sufficiency of which
are hereby acknowledged, the Parties, intending to be legally bound, hereby agree as follows:

                                            ARTICLE I.
                                           DEFINITIONS

        For purposes of this Agreement (including any Exhibits or Schedules attached hereto),
the following terms shall have the meanings indicated below, unless the context clearly requires
otherwise:

        “Affiliate” shall mean, with respect to a specified Person, any other Person which
directly, or indirectly through one or more intermediaries, controls or is controlled by, or is under
common control with, the specified Person; provided that such Person shall be deemed an
Affiliate for only so long as such control exists. For purposes of this definition and the definition
of Related Person, the term “control” includes, without limitation, the possession, directly or
indirectly, of the power to direct the management and policies of a Person, whether through the
ownership of voting securities, by contract or otherwise.

       “Ancillary Documents” shall mean all other agreements, documents and instruments to
be executed and delivered by the Purchaser and/or the Seller pursuant to this Agreement.


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        “Applicable Privacy and Security Law” means any applicable Law relating to privacy,
data protection, confidentiality, security, integrity and protection of personal information,
including (i) health care and medical record applicable Laws, including the Health Insurance
Portability and Accountability Act of 1996, as amended by the Health Information Technology
for Economic and Clinical Health Act, and all implementing regulations (collectively,
“HIPAA”); (ii) state data protection laws; (iii) state breach notification laws; and (iv) any
comparable applicable state Laws and the regulations promulgated pursuant to all such
applicable Laws.

       “Assigned Contracts” shall mean, collectively, those Contracts included in the
Purchased Assets, which shall consist solely of the Contracts identified on Schedule A-1 to
Exhibit A. Purchaser may add or delete Contracts from Schedule A-1 pursuant to the applicable
provisions of the Bidding Procedures Order.

        “Assignment and Assumption Agreement” shall mean the Assignment, Delegation and
Assumption Agreement to be executed at the Closing between the Seller and the Purchaser in the
form attached hereto as Exhibit B, pursuant to which, among other things, the Seller will assign
and transfer to the Purchaser all of its right, title and interest under the Assigned Contracts, on
the terms and conditions set forth therein.

        “Assumed Liabilities” shall mean, collectively, (i) all liabilities arising after the Closing
with respect to the Assigned Contracts, (ii) all liabilities arising with respect to the Purchased
Assets arising on or after the Closing Date, (iii) all executory performance obligations of Seller
to the extent arising or after the Closing, (iv) the Cure Costs (including Cure Costs asserted by
CMS (including by offset) upon and/or after the Closing on account of the Participating Provider
Agreement), (v) any and the Purchaser’s portion of the Transfer Taxes pursuant to Section 10.4.

       “Assumption/Cure Notice” means the Initial Notice of Assumption and Assignment and
any Supplemental Notice of Assumption and Assignment delivered to counterparties to
Contracts with the Seller pursuant to the Bidding Procedures Order.

             “Backup Bidder” shall have the meaning stated in the Bidding Procedures Order.

             “Bankruptcy Case” shall have the meaning given to it in the Recitals to this Agreement.

             “Bankruptcy Code” shall have the meaning given to it in the Recitals to this Agreement.

      “Bankruptcy Court” shall have the meaning given to it in the Recitals to this
Agreement.

             “Base Purchase Price” is defined in Section 3.1.

        “Bid Procedures” shall mean the bid procedures governing the process by which the sale
of the Purchased Assets shall occur, which are attached to the Bidding Procedures Order as
Exhibit I.

       “Bidding Procedures Order” shall mean the order of the Bankruptcy Court approving
the Bid Procedures in the form attached hereto as Exhibit F and made part hereof.

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       “Bill of Sale” shall mean the bill of sale to be delivered at Closing by the Seller to the
Purchaser in the form attached hereto as Exhibit C.

        “Books and Records” means, collectively, all documents, lists and files relating or
pertaining to the Purchased Assets or the Assumed Liabilities.

             “Business” is defined in the Recitals to this Agreement.

       “Business Day(s)” shall mean calendar days other than Saturdays, Sundays and days on
which banking institutions in Wilmington, Delaware are authorized by Law to close.

             “Code” means the Internal Revenue Code of 1986, as amended.

             “Claims Close Date” is defined in Section 10.5.

             “Closing” is defined in Section 8.1.

             “Closing Date” is defined in Section 8.1.

             “CMS” means the Centers for Medicare and Medicaid Services.

        “CMS Discharge Amount” means a dollar amount agreed to by and between CMS and
the Seller or, alternatively, an amount established by the Bankruptcy Court as final which
amount shall be the maximum Cure Costs due on account of the Participating Provider
Agreement and the maximum amount which CMS would seek to collect, by offset or otherwise,
against the Purchaser on account of services rendered or amounts previously paid to Seller under
the Participating Provider Agreement.

      “Continuing Residents” means the Residents as of the Closing Date who agree to
become residents training at a hospital operated by the Purchaser or an Affiliate of the Purchaser.

             “Contracts” shall mean any agreement or contract, whether written or oral.

        “Cure Costs” shall mean, with respect to any Assigned Contract, the amount due and
owing to each non-debtor counterparty to such Assigned Contract to cure any defaults required
to be cured as a condition of assumption of such Assigned Contract pursuant to Section
365(b)(1) of the Bankruptcy Code.

        “Escrow Agent” shall mean a financial institution mutually acceptable to Seller and
Purchaser.

       “Escrow Agreement” shall mean the agreement substantially in the form attached hereto
as Exhibit D.

             “Escrow Account” is defined in Section 3.1

             “Escrow Amount” is defined in Section 3.1

       “Excluded Assets” shall mean all rights, benefits or property of Seller which are not
Purchased Assets.
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        “Excluded Liabilities” shall mean, collectively, any and all liabilities of the Seller of any
kind or description other than the Assumed Liabilities.

       “Final Order” shall mean an order, judgment or other decree as to which (a) the
operation or effect has not been reversed, stayed, modified or amended, (b) no appeals or
motions for reconsideration are pending, and (c) any and all appeal periods have expired.

        “GAAP” shall mean generally accepted accounting principles in the United States,
consistently applied.

        “Governmental Authorization” means any consent, license, permit, certificate of
authority, registration, franchise, right, Order or notice, qualification or similar right issued,
granted, given, or required by or under the authority of any Governmental Body or pursuant to
any Law.

       “Governmental Body” means any federal, state, local, municipal, foreign or other
governmental or quasi-governmental entity or authority of any nature, including the FDA and its
equivalent authority or body in any foreign jurisdiction.

             “Hahnemann Programs” is defined in Section 6.2.

             “Interests” shall have the meaning stated in the Sale Order.

       “Knowledge of the Seller” and “to the Seller’s Knowledge” shall mean the actual
knowledge of Joel Freedman, the Seller’s Chief Executive Officer, or Allen Wilen, the Seller’s
Chief Restructuring Officer - Finance.

       “Laws” shall mean all federal, state and local laws, ordinances, rules, regulations,
standards, and Orders.

             “Lien” has the meaning given to such term in the Bankruptcy Code.

       “Liquidated Cure Costs” means all Cure Costs relating to Assigned Contracts which are
allowed in a Final Order of the Bankruptcy Court.

             “Losses” is defined in Section 10.1.

        “Material Adverse Effect” means any event, circumstance, change, occurrence or effect
that, individually or in the aggregate, has a material and adverse effect upon the Purchased
Assets; provided, however, that any adverse change, event, development or effect arising from or
relating to any of the following shall not be deemed to constitute, and shall not be taken into
account in determining whether there has been, a Material Adverse Effect: (i) the United States
economy, the global economy, in each case, as a whole, or the industry or markets in which the
Seller operates; (ii) the filing of the Bankruptcy Case; (iii) national or international political or
social conditions, including the engagement by the United States in hostilities, whether or not
pursuant to the declaration of a national emergency or war, or the occurrence of any military or
terrorist attack upon the United States, or any of its territories, possessions, or diplomatic or
consular offices or upon any military installation, equipment or personnel of the United States;
(iv) financial, banking, or securities markets (including any disruption thereof and any decline in
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the price of any security or any market index); (v) changes in GAAP; (vi) changes in Law or
Orders; (vii) the taking of any action contemplated by this Agreement or any of the Ancillary
Documents; (viii) any “act of God,” including, but not limited to, weather, natural disasters and
earthquakes; (ix) changes resulting from the announcement of the execution of this Agreement or
any of the transactions contemplated hereby; or (x) the termination of any Contract that is not an
Assigned Contract, or the occurrence of any breach by any party of any Contract that does not
relate to the Purchased Assets or the Assumed Liabilities; (xi) any adverse change to the
Business prior to the date hereof;.

       “Non-Disclosure Agreement” means any and all confidentiality agreements and/or non-
disclosure agreements executed by the Purchaser as a condition to obtaining confidential and/or
proprietary information from the Seller.

       “Order” shall mean any award, decision, injunction, judgment, order, ruling, subpoena,
or verdict entered, issued, made, or rendered by any court, administrative agency, or other
Governmental Body.

       “Ordinary Course of Business” means the ordinary course of the Seller’s Business
consistent with past practice.

       “Outside Closing Date” shall mean September 6, 2019 or such other date as Seller and
Purchaser may agree.

       “Participating Provider Agreement” means the Participating Provider Agreement with
the Centers for Medicare and Medicaid Services between the Seller and CMS related to
Hahnemann University Hospital.

             “Permitted Escrow Withdrawals” is defined in Section 3.1.

       “Person” shall mean any individual, corporation, Governmental Body, general or limited
partnership, limited liability company, joint venture, estate, trust, association, or other legal
organization.

        “Proceeding” shall mean any action, demand, complaint, inquiry, suit, injunction,
dispute, arbitration, audit, hearing, investigation, litigation, citation, notice of violation (or
similar notice), or suit (whether civil or criminal) commenced, brought, conducted, or heard by
or before, or otherwise involving, any Governmental Body.

             “Purchased Assets” shall mean the assets of Seller identified on Exhibit A..

             “Purchaser Indemnified Party” is defined in Section 10.1.

       “Purchaser Material Adverse Effect” means any event, circumstance, change,
occurrence or effect that, individually or in the aggregate, has a material and adverse effect upon
the Purchaser.

        “Related Person” (i) with respect to a Person who is an individual, shall mean, (a) any
other individual having a relationship with such specified individual (by blood, marriage or
adoption) of grandparent, parent, child, grandchild, aunt, uncle, niece, nephew, sister, brother or
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first cousin (collectively, “Relatives”), (b) any Person that is controlled by such individual or
any one or more members of such individual’s Relatives; and (c) any Person with respect to
which such individual or one or more members of such individual’s Relatives serves as a
director, officer, partner, or trustee (or in a similar capacity); and (ii) with respect to a specified
Person other than an individual, shall mean (a) any Affiliate of such specified Person; and (b)
each Person that serves as a director, officer, partner, or trustee (or in a similar capacity) of such
specified Person.

       “Representative” shall mean, with respect to a particular Person, any director, officer,
employee, agent, consultant, advisor, or other representative of such Person, including legal
counsel, accountants and financial advisors.

             “Required Notification” is defined in Section 6.3.

       “Residents” means the medical residents and fellows training at Hahnemann University
Hospital.

        “Sale Motion” shall mean that certain motion filed by the Seller in the Bankruptcy Case
on July 9, 2019 (D.I. 142) pursuant to which, among other things, the Seller requested an order
(a) approving the Bid Procedures, (b) approving procedures relating to the assumption and
assignment of executory contracts, including procedures for establishing Cure Costs,
(c) establishing a date for an auction, and (d) scheduling a sale hearing.

       “Sale Order” shall mean an Order of the Bankruptcy Court pursuant to the Bankruptcy
Code approving this Agreement and the transactions contemplated hereby substantially in the
form attached hereto as Exhibit E and made part hereof.

             “Seller Disclosure Letter” is defined in Article IV.

             “Seller Indemnified Party” is defined in Section 10.2.

             “SSG” means SSG Capital Advisors, LLC.

       “Tail Coverage Costs” shall mean shall mean the cost to Seller of purchasing and
maintaining the Tail Coverage Endorsement.

         “Tail Coverage Endorsement” shall mean a reporting endorsement to insure against
resident professional liability claims that have not yet been reported against the Residents related
to any period of Resident employment from January 11, 2018 until the termination of Resident’s
employment from Hahnemann University Hospital. Such endorsement shall provide for
Pennsylvania statutory limits of Five-Hundred Thousand Dollars ($500,000) per occurrence and
One Million Five-Hundred Thousand Dollars $1,500,000) annual aggregate for each MCARE
eligible Resident only.

         “Tax” and “Taxes” shall mean individually or collectively, as appropriate, any and all
U.S. or non-U.S., federal, state, county, local, municipal or other taxes, charges, imposts, rates,
fees, levies or other assessments.


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       “Tower GME Affiliation Agreement” shall mean the Medicare GME Affiliation
Agreement for July 1, 2019 through June 30, 2020 between Seller and Purchaser (or an affiliate
of Purchaser).

             “Transfer Taxes” is defined in Section 10.14(a).

                                      ARTICLE II.
                  AGREEMENTS TO SELL AND PURCHASE; RELATED MATTERS

        2.1 Agreement to Sell and Purchase Purchased Assets. On the Closing Date, subject
to the performance by the Parties of the terms and provisions of this Agreement and satisfaction
of the terms and conditions set forth in the Sale Order, the Seller shall sell, convey, assign,
transfer and deliver to Purchaser, and Purchaser shall purchase, acquire and accept from Seller,
the Purchased Assets, free and clear of all Interests other than Assumed Liabilities, to the fullest
extent permitted by Section 363 of the Bankruptcy Code.

       2.2 Assumed Liabilities/Excluded Liabilities. On the Closing Date, the Purchaser shall
assume and become responsible for, and shall pay, perform, fulfill and discharge, all of the
Assumed Liabilities. The Purchaser is not assuming and will have no obligation to assume,
perform, or discharge any of the Excluded Liabilities, all of which shall remain the sole
responsibility and obligation of the Seller.

       2.3 Assigned Contracts. The Purchaser is not assuming and will have no obligation to
assume, perform, or discharge any Contracts, all of which shall remain the sole responsibility
and obligation of the Seller, except for the Assigned Contracts. As to the Assigned Contracts:

            (a) At Closing, Seller shall assign to Purchaser, and Purchaser shall assume, all of
the Assigned Contracts and Purchaser shall pay to the applicable counterparty the Cure Costs as
and when such Cure Costs become Liquidated Cure Costs.

             (b) Purchaser shall provide promptly any and all information required by the
Bankruptcy Code and the Bankruptcy Court to evidence Purchaser’s capability of satisfying the
conditions contained in Sections 365(b)(1)(C) and 365(f)(2)(B) of the Bankruptcy Code with
respect to the Assigned Contracts.

        2.4 Competing Transactions; Bankruptcy Court Approval. This Agreement is
subject to approval by the Bankruptcy Court and the consideration by Seller of higher or better
competing bids pursuant to the Bidding Procedures Order and the Bid Procedures approved
thereby (each, a “Competing Bid”). Until the transactions contemplated by this Agreement are
consummated, Seller may perform any and all other acts related to seeking a Competing Bid as
provided under the Bankruptcy Code, the Bidding Procedures Order or other applicable Law,
including but not limited to supplying information relating to the Purchased Assets to
prospective purchasers.

                                            ARTICLE III.
                                          PURCHASE PRICE

        3.1 Purchase Price. The Purchase Price shall be Fifty Million Dollars ($50,000,000),
subject to upward adjustment pursuant to Section 3.2(d) hereof ( the “Base Purchase Price”) and
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subject to the following sentence, shall be paid in cash at Closing subject to the purchase price
adjustments of (a) Five Hundred Thousand Dollars ($500,000), which was paid by Purchaser to
Seller on June 28, 2019 as consideration for the Tower GME Affiliation Agreement, that shall be
credited against the Base Purchase Price and (b) Two Hundred Twenty-Five Thousand Dollars
($225,000) for the break-up fee. In addition, an amount (the “Escrow Amount”) equal to Three
Million Dollars ($3,000,000) minus Liquidated Cure Costs paid by Purchaser on the Closing
Date will be withheld from the Base Purchase Price and placed into a non-interest bearing
escrow account (the “Escrow Account”) held by the Escrow Agent pursuant to the Escrow
Agreement. The Escrow Amount shall be distributed to Purchaser from time to time in
accordance with the Escrow Agreement to cover the following losses, damages and expenses
(collectively, the “Permitted Escrow Withdrawals”): (a) the CMS Discharge Amount, as and
when liquidated, (b) the Cure Costs not paid on the Closing Date and not included in the CMS
Discharge Amount, and (c) the Losses payable to a Purchaser Indemnified Party. To the extent
that there are any funds remaining in the Escrow Account on the date that is the one-year
anniversary of the Closing Date, such remaining funds minus any then pending written claims
asserted by Purchaser for Permitted Escrow Withdrawals (whether or not disputed) shall be
distributed to Seller in accordance with the Escrow Agreement without any further action being
required on the part of Purchaser. Upon resolution of any Permitted Escrow Withdrawals
pending as of the one-year anniversary of the Closing Date, (x) any amounts determined to be
owing to Purchaser shall be distributed to Purchaser, and (y) any amounts determined not to be
owing to Purchaser shall be distributed to Seller.

       3.2 Payment of Base Purchase Price. At Closing, the Base Purchase Price shall be
payable by Purchaser as follows:

             (a) Purchaser shall deposit the Escrow Amount into the Escrow Account pursuant
to and in accordance with the Escrow Agreement.

                        (b) Purchaser shall pay Liquidated Cure Costs as of the Closing Date.

             (c) Purchaser shall pay to the Seller the Forty-Six Million, Two Hundred Seventy-
Five Thousand Dollars ($46,275,000) balance of the Base Purchase Price by wire transfer of
immediately available funds to an account or accounts designated in writing by the Seller prior to
the Closing.

             (d) Purchaser shall reimburse Seller for the Tail Coverage Cost actually paid by
Seller to purchase the Tail Coverage Endorsement, up to a maximum of One Million Dollars
($1,000,000).

        3.3 Tax Allocation of Base Purchase Price. The Base Purchase Price shall be allocated
among the Purchased Assets in accordance with the IRS Form 8594, Asset Acquisition
Statement Under Section 1060 as agreed by the respective accountants of Purchaser and Seller
within a reasonable period of time after Closing in good faith consistent in all respects with
applicable Laws. The Seller and the Purchaser shall file their respective Tax returns in
accordance with such allocation and shall not take any position inconsistent with such allocation,
unless the Seller or the Purchaser, as the case may be, reasonably determines (and notifies the
other Party) that such allocation is contrary to applicable Law.


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                                         ARTICLE IV.
                        REPRESENTATIONS AND WARRANTIES OF THE SELLER

        Except as set forth in the disclosure letter delivered by the Seller to the Purchaser on the
date hereof (the “Seller Disclosure Letter”), the Seller represents and warrants to the Purchaser
as follows:

        4.1 Organization. The Seller is a limited liability company duly formed, validly
existing and in good standing under the laws of the State of Delaware and is duly qualified to do
business as a foreign corporation and is in good standing in each other jurisdiction where the
operation of the Business by the Seller requires such qualification, except where the failure to be
so qualified would not reasonably be expected to have, individually or in the aggregate, a
Material Adverse Effect.

        4.2 Power and Authority. Upon entry of and subject to the Sale Order, Seller shall
have all requisite power and authority to enter into this Agreement and the Ancillary Documents
and to consummate the transactions contemplated hereby and thereby. This Agreement has been
duly executed and delivered by the Seller. Upon entry of and subject to the Sale Order, this
Agreement shall constitute a valid and binding obligation of the Seller, enforceable against the
Seller in accordance with its terms.

        4.3 Non-contravention. Subject to the entry of the Sale Order by the Bankruptcy Court,
the execution and delivery of this Agreement or any other Ancillary Document to which the
Seller is a party, and the performance by the Seller of its obligations hereunder and thereunder,
will not (i) violate any provision of the organizational documents of the Seller, (ii) result in a
violation or breach of, or constitute (with or without due notice or lapse of time or both) a default
or breach (or give rise to any right of termination, amendment, cancellation or acceleration)
under any Assigned Contract, (iii) to Seller’s Knowledge, violate in any material respect any
Law or Order applicable to the Business or the Purchased Assets, or (iv) result in the imposition
of any Lien on the Purchased Assets.

        4.4 Consents. Upon entry of the Sale Order and upon each regulatory approval to which
Section 7.1(c) of this Agreement relates having been obtained, no approval, consent or
authorization of, or declaration, filing or registration with or any notification to any
Governmental Body or any other third Person is required in connection with the execution,
delivery or performance by the Seller of this Agreement or the consummation by the Seller of the
transactions contemplated hereby.

       4.5 Liabilities. The Seller has no Liabilities with respect to the Purchased Assets for
which the Purchaser will be responsible after Closing except for any Assumed Liabilities
assumed by the Purchaser.

        4.6 Title. The Seller has good and marketable title to all of the Purchased Assets, free
and clear of all Interests other than Interests which will be divested from the Purchased Assets by
the Sale Order. Upon the completion of the transactions contemplated hereby, the Purchaser will
be vested with good and marketable title to the Purchased Assets, free and clear of all Interests
other than Assumed Liabilities.


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        4.7 Litigation. There are no Proceedings pending, or to the Seller’s Knowledge,
threatened against the Purchased Assets or Business, at Law or in equity, or before any
Governmental Body which will interfere with the ownership or use by the Purchaser of the
Purchased Assets after the Closing.
        4.8 Proceedings. There is no Proceeding pending that challenges, or that is reasonably
likely to have the effect of preventing, delaying or rendering illegal any of the transactions
contemplated by this Agreement.

        4.9 Tax Matters. There are no Tax Liens or Encumbrances for Taxes upon the
Purchased Assets and as of the end of the day on the Closing Date there will be no such Tax
Liens or Encumbrances. There is not and, as of the end of the day on the Closing Date there will
not be, any liability for Taxes affecting the Purchased Assets for which the Purchaser will at any
time have any liability for payment

        4.10 Brokers and Finders. Other than SSG, no broker, finder or investment banker is
entitled to any brokerage, finder’s or other fee or commission in connection with the transactions
contemplated hereby based upon arrangements made by or on behalf of the Seller. Seller will be
solely responsible for any fee, commission or other consideration of any kind due to SSG on
account of the transactions contemplated by this Agreement.

        4.11 Tail Coverage. Seller shall be solely responsible for purchasing and maintaining
the Tail Coverage Endorsement and shall incur all costs associated with the same, except as
provided in Section 3.2(d).

                                               ARTICLE V.

                        REPRESENTATIONS AND WARRANTIES OF PURCHASER.

             The Purchaser represents and warrants to the Seller as follows.

        5.1 Organization. The Purchaser is a nonprofit corporation duly formed, validly
existing and in good standing under the laws of the Commonwealth of Pennsylvania and has all
requisite power and authority to conduct its business and own and operate its properties.

             5.2 Power and Authority.

           (a) The Purchaser has all requisite power and authority to enter into this Agreement
and the Ancillary Documents and to consummate the transactions contemplated hereby and
thereby. This Agreement has been duly executed and delivered by the Purchaser. This
Agreement is a valid and binding obligation of the Purchaser, enforceable against the Purchaser
in accordance with its terms.

          (b) To the extent that this Agreement or any of the Ancillary Documents provides
that any Affiliate of the Purchaser makes any covenant or undertakes the payment or
performance of any obligation in connection with the transactions contemplated hereunder or
thereunder, such Affiliate has all requisite power and authority to enter into the transactions
contemplated hereby and thereby.


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       5.3 Non-contravention. Neither the execution and delivery of this Agreement or any
other Ancillary Document to which the Purchaser is a party, will (i) violate any provision of the
organizational documents of the Purchaser, or (ii) violate any Law or Order applicable to the
Purchaser.

      5.4 No Proceedings. There are no actions, suits or proceedings pending, or to the actual
knowledge of Purchaser, threatened, before or by any Governmental Body, against Purchaser
which would affect Purchaser’s ability to proceed with the transactions contemplated by this
Agreement.

       5.5 Consents. No consent, waiver, authorization or approval of any person or
declaration, filing or registration with any Governmental Body or other Person is required in
connection with the execution and delivery by Purchaser of this Agreement or the performance
by Purchaser or its Affiliates of its respective obligations hereunder or thereunder.

        5.6 Bankruptcy Matters. Purchaser is capable of satisfying the adequate assurance of
future performance conditions contained in Section 365(f)(2)(B) of the Bankruptcy Code with
respect to each Assigned Contract.

        5.7 Financing. Purchaser has readily-available cash on hand, availability under existing
lines of credit, or other immediately available financial resources sufficient to pay the Base
Purchase Price at Closing.

        5.8 Purchaser’s Hospital Facilities. Purchaser owns and operates six Medicare-
participating hospitals located within 60 miles of Hahnemann University Hospital’s facility, all
of which have the capacity to operate medical residency programs.

        5.9 Certain Relationships. Neither the Purchaser nor any officer, director, manager,
member, Representative or Affiliate of the Purchaser is an officer or director of the Seller or a
Related Person of any officer, director or key employee of the Seller. Neither the Purchaser nor
any officer, director, manager, member, Representative or Affiliate of the Purchaser has entered
into any Contract with any officer, director or key employee of the Seller.

        5.10 Brokers and Finders. No Person has acted, directly or indirectly, as a broker,
finder or financial advisor for Purchaser in connection with the transactions contemplated
hereunder and no Person is entitled to any fee or commission or like payment in respect thereof.

                                         ARTICLE VI.

                                COVENANTS OF THE PARTIES

        6.1 Access to Information. Subject to all Applicable Privacy and Security Laws, the
Seller shall permit the Purchaser’s Representatives to have, upon prior written notice, reasonable
access during normal business hours and under reasonable circumstances, and in a manner so as
not to interfere with the normal business operations of the Business, to the personnel, books,
records, Assigned Contracts, and documents of or pertaining to the Purchased Assets; provided,
that the Seller may restrict the foregoing access to the extent that in the reasonable judgment of
the Seller, any Law applicable to the Seller requires it to restrict access to any of its business,

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properties, information or personnel; and provided, further, that such access shall not
unreasonably disrupt the operations of the Seller or the Business.

        6.2 Conduct of the Business. From the date hereof until the Closing Date, except as
otherwise provided in this Agreement or consented to in writing by Purchaser (which consent
shall not be unreasonably withheld, conditioned or delayed), and subject in all respects to the
Bankruptcy Code and orders of the Bankruptcy Court (including, without limitation, the Sale
Order), the Seller shall use its commercially reasonable efforts to preserve intact its relationships
with Residents at Hahnemann University Hospital and the graduate medical educational
programs at Hahnemann University Hospital (the “Hahnemann Programs”). Seller and
Purchaser shall work cooperatively to determine clinical rotation assignments for Residents, with
such mutually-agreed assignments to commence as soon as practicable after the Purchase
Agreement is entered into. For the avoidance of doubt, neither the existence of this Agreement
nor any provisions set forth herein shall restrict Seller from agreeing to release the related cap on
Medicare reimbursement on a temporary basis for those Residents who elect not to become
Continuing Residents.

        6.3 Notification of Certain Matters. From time to time prior to the Closing Date, the
Parties shall promptly notify each other of the occurrence or non-occurrence of any event or
circumstance that as applicable, indicates (a) that any of the representations and warranties set
forth herein may not be, will not be, or are not, true and correct, or (b) any failure on its part to
comply with or satisfy, in any material respect, any covenant, agreement or condition to be
complied with or satisfied by it pursuant hereto (any such notification, a “Required
Notification”); provided, however, that in each case, such disclosure shall not be deemed to (i)
amend or supplement any Schedule hereto, or (ii) cure any breach of such representation,
warranty, covenant or agreement or satisfy any condition set forth herein.

        6.4 Cooperation. Subject in all respects to the Bankruptcy Code and the Bankruptcy
Cases, the Parties shall use their respective commercially reasonable efforts to (a) take or cause
to be taken all actions, and to do or cause to be done all other things, necessary, proper or
advisable to expeditiously satisfy the closing conditions set forth in Article VII and to
consummate the transactions contemplated hereby as promptly as practicable, and (b) obtain in a
timely manner all necessary waivers, consents and approvals and to effect all necessary
registrations and filings in connection with the foregoing.

        6.5 Records Retention and Access. For a period of six (6) years following the Closing
or such shorter period that records are required to be retained by applicable Law (but in no event
less than three (3) years), Purchaser shall at Seller’s expense furnish to the Seller, to the extent
in Purchaser’s possession and following receipt of a reasonable, written request therefor,
information that is necessary for Seller to prepare for, prosecute or defend against any
Proceeding related to the Business, to validate claims filed in the Bankruptcy Case and/ or to
enable Seller and its Representatives to prepare, complete and file all required federal, state and
local Tax returns in accordance with applicable Law.

        6.6 Cure Costs. Seller shall not agree to the amount of any Liquidated Cure Costs
without the written consent of Purchaser. From and after the Closing Date, Purchaser shall have
the sole right to contest and settle any claims for Cure Costs and, to the extent necessary and

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permitted by the Bankruptcy Court, Seller shall cooperate in substituting Purchaser for Seller (at
Purchaser’s expense) in connection with any pending objections to Cure Costs.

       6.7 Bid Procedures. Seller shall not modify the Bid Procedures without the consent of
Purchaser.

      6.8 Covenants of Purchaser Regarding Transition and Accommodation of
Residents.

            (a) Purchaser will accommodate a maximum of 583 Continuing Residents to pursue
continued medical residency training at Purchaser-owned hospitals. If requested by Purchaser,
Seller shall take all reasonable actions to reflect its consent to the transfer of Continuing
Residents to Purchaser. For any Resident who does not become a Continuing Resident and
elects to pursue their training at hospitals that are not owned by Purchaser, Purchaser agrees to
release the GME cap associated with Medicare reimbursement for such Residents on a temporary
basis to the hospital where the Resident transfers until the Resident has completed training.

           (b) If the Continuing Residents are required to relocate their personal residence to
continue their training with Purchaser, Purchaser shall provide reasonable private housing for
such residents for the longer of the remainder of the current academic year or for the duration of
a Resident’s existing vacated lease. The provision of reasonable private housing shall not extend
beyond the Resident’s completion of his or her residency training with Purchaser

            (c) Purchaser shall use reasonable efforts to transfer Seller’s residency program
faculty to its hospitals so that they can continue to provide education to Residents.

            (d) Purchaser shall provide Continuing Residents with free meals during the time that
they are training at Purchaser hospitals.

          (e) Purchaser shall provide additional transition resources to Continuing Residents as
may be requested by Seller from time to time.

           (f) The parties shall cooperate in determining the initial clinical rotation assignments
for Continuing Residents for the period following the transfer.

        6.9 Covenants of Purchaser Regarding Continued Affiliation with St. Christopher’s
Hospital for Children. For the period of ten (10 years after the Closing with automatic
renewals for periods of five (5) years, provided that at the time of each such renewal such
resident caps are used for resident training at STC only, unless either party gives not less than
one hundred eighty (180) days’ notice, Purchaser agrees to, and to cause any successor or
assignee of any Purchased Assets to agree to: (i) enter into an agreement to continue
participating in a “Medicare GME affiliated group” as that term is defined in 42 C.F.R.
413.75(b), with St. Christopher’s Hospital for Children (“STC”), whereby Purchaser will
continue sharing full-time equivalent resident caps for direct graduate medical education with
STC; (ii) accept assignment of the Medicare GME Affiliation Agreement for July 1, 2019
through June 30, 2020 between STC and Seller (the “STC GME Affiliation Agreement”) or
enter into a new GME affiliation agreement substantially in the form of the STC GME
Affiliation Agreement; and (iii) ensure that it and STC participate in a “shared rotation
agreement” each academic year..
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             6.10 Covenants of Purchaser Regarding Other GME Affiliation Agreements.

            (a) For the remainder of the academic year during which the Closing occurs,
Purchaser shall accept assignment from Seller of the GME Affiliation Agreements identified
listed as numbered items 1, 2 and 4 (but not 3) under the heading Current GME Affiliation
Agreements on Schedule A-1 to Exhibit A of this Agreement (the “Current GME Affiliation
Agreements”) (with any cure amounts with respect to any agreements assumed pursuant to this
Section 6.10(a) being included as “Cure Costs” for purposes of this Agreement) or enter into new
GME affiliation agreements with those counterparties substantially in the form of the Current
GME Affiliation Agreements; and

           (b) Purchaser shall, subject to Purchaser’s completion of due diligence, accept
assignment of the agreements identified under the heading GME Obligations on Schedule A-1 to
Exhibit A of this Agreement to participate in “Medicare GME affiliated groups” and fulfill the
obligations thereunder arising after the Closing Date for the duration of the term of such
agreements (with any cure amounts with respect to any agreements assumed pursuant to this
Section 6.10(b) being included as “Cure Costs” for purposes of this Agreement).

        6.11 Covenant of Seller Regarding Tail Coverage Endorsement for Residents. At or
prior to Closing, Seller shall obtain the Tail Coverage Endorsement.
                                       ARTICLE VII.
                                  CONDITIONS TO CLOSING

        7.1     Conditions to Obligations of Each Party. The respective obligations of each
Party to consummate the transactions contemplated hereby shall be subject to the satisfaction or
waiver at or prior to the Closing of the following conditions:

                  (a) Proceedings; Orders. No Governmental Body of competent jurisdiction
shall have enacted, issued, promulgated, enforced or entered any Law or Order (whether
temporary, preliminary or permanent) that (i) is in effect and (ii) has the effect of making the
transactions contemplated hereby illegal or otherwise prohibiting consummation of such
transactions.

                   (b) Sale Order. The Bankruptcy Court shall have entered the Sale Order with
such changes as are mutually agreed to by the Seller and Purchaser, each in the exercise of its
respective sole discretion.

                    (c) Regulatory Approvals. CMS, the Pennsylvania Department of Health
(“DOH”) and the Accreditation Council for Graduate Medical Education (“ACGME”) and any
other applicable regulatory authority or Governmental Body, in each case to the extent required,
shall have consented to the transactions contemplated by this Agreement and, solely with respect
to CMS, shall have provided confirmation, in form and substance satisfactory to Purchaser in its
sole discretion, that the transactions contemplated herein will result in a permanent (subject to
statutory or regulatory changes that may in the future affect teaching hospitals generally)
increase in Purchaser’s residency slot cap by the full amount of Seller’s residency slot cap.

                 (d) CMS Discharge Amount. Any order setting the CMS Discharge Amount
shall have become a Final Order.
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        7.2    Additional Conditions to Obligations of the Purchaser. The obligations of the
Purchaser to effect the transactions contemplated hereby are subject to satisfaction or waiver of
the following additional conditions:

                (a)      Representations and Warranties. The representations and warranties of the
Seller set forth in this Agreement shall be true and correct (without giving effect to any limitation
as to “materiality” or “Material Adverse Effect” or similar qualifications) as of the Closing Date,
as if made as of such time (except to the extent that such representations and warranties
expressly speak as of another date, in which case such representations and warranties shall be
true and correct as of such date), except where the failure of such representations and warranties
to be so true and correct would not, individually or in the aggregate, have a Material Adverse
Effect.

              (b)      Agreements and Covenants. The Seller shall have performed and
complied with all of its covenants hereunder in all material respects through the Closing.

               (c)    Documents. All of the documents, instruments and agreements required to
be executed and/or delivered by Seller on or prior to Closing pursuant to Section 8.2 of this
Agreement shall have been executed by the parties thereto other than the Purchaser and delivered
to the Purchaser.

                 (d)     Successor Liability. Entry of an Order of the Bankruptcy Court, which
may be the Sale Order, which precludes the assertion of any successor, vicarious, or transferee
liability (by piercing the corporate veil or otherwise) against the Purchaser, relating to claims,
administrative proceedings or actions brought by or on behalf of any Government Body,
accrediting body, or other third party relating to the operation of the Business prior to Closing.
For avoidance of doubt, nothing in this paragraph is intended, nor shall it be construed, to
preclude the collection of the CMS Discharge Amount from the Escrow Account as provided
herein.

        7.3     Additional Conditions to Obligations of the Seller. The obligations of the
Seller to effect the transactions contemplated hereby are subject to satisfaction or waiver by the
Seller of the following additional conditions:

                (a)     Representations and Warranties. The representations and warranties of the
Purchaser set forth in this Agreement shall be true and correct (without giving effect to any
limitation as to “materiality” or similar qualifications) as of the Closing Date, as if made as of
such time (except to the extent that such representations and warranties expressly speak as of
another date, in which case such representations and warranties shall be true and correct as of
such date), except where the failure of such representations and warranties to be so true and
correct would not, individually or in the aggregate, have a Purchaser Material Adverse Effect.

              (b)      Agreements and Covenants. The Purchaser shall have performed and
complied with all of its covenants hereunder in all material respects through the Closing.

              (c)     Documents. All of the documents, instruments and agreements required to
be executed and/or delivered by Purchaser on or prior to Closing pursuant to Section 8.3 of this

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Agreement shall have been executed by the parties thereto other than the Seller and delivered to
the Seller.

                                      ARTICLE VIII.
                 CLOSING; DELIVERIES AND ACTIONS TAKEN AT THE CLOSING

        8.1 Closing. The closing of the transactions contemplated hereby (the “Closing”) shall
take place at the offices of Stevens & Lee, P.C., 1818 Market St., 29th Floor, Philadelphia, PA.,
or such other place or remotely by mail, e-mail and/or wire transfer, in each case to the extent
acceptable to each of the Parties, as soon as practicable following the satisfaction or waiver of
the conditions set forth in Article VII hereof and in any event within three (3) Business Days
thereafter (the “Closing Date”). The Closing shall be deemed to have occurred at 12:01 a.m.,
Eastern Standard Time, on the Closing Date.

        8.2 Deliveries by the Seller at the Closing. At the Closing, Seller shall furnish and
deliver to the Purchaser the following:

                        (a) the Bill of Sale, duly executed by the Seller;

                        (b) the Assignment and Assumption Agreement, duly executed by the Seller;

             (c) a certificate, dated as of the Closing Date and signed the Seller, certifying that
each of the conditions set forth in Sections 7.2(a) and 7.2(b) have been satisfied;

                        (d) a copy of the Sale Order;

                        (e) evidence of satisfaction of Section 6.11; and;

             (f) all other certificates, instruments and documents reasonably required to be
delivered by the Seller pursuant to this Agreement or any of the Ancillary Documents.

       8.3 Deliveries by the Purchaser at the Closing. At the Closing, Purchaser shall furnish
and deliver to Seller the following:

             (a) the Forty-Six Million, Two Hundred Seventy-Five Thousand Dollar
($46,275,000) portion of the Base Purchase Price in excess of the Escrow Amount and the
Liquidated Cure Costs by wire transfer of immediately available funds to an account designated
in writing by the Seller;

            (b) reimbursement of up to One Million Dollars ($1,000,000) of Tail Coverage
Costs as provided in Section 3.2(d);

                        (c) the Assignment and Assumption Agreement, duly executed by the Purchaser;

              (d) a certificate, dated as of the Closing Date and signed the Purchaser, certifying
that each of the conditions set forth in Sections 7.3(a) and 7.3(b) have been satisfied; and

                        (e) evidence of satisfaction of Section 6.9;


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                        (f) evidence of satisfaction of Section 6.10; and

            (g) all other certificates, instruments and documents required to be delivered by the
Purchaser pursuant to this Agreement or any of the Ancillary Documents.

       8.4 Additional Actions Taken by the Purchaser at the Closing. At the Closing,
Purchaser shall take the following actions:

         (a) Pay the Liquidated Cure Costs from the Base Purchase Price to the respective
Persons entitled to receive them.

               (b) Fulfill its covenants under Sections 6.8, 6.9 and 6.10 of this Agreement.

                                                   ARTICLE IX.
                                                  TERMINATION

       9.1                Termination. This Agreement may be terminated at any time prior to the
Closing:

                        (a) By mutual written consent of the Seller and the Purchaser;

              (b) By (i) the Seller if, as of the day after the Outside Closing Date, any condition
to the obligation of the Seller to close has not been satisfied, provided, however, that if the
Closing has not occurred on or before the Outside Closing Date due to a material breach of any
representations, warranties, covenants or agreements contained in this Agreement by Seller, then
Seller may not terminate this Agreement pursuant to this Section 9.1(b), and (ii) the Purchaser if,
as of the day after the Outside Closing Date, any condition to the obligation of the Purchaser to
close has not been satisfied provided, however, that if the Closing has not occurred on or before
the after the Outside Closing Date due to a material breach of any representations, warranties,
covenants or agreements contained in this Agreement by Purchaser, then the Purchaser may not
terminate this Agreement pursuant to this Section 9.1(b);

             (c) By Purchaser, in its sole and absolute discretion, if the sum of the (i) CMS
Discharge Amount, and (ii) without duplication of the CMS Discharge Amount, (A) the
Liquidated Cure Costs, and (B) the good faith estimate by Purchaser of the amount of any Cure
Costs related to Assigned Contracts which will become Liquidated Cure Costs after the Closing
Date, exceeds Three Million Dollars ($3,000,000);

             (d) Automatically, and without further action by any Party, upon the issuance of a
Final Order to restrain, enjoin or otherwise prohibit the closing of the transactions contemplated
hereby, provided that neither the Seller nor the Purchaser shall take any action to support entry of
such an order;

             (e) Automatically, and without further action by any Party, if the Bankruptcy Case
is converted into a case under Chapter 7 of the Bankruptcy Code or is dismissed, provided that
neither the Seller nor the Purchaser shall take any action to support entry of such an order;

             (f) By the Purchaser, if the Purchaser is not in material breach of its obligations
under this Agreement, and if (i) the Seller fails to close on the Closing Date notwithstanding the
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satisfaction of all conditions to the obligation of the Seller to close (other than conditions related
to deliveries to be made at Closing by the Purchaser provided the Purchaser is ready, willing and
able to make such deliveries as of the Closing Date), (ii) any of the representations and
warranties of the Seller herein become untrue or inaccurate such that the condition set forth
Section 7.2(a) would not be satisfied or (iii) there has been a breach on the part of the Seller of
any of its covenants or agreements contained in this Agreement such that the condition set forth
in Section 7.2(b) would not be satisfied, and, in the case of clauses (ii) and (iii) hereof, such
breach (if curable) has not been cured within ten (10) days after written notice thereof to the
Seller;

               (g) By the Seller, if the Seller is not in material breach of its obligations under this
Agreement, and if (i) the Purchaser fails to close on the Closing Date notwithstanding the
satisfaction of all conditions to the obligation of the Purchaser to close (other than conditions
related to deliveries to be made at Closing by the Seller provided the Seller is ready, willing and
able to make such deliveries as of the Closing Date), (ii) any of the representations and
warranties of the Purchaser herein become untrue or inaccurate such that the condition set forth
in Section 7.3(a) would not be satisfied or (iii) there has been a breach on the part of the
Purchaser of any of its covenants or agreements contained in this Agreement such that the
condition set forth in Section 7.3(b) would not be satisfied, and, in the case of clauses (ii) and
(iii) hereof, such breach (if curable) has not been cured within ten (10) days after written notice
thereof to the Purchaser;

            (h) Automatically, and without further action by any Party, upon the earlier of (A)
Closing with the Successful Bidder, and (B) the Outside Closing Date.

        9.2 .Effect of Termination. Except as provided in this Section 9.2, in the event of the
termination of this Agreement pursuant to Section 9.1, this Agreement (other than this
Section 9.2, which shall survive such termination) will forthwith become void, and there will be
no liability on the part of any Party to the other and all rights and obligations of any Party will
cease, except that nothing herein shall relieve any Party from liability for any intentional and
material breach of this Agreement.

                                               ARTICLE X.
                                               INDEMNITY

             10.1 Indemnification by Seller.

             (a) Subject to this Article X and consummation of the Closing, Seller shall,
indemnify, defend and hold harmless Purchaser and Purchaser’s officers, directors, trustees,
members, employees, agents, Representatives and Affiliates (each, a “Purchaser Indemnified
Party”) against and in respect of any and all out-of-pocket losses, documented and reasonable
costs and expenses (including, without limitation, documented and reasonable costs of
investigation and defense and reasonable attorneys’ fees), claims, damages, obligations, or
liabilities, whether or not involving a third party claim, but only after deducting therefrom any
insurance proceeds and any indemnity, contribution or other similar payment received or
reasonably expected to be received by the Purchaser Indemnified Party in respect of any such
claim (collectively, “Losses”), arising out of, based upon or otherwise in respect of:

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                    (i) any inaccuracy in or breach of any representation or warranty of Seller
made in or under this Agreement or any of the Schedules attached hereto, or in any of the
certificates or other instruments or documents furnished to Purchaser by Seller pursuant to this
Agreement (determined in each case without regard to any qualification with respect to
materiality, Material Adverse Effect or similar qualification); provided, that the Seller shall not
have any liability under this clause (i) (other than with respect any intentional fraud on the part
of Seller) unless the aggregate of all Losses asserted under this clause (i) for which Seller would,
but for this proviso and but for the $25,000 per claim deductible described below, be liable
exceeds on a cumulative basis an amount equal to Two Hundred Thousand Dollars
($200,000.00);

                 (ii) any nonfulfillment or breach of any covenant or agreement by Seller under
this Agreement or any of the Schedules attached hereto;

                        (iii) any Liability or obligation of Seller which is an Excluded Liability; and

                        (iv) the ownership of any of the Excluded Assets by Seller after the Closing
Date.

          (b) Each Purchaser Indemnified Party shall take, and cause its Affiliates to take, all
reasonable steps to mitigate any Loss upon becoming aware of any event or circumstance that
would reasonably be expected to, or does, give rise thereto including incurring costs only to the
minimum extent necessary to remedy the breach that gives rise to such Loss.

           (c) NOTWITHSTANDING ANYTHING CONTAINED IN THIS
AGREEMENT OR ANY OF THE ANCILLARY DOCUMENTS TO THE CONTRARY,
SELLER WILL NOT BE LIABLE FOR ANY LOSS ASSERTED UNDER SECTION
10.1(a)(i) UNLESS THE CUMULATIVE LOSSES EXCEED $25,000 IN WHICH CASE
SELLER WILL, SUBJECT TO THE OTHER LIMITATIONS IN THIS ARTICLE X, BE
LIABLE TO INDEMNIFY THE PURCHASER INDEMNIFIED PARTY ONLY FOR
THE EXCESS OVER $25,000; AND THE SOLE REMEDY OF ANY PURCHASER
INDEMNIFIED PARTY AGAINST SELLER UNDER THIS AGREEMENT OR ANY OF
THE ANCILLARY DOCUMENTS FOR MONETARY DAMAGES, INCLUDING,
WITHOUT LIMITATION, COSTS OF INVESTIGATION AND DEFENSE AND
ATTORNEYS’ FEES, SHALL BE A TIMELY CLAIM BY PURCHASER PURSUANT
TO THE ESCROW AGREEMENT, AND LIMITED TO THE ESCROW AMOUNT.

        10.2 Indemnification by Purchaser. Subject to this Article X and consummation of the
Closing, Purchaser shall indemnify, defend and hold harmless Seller, Seller’s present, former,
and future officers, directors, trustees, members, employees, agents, Representatives and
Affiliates (each a, “Seller Indemnified Party”), against and in respect of any and all Losses
arising out of, based upon or otherwise in respect of:

            (a) any inaccuracy in or breach of any representation or warranty of Purchaser made
in or under this Agreement or any of the Schedules attached hereto, or in any of the certificates
or other instruments or documents furnished to Seller by Purchaser pursuant to this Agreement;
provided, that the Purchaser shall not have any liability under this clause (a) of Section 10.2
unless the claims asserted under this clause (a) involves Losses in excess of Twenty-Five

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Thousand Dollars ($25,000), at which time Purchaser shall be liable for the full amount of all
such Losses in excess of Twenty-Five Thousand Dollars ($25,000.00);

          (b) any nonfulfillment or breach of any covenant or agreement by Purchaser under
this Agreement or any of the Schedules attached hereto; and

                   (c) any of the Assumed Liabilities pursuant to this Agreement.

Each Seller Indemnified Party shall take, and cause its Affiliates to take, all reasonable steps to
mitigate any Loss upon becoming aware of any event or circumstance that would reasonably be
expected to, or does, give rise thereto including incurring costs only to the minimum extent
necessary to remedy the breach that gives rise to such Loss.

             10.3 Indemnification Procedures.

            (a) Within forty five (45) days after receipt by an indemnified party of written notice
of the commencement of any Proceeding against it to which the indemnification in this Article X
relates, such indemnified party shall, if a claim is to be made against an indemnifying party
under this Article X, give notice to the indemnifying party of the commencement of such
Proceeding.

            (b) If any Proceeding referred to in paragraph (a) above is brought against a Seller
Indemnified Party and it gives notice to Purchaser of the commencement of such Proceeding,
Purchaser will be entitled to participate in such Proceeding and, to the extent that it wishes,
assume the defense of such Proceeding with counsel reasonably satisfactory to such Seller
Indemnified Party and, after notice from Purchaser to such Seller Indemnified Party of its
election to assume the defense of such Proceeding, Purchaser will not, as long as it diligently
conducts such defense, be liable to such Seller Indemnified Party under this Article X for any
fees of other counsel or any other expenses with respect to the defense of such Proceeding, in
each case subsequently incurred by such Seller Indemnified Party in connection with the defense
of such Proceeding subject to the limitations contained in Section 10.1 hereof, other than
reasonable costs of investigation. If Purchaser assumes the defense of a Proceeding, (A) it will
be conclusively established for purposes of this Agreement that the claims made in that
Proceeding are within the scope of and subject to indemnification; and (B) no compromise or
settlement of such claims may be effected by Purchaser without such Seller Indemnified Party’s
consent unless (1) there is no finding or admission of any violation of law by such Seller
Indemnified Party (or any Affiliate thereof) or any violation of the rights of any Person and no
effect on any other claims that may be made against such Seller Indemnified Party, and (2) the
sole relief provided is monetary damages that are paid in full by Purchaser. Such Seller
Indemnified Party will have no liability with respect to any compromise or settlement of the
claims underlying such Proceeding effected without its consent. If notice is given to Purchaser
by a Seller Indemnified Party of the commencement of any Proceeding for which such Seller
Indemnified Party seeks indemnification hereunder and Purchaser does not, within ten (10) days
after such notice is received, give notice to such Seller Indemnified Party of Purchaser’s election
to assume the defense of such Proceeding, Purchaser will be bound by any determination made
in such Proceeding or any compromise or settlement effected by such Seller Indemnified Party.



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            (c) If any Proceeding referred to in paragraph (a) above is brought against a
Purchaser Indemnified Party, Seller shall be entitled to participate in such Proceeding at its own
expense. However, such Purchaser Indemnified Party shall, in all respects, control the defense
and settlement of such Proceeding and Seller shall be liable for all fees and expenses incurred by
such Purchaser Indemnified Party and for any liability established by any order of a
Governmental Body of competent jurisdiction and for any liability established by any settlement
or compromise agreed to by such Purchaser Indemnified Party, in the exercise of its reasonable
discretion.

        10.4 Other Claims. A claim for any matter not involving a third party claim may be
asserted by written notice to the Party from whom indemnification is sought.

        10.5 Seller Indemnification Claim Period. Except as may otherwise expressly be
provided in this Agreement and in the absence of intentional fraud or willful misrepresentation
by Seller, no claim for indemnification pursuant to Section 10.1 shall be made unless a claim
arises and written notice pursuant to Section 10.3 or Section 10.4 which reasonably describes the
claim, the basis therefor, and if possible with the exercise of reasonable diligence, the Purchaser
Indemnified Party’s reasonably-supported estimate of the Losses being asserted, is delivered to
Seller on or before the close of business on the day preceding the first (1st) anniversary of the
Closing Date (the “Claims Close Date”) in which case the indemnity with respect to that Loss
shall survive the Claims Close Date (but continue to be limited to the funds held in the Escrow
Account). For the avoidance of doubt, nothing herein is intended to limit any rights to equitable
relief not involving the payment of money to which the Purchaser or any Purchaser Indemnified
Party may be entitled.

        10.6 Purchaser Indemnification Claim Period. Except as may otherwise expressly be
provided in this Agreement and in the absence of intentional fraud or willful misrepresentation
by Purchaser, no claim for indemnification pursuant to Section 10.2 shall be made unless a claim
arises and written notice pursuant to Section 10.3 or Section 10.4 is delivered to Purchaser on or
before the Claims Close Date. For the avoidance of doubt, nothing herein is intended to limit any
rights to equitable relief not involving the payment of money to which the Seller or any Seller
Indemnified Party may be entitled.

        10.7 Payment from Indemnification Escrow. If a Purchaser Indemnified Party
becomes entitled to indemnification from Seller hereunder, such Purchaser Indemnified Party
shall be entitled to receive the amount of Losses in cash from the Escrow Account in accordance
with the Escrow Agreement, and the recovery of the Purchaser Indemnified Parties shall be
limited to such recoveries from the Escrow Account. For the avoidance of doubt, nothing herein
is intended to limit any rights to equitable relief to which the Purchaser or any Purchaser
Indemnified Party may be entitled.

        10.8 Miscellaneous Indemnification Provisions. Disclosures made after the date
hereof and any knowledge that is acquired about the accuracy or inaccuracy of or compliance
with any representation, warranty, covenant or obligation set forth herein shall not in any manner
affect rights to indemnification hereunder based on any such representation, warranty, covenant,
or obligation. The waiver of any condition based on the accuracy of any representation or
warranty, or compliance with any covenant or obligation, will not affect any right to

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indemnification based on such representations, warranties, covenants and obligations unless
otherwise expressly agreed in writing by the party or parties entitled to the benefit thereto.

                                               ARTICLE XI.
                                             MISCELLANEOUS

        11.1 Expiration of Representations, Warranties and Agreements. The
representations and warranties and covenants made by Seller and Purchaser in this Agreement
and in any Ancillary Document delivered pursuant to this Agreement shall survive beyond the
Closing Date.

        11.2 Assignment. Neither this Agreement nor any interest herein may be assigned or
transferred by either Party to any other Person without the prior written consent of the other
Party, which consent may be given or withheld in the sole discretion of such other Party
provided, however, Purchaser may assign at Closing its rights, but not its obligations, hereunder
to any Affiliate of Purchaser.

        11.3 Notices. All notices, requests and other communications under this Agreement
shall be in writing and shall be either (a) delivered in person, (b) sent by certified mail, return-
receipt requested, (c) delivered by a recognized delivery service or (d) sent by facsimile
transmission and addressed as follows:

               If intended for Purchaser:               Clint Matthews, President and CEO
                                                        Tower Health
                                                        420 N. Fifth Avenue
                                                        West Reading, PA 19611

               With a copy to:                          Robert Lapowsky, Esquire
                                                        Stevens & Lee, P.C.
                                                        620 Freedom Business Center, Suite 200
                                                        King of Prussia, PA 19406

                                                        and

                                                        Joanne Judge
                                                        Stevens & Lee, P.C.
                                                        111 North Sixth Street
                                                        Reading, PA 19601


               If intended for Seller:                  Center City Healthcare, LLC




               With a copy to:                          Jeffrey Hampton
                                                        Adam Isenberg
                                                        Saul Ewing Arnstein & Lehr LLP
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                                                    Centre Square West
                                                    1500 Market Street, 38th Floor
                                                    Philadelphia, PA 19102-2186


or at such other address, and to the attention of such other person, as the parties shall give notice
as herein provided. A notice, request and other communication shall be deemed to be duly
received if delivered in person or by a recognized delivery service, when delivered to the address
of the recipient, if sent by mail, on the date of receipt by the recipient as shown on the return
receipt card, or if sent by facsimile, upon receipt by the sender of an acknowledgment or
transmission report generated by the machine from which the facsimile was sent indicating that
the facsimile was sent in its entirety to the recipient’s facsimile number; provided that if a notice,
request or other communication is served by hand or is received by facsimile on a day which is
not a Business Day, or after 5:00 P.M. on any Business Day at the addressee’s location, such
notice or communication shall be deemed to be duly received by the recipient at 9:00 A.M. on
the first Business Day thereafter.

        11.4 Further Assurances. Each of the Parties hereto shall execute such documents
(including, without limitation, the Ancillary Documents) and take such further actions as may be
reasonably required or desirable to carry out the provisions hereof and the transactions
contemplated hereby or, at or after the Closing, to evidence the consummation of the transactions
consummated pursuant to this Agreement.

        11.5 Entire Agreement; Modifications; Waivers. This Agreement (together with the
Exhibits and Schedules hereto), the Ancillary Documents, and the Non-Disclosure Agreement
constitute the entire agreement between the Parties with respect to the subject matter hereof and
thereof and supersedes all prior understandings of the Parties with respect to the subject matter
hereof and thereof. No supplement, modification or amendment of this Agreement will be
binding unless executed in writing by each Party. No waiver of any of the provisions of this
Agreement will be deemed to be or will constitute a continuing waiver. No waiver will be
binding unless executed in writing by the Party making the waiver.

        11.6 Applicable Law; Jurisdiction and Venue; Jury Trial Waiver. THIS
AGREEMENT AND THE TRANSACTIONS CONTEMPLATED HEREBY SHALL BE
GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE
STATE OF DELAWARE. The Parties agree that jurisdiction and venue for any litigation
arising out of this Agreement shall be in the Bankruptcy Court; provided, however, that if at the
time of commencement of any such litigation, there is no longer a pending Bankruptcy Case,
jurisdiction and venue for any litigation arising out of this Agreement shall be in the courts of the
State of Delaware or U.S. District Court for the District of Delaware, and the Parties each hereby
waive any objections they may have with respect thereto (including any objections based upon
forum non conveniens). EACH OF THE PARTIES HEREBY IRREVOCABLY WAIVES
ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDING
ARISING OUT OF OR RELATED TO THIS AGREEMENT, ANY ANCILLARY
DOCUMENT, OR THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY.



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       11.7 Headings and Captions. The headings and captions in this Agreement are inserted
for convenience of reference only and in no way define, describe, or limit the scope or intent or
otherwise affect the interpretation of, this Agreement or any of the provisions hereof.

        11.8 Binding Effect. This Agreement shall be binding upon and shall inure to the
benefit of the Parties hereto and their respective successors and permitted assigns.

        11.9 Time is of the Essence. With respect to all provisions of this Agreement, time is of
the essence. However, if the first date or last date of any period which is set out in any provision
of this Agreement falls on a day which is not a Business Day, then, in such event, the time of
such period shall be extended to the next day which is a Business Day.

       11.10 Remedies Cumulative. Except as herein expressly set forth, no remedy conferred
upon a Party by this Agreement is intended to be exclusive of any other remedy herein or by law
provided or permitted, but each shall be cumulative and shall be in addition to every other
remedy given herein or now or hereafter existing at law, in equity or by statute.

             11.11 Interpretation and Construction.

            (a) As used herein the words “include”, “includes” and “including” shall be
deemed to be followed by the phrase “without limitation”.

              (b) As used herein, the words “herein,” “hereof,” “hereunder” and similar terms
shall refer to this Agreement unless the context requires otherwise.

             (c) For purposes of this Agreement, whenever the context so requires, the neuter
gender includes the masculine and/or feminine gender, and the singular number includes the
plural and vice versa.

        11.12 Estoppel. Each Party confirms and agrees that (a) it has read and understood all
of the provisions of this Agreement; (b) it is familiar with major sophisticated transactions such
as those contemplated by this Agreement; (c) it has negotiated with the other Party at arm’s
length with equal bargaining power; and (d) it has been advised by competent legal counsel of its
own choosing.

         11.13 Joint Preparation. The Parties have participated jointly in the negotiation and
drafting of this Agreement. In the event an ambiguity or question of intent or interpretation
arises, this Agreement shall be construed as if drafted jointly by the Parties and no presumption
or burden of proof shall arise favoring or disfavoring any Party by virtue of the authorship of any
of the provisions of this Agreement.

             11.14 Expenses; Transfer Taxes.

              (a) Except as otherwise expressly provided in this Agreement, each Party will bear
its respective expenses incurred in connection with the preparation, negotiation, execution, and
performance of this Agreement and the transactions contemplated hereby, including all fees and
expenses of agents, representatives, counsel, and accountants.


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              (b) The Purchaser and Seller shall each pay fifty (50%) percent of all sales, use,
transfer, real property transfer, documentary, recording and similar Taxes and fees, and any
deficiency, interest or penalty asserted with respect thereof arising out of or in connection with
the transactions contemplated hereby (“Transfer Taxes”).

        11.15 Counterparts. This Agreement may be executed at different times and in any
number of counterparts, each of which when so executed shall be deemed to be an original and
all of which taken together shall constitute one and the same agreement. Delivery of an executed
counterpart of a signature page to this Agreement by e-mail shall be as effective as delivery of a
manually executed counterpart of this Agreement.

       11.16 Severability. If any term or other provision of this Agreement is invalid, illegal or
incapable of being enforced under any Law or as a matter of public policy, all other conditions
and provisions of this Agreement shall nevertheless remain in full force and effect.

                                     [Signature page follows.]




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       IN WITNESS WHEREOF, the Seller and the Purchaser have caused this Agreement to
be executed as of the date first written above.

                                             SELLER:

                                             CENTER CITY HEALTHCARE, LLC



                                             By:
                                                   Allen Wilen
                                                   Chief Restructuring Officer - Finance




                                             PURCHASER:

                                             READING HOSPITAL


                                             By:
                                                   Clint Matthews
                                                   President and CEO
                                                   Sole Member of Tower Health




                           [Signature page to Asset Purchase Agreement]




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                                            EXHIBIT A

                                         Purchased Assets

               The Purchased Assets to be purchased by the Purchaser and sold, conveyed,
assigned, transferred and delivered on the Closing Date to the Purchaser by the Seller shall
include all of the Seller’s right, title and interest in and to all of the following assets, but
specifically excluding, however, the Excluded Assets:

               1. Assigned Contracts. All of the Seller’s rights and interests as of the Closing
Date under or relating to the Contracts specifically identified on Schedule A-1 to this Exhibit A.

                2. Books and Records. All Books and Records related to the Purchased Assets,
but specifically excluded any Corporate Documents.

               3. Governmental Authorizations. All transferable Governmental Authorizations
identified on Schedule A-2 to this Exhibit A.

                4. Rights; Warranty Claims. All of Seller’s rights, claims, counterclaims, credits,
causes of action or rights of set-off against third parties that relate to warranties, indemnities, and
all similar rights to the extent related to any Purchased Assets.

               5. Other Assets. Those other assets of the Seller identified on Schedule A-3 to
this Exhibit A.




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                                                            Schedule A-1

  I.                Resident and Fellow Employment Agreements for those residents and fellows who elect to join Tower
       Health

 II.                Current GME Affiliation Agreements

                    1. Medicare GME Affiliation Agreement for July 1, 2019 Through June 30, 2020 between the Trustees of
                       the University of Pennsylvania, as the owner and operator of the Hospital of the University of
                       Pennsylvania, and Seller.
                    2. Medicare GME Affiliation Agreement for July 1, 2019 Through June 30, 2020 between Prime
                       Healthcare Services Roxborough, LLC, the owner and operator of Roxborough Memorial Hospital,
                       and Seller.
                    3. Medicare GME Affiliation Agreement for July 1, 2019 Through June 30, 2020 among Temple
                       University Hospital, Seller and St. Christopher’s Healthcare, LLC d/b/a St. Christopher’s Hospital for
                       Children.
                    4. Medicare GME Affiliation Agreement for July 1, 2019 Through June 30, 2020 between Friends
                       Behavioral Health System and Seller.
III.                GME Obligations

                    Graduate Hospital/Penn
                     Agreement Regarding Medicare FTE Resident Caps, between the Trustees of the University of
                        Pennsylvania and Tenet HealthSystem Hahnemann, LLC, dated March 30, 2007

                    Roxborough and Warminster/Solis
                     Agreement Regarding Medicare FTE Resident Caps between Solis Healthcare, LP and Tenet
                        HealthSystem Hahnemann, LLC, dated July 1, 2007
                     Second Amendment to Agreement Regarding Medicare FTE Resident Caps; between Solis
                        Healthcare, LP and Tenet HealthSystem Hahnemann, LLC dated June 29, 2010

                    St. Christopher’s Hospital for Children/Temple
                      Academic Affiliation Agreement among Temple and affiliates and Tenet HealthSystem St.
                         Christopher’s Hospital For Children, LLC and affiliates dated October 19, 2007

                    Hahnemann/Friends
                     Residency Rotation Agreement between Tenet HealthSystem Hahnemann, LLC and Friends
                        Behavioral Health System, LP dated June 2008
                     Memorandum of Understanding for Residency Rotation Agreement between Tenet HealthSystem
                        Hahnemann, LLC and Friends Behavioral Health System, LP


IV.                 The Participating Provider Agreement

 V.                 The Tower GME Affiliation Agreement




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                                          Schedule A-2
                                  Governmental Authorizations



            Acute Care General Hospital License for Hahnemann University Hospital (“HUH”)
             issued by the Pennsylvania Department of Health
            Medicare Participation Agreement and associated Medicare Provider Number
             390290 issued by the Centers for Medicare & Medicaid Services to HUH. The
             residents associated with the [36] ACGME-approved Graduate Medical Education
             Programs at HUH




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                                         Schedule A-3
                                         Other Assets


None




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                                            Exhibit B

                        ASSIGNMENT, DELEGATION AND ASSUMPTION AGREEMENT

               ASSIGNMENT, DELEGATION AND ASSUMPTION AGREEMENT
(“Agreement”) dated as of [__________] by and between Center City Healthcare, LLC, a
Delaware limited liability company (“Assignor”), and Reading Hospital, a Pennsylvania
nonprofit corporation (“Assignee”).

                                         BACKGROUND

     A. ASSIGNEE AND ASSIGNOR HAVE ENTERED INTO AN ASSET PURCHASE
AGREEMENT DATED AS OF [___________] (TOGETHER WITH THE EXHIBITS AND
SCHEDULES THERETO, THE “PURCHASE AGREEMENT”) PROVIDING FOR, AMONG
OTHER THINGS, THE SALE, TRANSFER, CONVEYANCE, ASSIGNMENT, AND
DELIVERY BY ASSIGNOR TO ASSIGNEE OF CERTAIN ASSETS OF ASSIGNOR
(COLLECTIVELY, THE “PURCHASED ASSETS”) THAT ARE OWNED OR USED BY
ASSIGNOR IN CONNECTION WITH THE BUSINESS.

           B. IN CONNECTION WITH THE SALE AND PURCHASE OF THE
PURCHASED ASSETS PURSUANT TO THE PURCHASE AGREEMENT, ASSIGNOR IS
TO ASSIGN AND DELEGATE, AND ASSIGNEE IS TO ASSUME, THE ASSIGNED
CONTRACTS. CLOSING IS BEING HELD ON THE DATE HEREOF UNDER THE
PURCHASE AGREEMENT.

              NOW, THEREFORE, pursuant to and in consideration of the Purchase
Agreement and the mutual covenants and agreements set forth therein and herein, Assignor and
Assignee, each intending to be legally bound, agree as follows:

                 1. Incorporation of Background; Defined Terms. The Background provisions set
forth above (including, without limitation, all of the defined terms set forth therein) are hereby
incorporated by reference into this Agreement and made a part hereof as if set forth in their
entirety in this Section 1. Capitalized terms used herein which are not otherwise defined shall
have the respective meanings assigned to them in the Purchase Agreement.

               2. Assignment of Rights. Assignor hereby sells, transfers, conveys, and assigns
to Assignee all of Assignor’s right, title and interest in, to and under all of the Assigned
Contracts, each of which are identified on Schedule 1 attached hereto.

                3. Delegation of Duties. Assignor hereby delegates to Assignee all of Assignor’s
duties and liabilities under the Assigned Contracts.

                 4. Assumption of Liabilities. In partial consideration for the sale of the
Purchased Assets by Assignor pursuant to the Purchase Agreement, Assignee hereby undertakes
and agrees to assume, discharge, or perform as the case may be, all duties, obligations, and
liabilities of Assignor under the Assigned Contracts which are to be performed after, and relate
to the period after, the date hereof or which are otherwise assigned to and assumed by the
Purchaser under or pursuant to the Purchase Agreement or the Sale Order.


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                 5. Assignment of Governmental Authorizations; Etc. Assignor hereby assigns,
sells, transfers, and sets over to Assignee all of Assignor’s right, title and interest in, to, and
under all of the Governmental Authorizations which are listed on Schedule 2 attached hereto, but
only to the extent that any of the foregoing may be legally sold, transferred, conveyed, assigned
and delivered by Assignor to Assignee without any action by any such applicable federal, state,
or local government or regulatory body.

                6. Binding Effect. This Agreement shall be binding upon and inure to the benefit
of the parties hereto and their respective successors and assigns.

                7. Governing Law. This Agreement shall be governed by, and construed in
accordance with, the domestic, internal laws of the State of Delaware, without regard to its rules
pertaining to the conflict of laws.

                8. Counterparts. This Agreement may be executed in two (2) or more
counterparts, each of which shall be deemed to be an original of this Agreement and all of which,
when taken together, will be deemed to constitute one and the same agreement. Any party to this
Agreement may deliver an executed counterpart hereof by facsimile transmission or electronic
mail (as a Portable Document Format (PDF) file) to the other party hereto and any such delivery
shall have the same force and effect as the manual delivery of an original executed counterpart of
this Agreement.

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              IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
duly executed and delivered by their duly authorized officers the day and year first above
written.

                                         CENTER CITY HEALTHCARE, LLC

                                         By _________________________________________
                                              Allen Wilen
                                              Chief Restructuring Officer - Finance
                                            “Assignor”


                                         READING HOSPITAL

                                         By _________________________________________
                                             Clint Matthews
                                             President and CEO of Tower Health
                                             Sole Member of Reading Hospital

                                                 “Assignee”




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                                         SCHEDULE 1

                                     ASSIGNED CONTRACTS




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                                        SCHEDULE 2

                        ASSIGNED GOVERNMENTAL AUTHORIZATIONS




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                                           EXHIBIT C

                                         BILL OF SALE

                                      __________ __, 2019

                 KNOW ALL BY THESE PRESENTS that CENTER CITY HEALTHCARE,
LLC, a Delaware limited liability company (the “Seller”), for good and valuable consideration,
the receipt and sufficiency of which is hereby acknowledged, and intending to be legally bound,
has granted, bargained, sold, conveyed, transferred, assigned and delivered, and by this Bill of
Sale hereby grants, bargains, sells, conveys, transfers, assigns and delivers, to Reading Hospital,
a Pennsylvania nonprofit corporation (“Purchaser”), its successors and assigns, all of the Seller’s
right, title and interest in and to the Purchased Assets. As used herein, the term “Purchased
Assets” has the meaning given to such term in that certain Asset Purchase Agreement, dated as
of -__________ __, 2019, by and between the Seller and Purchaser (together with the Exhibits
and Schedules thereto, the “Purchase Agreement”), which Purchase Agreement is incorporated
herein by this reference.

              EXCLUDING, HOWEVER, the “Excluded Assets” (as such term is defined in
the Purchase Agreement).

               TO HAVE AND TO HOLD the Purchased Assets unto Purchaser, its successors
and assigns, forever.

               This Bill of Sale is being executed and delivered by the Seller to the Purchaser
under and pursuant to Section 8.2(a) of the Purchase Agreement and is subject to the terms and
conditions of the Purchase Agreement in all respects.



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               IN WITNESS WHEREOF, Seller has executed and delivered this Bill of Sale as
of the date and year first set forth above.

                                 CENTER CITY HEALTHCARE, LLC


                                 By _______________________________________________
                                    Allen Wilen
                                    Chief Restructuring Officer - Finance




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                                          EXHIBIT D


                                     ESCROW AGREEMENT

[SELLER TO DRAFT USING TEMPLATE FROM JEFFERSON BUT SUBJECT TO
TOWER REVIEW]




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                                         EXHIBIT E

                                        SALE ORDER




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                                         EXHIBIT F

                               BIDDING PROCEDURES ORDER




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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

                                  )
In re:                            )                               Chapter 11
                                  )
CENTER CITY HEALTHCARE, LLC d/b/a )                               Case No. 19-11466 (KG)
HAHNEMANN UNIVERSITY HOSPITAL, et )
al.,1                             )                               Jointly Administered
                                  )
                    Debtors.      )                               Re: Docket No. 142
                                  )

       ORDER (I)(A) ESTABLISHING BIDDING PROCEDURES RELATING TO
     THE SALE OF THE DEBTORS’ RESIDENT PROGRAM ASSETS, INCLUDING
  APPROVING A BREAK-UP FEE, (B) ESTABLISHING PROCEDURES RELATING TO
  THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS,
   INCLUDING NOTICE OF PROPOSED CURE AMOUNTS, (C) APPROVING FORM
             AND MANNER OF NOTICE RELATING THERETO, AND
       (D) SCHEDULING A HEARING TO CONSIDER THE PROPOSED SALE


               Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

  debtors in possession (the “Debtors”) for the entry of an order (this “Bidding Procedures

  Order”): (a) approving the proposed bidding procedures attached as Schedule 1 to this Bidding

  Procedures Order (the “Bidding Procedures”), by which the Debtors will solicit and select the

  highest or otherwise best offer for the sale (the “Sale”) of the Residents Program Assets;

  (b) establishing procedures for the assumption and assignment of executory contracts, including

  notice of proposed cure amounts (the “Assumption and Assignment Procedures”);

  1
               The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
               number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
               Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
               PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
               Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
               Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
               (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
               230 North Broad Street, Philadelphia, Pennsylvania 19102.
  2
               Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to them in the
               Motion or the Bidding Procedures, as applicable.



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(c) approving the form and manner of notice with respect to certain procedures, protections,

schedules, and agreements described herein and attached hereto; (d) approving the Debtors’

selection of Tower Health (“Tower Health”) as the stalking horse bidder (the “Stalking Horse

Bidder”) 3, the Break-Up Fee (as defined below) for the Stalking Horse Bidder, and that certain

asset purchase agreement (as may be amended from time to time, the “Stalking Horse Sale

Agreement”), as filed with the Court [D.I. 246], among Debtor Center City Healthcare, LLC

d/b/a Hahnemann University Hospital (the “Seller”) and the Stalking Horse Bidder;

(e) scheduling a final hearing (the “Sale Hearing”) to approve the Sale; and (f) granting related

relief, and upon the Debtors’ further request that, at the Sale Hearing, this Court enter an order (a

“Sale Order”), a proposed form of which is attached as Exhibit E to the Stalking Horse Sale

Agreement: (x) authorizing the sale of the Residents Program Assets free and clear of Interests as

defined in footnote 4, below (the “Interests”)4, with any such Interests to attach to the proceeds

thereof with the same validity, extent and priority (under the Bankruptcy Code) as such Interests

existed immediately prior to the consummation of the Sale; (y) authorizing the assumption and

assignment of certain executory contracts; and (z) granting related relief, all as more fully

described in the Motion; and the Court having found that it has jurisdiction over this matter

3
             The Court has been advised that Reading Hospital, a subsidiary of Tower Health, will actually serve as the
             Stalking Horse Bidder and, as a result, all references herein to the Stalking Horse Bidder shall be deemed to
             include Reading Hospital.
4
             Interests shall include: (i) mortgages, security interests, conditional sale or other title retention agreements,
             pledges, liens, rights of offset, judgments, demands, encumbrances and claims (as that term is defined in
             the Bankruptcy Code), (ii) rights or options to effect any forfeiture, modification, repurchase, or
             termination of the Seller’s or purchaser’s interest in the Assigned Contracts and/or Residents Program
             Assets, regardless whether such are “claims” as that term is defined in the Bankruptcy Code, (iii) claims of
             the Pension Benefit Guaranty Corporation or any plan participant or beneficiary, (iv) tax claims (including
             taxes as to which applicable returns have not yet been filed, whether or not overdue), and (v) restrictions,
             rights of first refusal or charges of any kind or nature, if any, including, but not limited to, any restriction
             on the use, voting, transfer, receipt of income or other exercise of any attributes of ownership, regardless
             whether such are “claims” as that term is defined in the Bankruptcy Code, and with respect to the rights
             described in this sub-clause (v) only as they relate to the Resident Program Assets that are the subject of the
             Stalking Horse Bidder’s Stalking Horse Sale Agreement.



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pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of this proceeding and

the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court

having found that the relief requested in the Motion is in the best interests of the Debtors’ estates,

their creditors, and other parties in interest; and the Court having found that the Debtors provided

appropriate notice of the Motion and the opportunity for a hearing on the Motion under the

circumstances; and the Court having reviewed the Motion and having heard the statements in

support of the relief requested therein at a hearing, if any, before the Court; and the Court having

determined that the legal and factual bases set forth in the Motion and at the hearing establish

just cause for the relief granted herein; and upon all of the proceedings had before the Court; and

after due deliberation and sufficient cause appearing therefor, THE COURT HEREBY FINDS

THAT:

             A.          The findings of fact and conclusions of law herein constitute the Court’s findings

of fact and conclusions of law for the purposes of Bankruptcy Rule 7052, made applicable

pursuant to Bankruptcy Rule 9014. To the extent any findings of facts are conclusions of law,

they are adopted as such. To the extent any conclusions of law are findings of fact, they are

adopted as such.

             B.          This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue in this Court is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.

             C.          The statutory bases for the relief requested in the Motion are sections 105, 363,

365, 503, and 507 of the Bankruptcy Code, Bankruptcy Rules 2002(a)(2), 6004, 6006, 9007, and

9014, and Rule 6004-1 of the Local Rules of Bankruptcy Practice and Procedure of the United



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States Bankruptcy Court for the District of Delaware (the “Local Rules”). The legal and factual

bases set forth in the Motion establish just cause for the relief granted herein. Entry of this

Bidding Procedures Order is in the best interests of the Debtors and their respective estates,

creditors, and all other parties in interest.

             D.          Notice of the Motion, as relates to the Bidding Procedures Hearing and the

proposed entry of this Bidding Procedures Order, was adequate and sufficient under the

circumstances of these Chapter 11 Cases, and such notice complied with all applicable

requirements of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules. Notice of the

Motion as relates to the Bidding Procedures Hearing and the proposed entry of this Bidding

Procedures Order has been given to: (a) all entities known to have expressed an interest in a

transaction with respect to some or all of the Debtors’ Residents Program Assets during the past

six (6) months; (b) all entities known to have asserted any Interest in or upon any of the Debtors’

Residents Program Assets; (c) all federal, state, and local regulatory or taxing authorities or

recording offices which have a reasonably known interest in the relief requested by this Motion;

(d) known counterparties to any unexpired leases or executory contracts related to the Residents

Program Assets that could potentially be assumed and assigned to the Successful Bidder;

(e) counsel to MidCap Funding IV Trust; (f) Drexel University d/b/a Drexel University College

of Medicine; (g) the Debtors’ unions; (h) the Internal Revenue Service; (i) the United States

Attorney for the District of Delaware; (j) the United States Department of Justice; (k) the

Pennsylvania Attorney General’s Office; (l) the Pennsylvania Department of Health; (m) the City

of Philadelphia; (n) the CMS; (o) the ACGME; and (p) any party that has requested notice

pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”). Accordingly, no further




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notice of the Motion as relates to the Bidding Procedures Hearing and the proposed entry of this

Bidding Procedures Order is necessary or required.

             E.          The Debtors have demonstrated a compelling and sound business justification for

the Court to grant the relief requested in the Motion as relates to the entry of this Bidding

Procedures Order, including, without limitation:                (a) approval of the Bidding Procedures;

(b) approval of the selection of the Stalking Horse Bidder and approval of the Break-Up Fee to

be paid to the Stalking Horse Bidder under the circumstances described in the Motion;

(c) approval of the Assumption and Assignment Procedures; (d) approval of the form and

manner of notice of all procedures, protections, schedules, and agreements described in the

Motion and attached thereto; (e) the scheduling of a date for the Sale Hearing; and (f) all related

relief as set forth herein. Such compelling and sound business justification, which was set forth

in the Motion and on the record at the hearing for such Motion, are incorporated herein by

reference and, among other things, form the basis for the findings of fact and conclusions of law

set forth herein.

             F.          Entry into the Stalking Horse Sale Agreement with the Stalking Horse Bidder is

in the best interests of the Debtors and the Debtors’ estates and creditors, and it reflects a sound

exercise of the Debtors’ business judgment. The Stalking Horse Sale Agreement provides the

Debtors with the opportunity to sell the Residents Program Assets in order to preserve and

realize their optimal value, while at the same time minimizing the negative impact of the closure

of Hahnemann University Hospital on Residents, as well as upon the Debtors’ academic

affiliation partner, Drexel University.

             G.          The Bidding Procedures, in the form attached hereto as Schedule 1 and

incorporated herein by reference as if fully set forth in this Bidding Procedures Order, are fair,



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reasonable, and appropriate and represent the best method for maximizing the value of the

Debtors’ estates. The Break-Up Fee: (a) shall, if triggered, be deemed an actual and necessary

cost and expense of preserving the Debtors’ estates, within the meaning of sections 503(b)

and 507(a)(2) of the Bankruptcy Code in accordance with the Stalking Horse Sale Agreement;

(b) is commensurate to the real and substantial benefit conferred upon the Debtors’ estates by the

Stalking Horse Bidder; (c) is reasonable and appropriate, including in light of the size and nature

of the Sale and comparable transactions, the commitments that have been made, and the efforts

that have been and will be expended by the Stalking Horse Bidder, notwithstanding that the Sale

is subject to higher or better offers; and (d) was necessary for the Stalking Horse Bidder to

pursue the Sale and to be bound by the Stalking Horse Sale Agreement.

             H.          The Debtors have demonstrated a reasonable business justification for the

payment of the Break-Up Fee under the circumstances set forth in the Stalking Horse Sale

Agreement. The Bidding Procedures and the Break-Up Fee were a material inducement to, and

express condition of, the willingness of the Stalking Horse Bidder to submit bids through

execution of the Stalking Horse Sale Agreement that will serve as a minimum or floor bid on

which the Debtors, their creditors, and other bidders may rely. Unless it is assured that the

Break-Up Fee will be available, the Stalking Horse Bidder is unwilling to be bound under the

Stalking Horse Sale Agreement (including the obligation to maintain its committed offer while

such offer is subject to higher or otherwise better offers as contemplated in the Bidding

Procedures). The Stalking Horse Bidder has provided a material benefit to the Debtors and their

creditors by increasing the likelihood that the best possible purchase price for the Residents

Program Assets will be realized and that Residents will be protected.




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             I.          The Assumption and Assignment Notice is appropriate and reasonably calculated

to provide all interested parties with timely and proper notice of the potential assumption and

assignment of the applicable Designated Contracts in connection with the sale of the Residents

Program Assets and the related Cure Costs, and no other or further notice shall be required. The

Motion and the Assumption and Assignment Notice are reasonably calculated to provide

counterparties to any Designated Contracts with proper notice of the intended assumption and

assignment of their Designated Contracts, the procedures in connection therewith, and any cure

amounts relating thereto.

             J.          The Auction and Sale Notice attached hereto as Schedule 5 is appropriate and

reasonably calculated to provide all interested parties with timely and proper notice of the sale of

the Residents Program Assets, including, without limitation: (a) the date, time, and place of the

Auction (if one is held); (b) the Bidding Procedures; (c) the deadline for filing objections to the

Sale and entry of the Sale Order, and the date, time, and place of the Sale Hearing;

(d) identification of the assets to be sold; (e) instructions for promptly obtaining copies of the

Stalking Horse Sale Agreement; (f) a description of the Sale as being free and clear of all

Interests, with all Interests attaching with the same validity and priority to the Sale proceeds; and

(g) notice of the proposed assumption and assignment of Designated Contracts to the Stalking

Horse Bidder pursuant to the Stalking Horse Sale Agreement (or to another Successful Bidder

arising from the Auction, if any), and no other or further notice of the Sale shall be required.

             K.          All current and former patients of Debtor Center City Healthcare, LLC (“Center

City”) who have, as of the date of this order, asserted claims against Center City, including but

not limited to claims formally asserted by the filing of suit or a proof of claim in these

Bankruptcy Cases and claims informally asserted by letter or by a request for medical records



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from a lawyer or otherwise (the “Known Patient Creditors”) shall be treated as known creditors

of the Debtors for purposes of notice requirements related to the Sale.

             L.          All current and former patients of Center City who, as of the date of this order, are

not Known Patient Creditors (including current and former patients who are not, as of the date of

this order, aware that they have or may have claims against the Debtors including such patients

as to whom personal injury has not manifested as of the date of this order) (the “Unknown

Patient Creditors”) shall be treated as unknown creditors of the Debtors for purposes of the

notice requirements related to the Sale.

             M.          The Debtors’ marketing process has been reasonably calculated to maximize

value for the benefit of all stakeholders.

IT IS HEREBY ORDERED THAT:

             1.          The Motion is granted as provided herein.5

             2.          All objections to the relief requested in the Motion that have not been withdrawn,

waived, or settled as announced to the Court at the hearing on the Motion or by stipulation filed

with the Court, are overruled.

I.           Timeline for the Sale

             3.          The Debtors are authorized to perform any obligations of the Debtors set forth in

the Stalking Horse Sale Agreement that are intended to be performed prior to the Sale Hearing or

entry of the Sale Order. The Debtors, in consultation with the Official Committee of Unsecured

Creditors (the “Committee”), as indicated herein and in the Bidding Procedures, are authorized

to proceed with the Sale in accordance with the Bidding Procedures and are authorized to take



5
             Notwithstanding anything to the contrary herein, or in the Bidding Procedures, the acceptance of a Bid and
             Sale Agreement by the Debtors and the consummation of a Sale are subject to entry of the Sale Order.



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any and all actions reasonably necessary or appropriate to implement the Bidding Procedures in

accordance with the following timeline:

                             Milestone                                         Proposed Date

 Deadline to Object to Approval of the Sale to the                 4:00 p.m. (prevailing Eastern Time)
 Stalking Horse Bidder on the terms of the                                 on August 5, 2019
 Stalking Horse Bid as set forth in the Stalking
 Horse Sale Agreement
 Bid Deadline                                                      4:00 p.m. (prevailing Eastern Time)
                                                                           on August 5, 2019
 Auction (if necessary)                                           10:00 a.m. (prevailing Eastern Time)
                                                                           on August 7, 2019
 Sale Hearing                                                    August 9, 2019 at 11:00 a.m. (prevailing
                                                                             Eastern Time)
 Deadline to Object to conduct of the Auction and                  (may be raised at the Sale Hearing)
 Sale to a Successful Bidder (Other than a Sale to
 the Stalking Horse Bidder on the terms of the
 Stalking Horse Bid as set forth in the Stalking
 Horse Sale Agreement)

             4.          For the avoidance of doubt, the Debtors, in consultation with the Committee,

reserve the right, and are authorized to, modify the above timeline and the Bidding Procedures in

accordance with the provisions of the Bidding Procedures, subject to the terms of the Stalking

Horse Sale Agreement.

II.          The Bidding Procedures

             5.          The Bidding Procedures, substantially in the form attached hereto as Schedule 1,

are approved in their entirety. The Debtors are authorized to take any and all actions reasonably

necessary or appropriate to implement the Bidding Procedures, in accordance therewith and the

Stalking Horse Sale Agreement. The failure to specifically include or reference a particular

provision of the Bidding Procedures in this Bidding Procedures Order shall not diminish or




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impair the effectiveness of such provision, it being the intent of the Court that the Bidding

Procedures be authorized and approved in their entirety.

             6.          The process and requirements associated with submitting a Qualified Bid are

approved as fair, reasonable, appropriate, and designed to maximize recoveries for the benefit of

the Debtors’ estates, creditors, and other parties in interest. As further described in the Bidding

Procedures, the Bid Deadline shall be 4:00 p.m. (prevailing Eastern Time) on August 5, 2019.

Any disputes or objections to the selection of Qualified Bids, Successful Bids, or Backup Bids

(all as defined in the Bidding Procedures) shall be resolved by this Court at the Sale Hearing as

set forth herein.

             7.          The Stalking Horse Bidder is deemed a Qualified Bidder for all purposes, and the

Stalking Horse Bid as set forth in the Stalking Horse Sale Agreement is deemed a Qualified Bid.

In the event that no other Qualified Bids are submitted, the Debtors shall deem the Stalking

Horse Bidder to be the Successful Bidder.

             8.          The Debtors are authorized to conduct the Auction in accordance with the

Bidding Procedures. The Auction, to the extent that an Auction is necessary under the Bidding

Procedures, shall take place at 10:00 a.m. (prevailing Eastern Time) on August 7, 2019 at the

offices of the proposed counsel for the Debtors, Saul Ewing Arnstein & Lehr LLP, Centre

Square West, 1500 Market Street, 38th Floor, Philadelphia, PA 19102 (or at any other time and

location as the Debtors may hereafter designate on proper notice).                 The Auction will be

conducted openly and all creditors and the Committee will be permitted to attend.

             9.          Any creditor with a valid and perfected lien on all of the Residents Program

Assets (each, a “Secured Creditor”) shall have the right, subject in all respects to the

Bankruptcy Code and other applicable law (and the rights of the Committee and other parties in



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interest to object to or challenge such creditor’s lien thereunder (a “Challenge”)), to credit bid all

or any portion of such Secured Creditor’s allowed secured claims to purchase the Residents

Program Assets to the extent that such secured claims are valid and undisputed pursuant to

Bankruptcy Code section 363(k) or other applicable law, unless otherwise ordered by the

Bankruptcy Court for cause. The foregoing notwithstanding, any credit bid shall include a cash

component sufficient to satisfy in full all costs of sale, including the Break-Up Fee. In the event

that the Committee, or another party in interest Challenges a creditor’s lien, the approval of a

Successful Bid by such creditor that includes a credit bid shall be contingent upon a final

determination that such creditor’s lien is valid and perfected. In the event that such a creditor’s

lien is successfully Challenged, or otherwise determined not to be valid and perfected, such

creditor shall pay the credit bid portion of its Bid in cash at the closing of the Sale.

             10.         Further, in the event of a competing Qualified Bid, the Stalking Horse Bidder will

be entitled, but not obligated, to submit overbids and will be entitled in any such overbids to

include all or any portion of the Break-Up Fee in lieu of cash and have the Break-Up Fee be

treated as equal to cash in the same amount for the purposes of evaluating the overbid.

III.         Stalking Horse Bidder, Bid Protections, and Stalking Horse Sale Agreement

             11.         The Debtors are authorized to enter into the Stalking Horse Sale Agreement,

subject to higher or otherwise better offers at the Auction. The Break-Up Fee described in the

Bidding Procedures is approved. The Debtors are authorized to pay any and all amounts owing

to the Stalking Horse Bidder on account of the Break-Up Fee upon the Debtors’ closing of the

Sale with a purchaser other than the Stalking Horse Bidder (an “Alternative Transaction”). If

triggered, the Break-Up Fee: (a) shall be an allowed administrative expense claim under section

503(b) and 507 of the Bankruptcy Code and a direct cost of any such Sale; and (b) shall be

payable in at closing on the Alternative Transaction without further order of this Court; and

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(c) shall be payable solely from the proceeds of such Alternative Transaction. No Interests shall

attach to the proceeds of any such Alternative Transaction equal to the amounts owed to the

Stalking Horse Bidder on account of the Break-Up Fee.

IV.          Notice Procedures

             12.         The Auction and Sale Notice is approved.

             A.          Notice of Sale, Auction, and Sale Hearing.

             13.         Within two (2) business days after the entry of this Bidding Procedures Order, or

as soon as reasonably practicable thereafter (the “Mailing Date”), the Debtors shall serve the

Auction and Sale Notice by first-class mail, electronic mail or, for those parties who have

consented to receive notice by the Electronic Case Files (“ECF”) system, by ECF, upon (a) the

Notice Parties, (b) all Residents, and (c) all known creditors of Center City, including any

Known Patient Creditors. In addition, on or before the Mailing Date, the Debtors shall serve the

Notice to Residents and Fellows Regarding Proposed Sale of Residency Program Assets (the

“Residents’ Notice”), in substantially the form attached hereto as Schedule 2, on all Residents

by first class mail or electronic mail.

             14.         Service of the Auction and Sale Notice and the Residents’ Notice as described in

paragraph 13 above shall be sufficient and proper notice of the and satisfies all due process

requirements.

             15.         Within ten (10) days of the date of this Bidding Procedures Order, the Debtors

shall cause the notice (the “Publication Notice”) substantially in the form attached hereto as

Schedule 3 to be published once in the National Edition of USA Today and once in the

Philadelphia Inquirer. The Publication Notice shall be sufficient and proper notice of the Sale to

all creditors whose identities are unknown to the Debtors, including all of the Unknown Patient

Creditors.

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             B.          Notice of Successful Bidder.

             16.         As soon as reasonably practicable after the Bid Deadline, if no Qualified Bid

other than the Stalking Horse Sale Agreement is received by the Bid Deadline, or conclusion of

the Auction, if a Qualified Bid other than the Stalking Horse Sale Agreement is received by the

Bid Deadline, the Debtors shall file on the docket, but not serve, a notice which shall identify the

Successful Bidder.

V.           Assumption and Assignment Procedures

             17.         The Assumption and Assignment Procedures, which are set forth below,

regarding the assumption and assignment of the executory contracts proposed to be assumed by

the Debtors pursuant to section 365(b) of the Bankruptcy Code and assigned to the Stalking

Horse Bidder (or other Successful Bidder, following the Auction, if any) pursuant to section

365(f) of the Bankruptcy Code and in accordance with the Stalking Horse Sale Agreement are

hereby approved to the extent set forth herein.

             A.          Notice of Assumption and Assignment.

             18.         The Debtors previously filed with the Court, [D.I. 246], a list (the “Initial

Designated Contracts List”) specifying: (a) each of the Debtors’ executory contracts that may

be assumed and assigned in connection with the Sale (the “Initial Designated Contracts”),

including the name of each non-Debtor counterparty to such Designated Contract (the “Initial

Designated Contract Counterparty”); and (b) the proposed amount necessary, if any, to cure

all monetary defaults, if any, under the Initial Designated Contract (the “Cure Costs”).

             19.         On the Mailing Date, the Debtors shall serve the Notice of Proposed Assumption

and Assignment of Executory Contracts attached hereto as Schedule 4 (the “Initial Notice of

Assumption and Assignment”) on all Initial Designated Contract Counterparties by first-class




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mail, email or, for those parties who have consented to receive notice by the Electronic Case

Files (“ECF”) system, by ECF.

             20.         Any Initial Designated Contract Counterparty may file an objection (a “Contract

Objection”) to the proposed assumption and assignment of the applicable Initial Designated

Contract, the proposed Cure Costs, if any, and the ability of the Stalking Horse Bidder to provide

adequate assurance of future performance. All Contract Objections must: (a) be in writing;

(b) state with specificity the basis for the objection as well as any Cure Costs that the objector

asserts to be due, including each and every asserted default in the applicable contract or lease (in

all cases with appropriate documentation in support thereof); (c) comply with the Bankruptcy

Rules and the Local Rules; and (d) be filed and served on (i) Saul Ewing Arnstein & Lehr LLP,

1201 N. Market Street, Suite 2300, Wilmington, Delaware 19801, Attn: Mark Minuti

(mark.minuti@saul.com) and Centre Square West, 1500 Market Street, 38th Floor, Philadelphia,

Pennsylvania, 19102, Attn: Jeffrey C. Hampton (jeffrey.hampton@saul.com), proposed counsel

to the Debtors, (ii) Sills Cummis & Gross P.C., One Riverfront Plaza, Newark, New Jersey,

07102, Attn: Andrew Sherman (Asherman@sillscummis.com) and Boris Mankovetskiy

(BMankoverskiy@sillscummis.com), proposed counsel to the Committee, and (iii) Stevens &

Lee, P.C., 620 Freedom Business Center, Suite 200, King of Prussia, Pennsylvania 19406, Attn:

Robert Lapowsky (rl@stevenslee.com), counsel to the Stalking Horse Bidder (the “Contract

Notice Parties”) by 4:00 p.m. (prevailing Eastern Time) on August 5, 2019 (the “Initial

Designated Contract Objection Deadline”). Objections to the ability of a Successful Bidder

other than the Stalking Horse Bidder to provide adequate assurance of future performance shall

be raised at or prior to the Sale Hearing.




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             21.         If an Initial Designated Contract Counterparty files a Contract Objection in a

manner that is consistent with the requirements set forth above, and the parties are unable to

consensually resolve the dispute prior to the Sale Hearing, such Contract Objection will be

determined at the Sale Hearing.

             B.          Modification of Initial Designated Contracts List and Supplemental Notice of
                         Assumption and Assignment.

             22.         Prior to the selection of a Successful Bidder, the Debtors may not modify the

Initial Designated Contracts List without the consent of the Stalking Horse Bidder. Subsequent to

the selection of a Successful Bidder, the Debtors may not modify the Initial Designated

Contracts List without the consent of the Successful Bidder (who may be the Stalking Horse

Bidder).

             23.         Until the opening of business on the date of the Auction, if another Qualified Bid

is received by the Bid Deadline, or the conclusion of the Sale Hearing, if another Qualified Bid is

not received by the Bid Deadline, at the request of the Stalking Horse Bidder, the Debtors will

modify the Initial Designated Contracts List to add or delete contracts and/or to change stated

Cure Costs. Following the conclusion of the Auction, if an Auction occurs, and prior to the

conclusion of the Sale Hearing, at the request of the Successful Bidder (who may be the Stalking

Horse Bidder), the Debtors will modify the Initial Designated Contracts List to add or delete

contracts and/or to change stated Cure Costs, provided, however, that such deletion of any

contracts shall not result in any reduction in the Purchase Price (as defined in the Stalking Horse

Sale Agreement”), and any contracts added after the Auction will not be considered in

connection with the right of termination in Article 9.1(c) of the Stalking Horse Sale Agreement.

For the avoidance of doubt, the Initial Designated Contracts List may be modified more than




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once. The contracts listed on the Initial Designated Contracts List, as modified from time to time,

are hereafter referred to as the “Designated Contracts”).

             24.         In the event that the Initial Designated Contracts List is modified, the Debtors will

promptly serve a supplemental notice of assumption and assignment (a “Supplemental Notice of

Assumption and Assignment”) on the affected counterparty in the same manner as the Initial

Notice of Assumption and Assignment was served. Each Supplemental Notice of Assumption

and Assignment will include the same information with respect to listed contracts as was

included in the Notice of Assumption and Assignment.

             25.         Any counterparty to an executory contract listed on a Supplemental Notice of

Assumption and Assignment (each a “Supplemental Designated Contract Counterparty”)

may file an objection with respect to the applicable Designated Contract (a “Supplemental

Contract Objection”) to (a) Cure Costs (but only to the extent reduced as to contracts included

on the Initial Notice of Assumption and Assignment or any prior Supplemental Notice of

Assumption and Assignment), and (b) if such Designated Contract was not included on the

Initial Notice of Assumption and Assignment or any prior Supplemental Notice of Assumption

and Assignment, (i) the proposed assumption and assignment of the applicable Designated

Contract and (ii) the ability of a Successful Bidder, including the Stalking Horse Bidder, to

provide adequate assurance of future performance. All Supplemental Contract Objections must:

(a) be in writing; (b) state with specificity the basis for the objection as well as any Cure Costs

that the objector asserts to be due (in all cases with appropriate documentation in support

thereof); (c) comply with the Bankruptcy Rules and the Local Rules; and (d) be filed and served

on the Contract Notice Parties no later than seven (7) days from the date of service of such

Supplemental Notice of Assumption and Assignment, which date will be set forth in the



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Supplemental Notice of Assumption and Assignment (the “Supplemental Contract Objection

Deadline”).

             26.         If a Supplemental Designated Contract Counterparty files a Supplemental

Contract Objection in a manner that is consistent with the requirements set forth above and the

parties are unable to consensually resolve the dispute, (a) if the Supplemental Contract Objection

Deadline is on or before the date of the Sale Hearing, such Supplemental Contract Objection will

be determined at the Sale Hearing, and (b) if the Supplemental Contract Objection Deadline is

after the date of the Sale Hearing the Debtors will seek an expedited hearing before the Court to

determine the Supplemental Contract Objection. If there is no such Supplemental Contract

Objection (or such objection has been resolved), then the Debtors may submit an order to this

Court, including by filing a certification of counsel, fixing the applicable Cure Costs and

approving the assumption of the contract listed on a Supplemental Notice of Assumption and

Assignment.

             C.          Additional Notice of Assumption and Assignment Procedures.

             27.         If the counterparty to any Designated Contract does not file and serve a Contract

Objection or Supplemental Contract Objection, as applicable, in a manner that is consistent with

the requirements set forth above, (a) the Cure Costs, if any, set forth in the Notice of Assumption

and Assignment (or Supplemental Notice of Assumption and Assignment) shall be controlling

with respect to the applicable Designated Contract, notwithstanding anything to the contrary in

any Designated Contract or any other document, and (b) the Designated Contract Counterparty

will be deemed to have consented to the assumption and assignment of the Designated Contract

and the Cure Costs, if any, and will be forever barred from asserting any claim related to such

Designated Contract for any default occurring or continuing prior to the date of the assumption



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and assignment of such Designated Contract against the Debtors or the Successful Bidder, or the

property of any of them.

             28.         The inclusion of a Designated Contract on the Notice of Assumption and

Assignment (or Supplemental Notice of Assumption and Assignment) will not: (a) obligate the

Debtors to assume any Designated Contract listed thereon or the Successful Bidder to take

assignment of such Designated Contract; or (b) constitute any admission or agreement of the

Debtors that such Designated Contract is an executory contract.                 Only those Designated

Contracts that are included on a schedule of assumed and acquired contracts attached to the final

asset purchase agreement with the Successful Bidder (including amendments or modifications to

such schedules in accordance with such asset purchase agreement) will be assumed and assigned

to the Successful Bidder.

VI.          Sale Hearing.

             29.         A Sale Hearing to (a) approve the sale of the Debtors’ Residents Program Assets

to the Successful Bidder and (b) authorize the assumption and assignment of certain executory

contracts and unexpired leases shall be held at 11:00 a.m. (prevailing Eastern Time) on

August 9, 2019, and may be adjourned or rescheduled without further notice other than by

announcement in open court on the date scheduled for the Sale Hearing or by the filing of a

notice on the Court’s docket. At the Sale Hearing, the Debtors will seek Bankruptcy Court

approval of the Sale to the Successful Bidder, including any Backup Bidder. The Sale Hearing

shall be an evidentiary hearing on matters relating to the Sale. In the event that the Successful

Bidder cannot or refuses to consummate the Sale after the Sale has been approved by the Court,

the Debtors may, in consultation with the Committee, in accordance with the Bidding

Procedures, designate the Backup Bid to be the new Successful Bid and the Backup Bidder to be

the new Successful Bidder, and the Debtors, in consultation with the Committee, shall be

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authorized, but not required, to consummate the transaction with the Backup Bidder without

further order of the Bankruptcy Court.

             30.         Any and all objections, if any, to (a) the Sale to the Stalking Horse Bidder on the

terms of the Stalking Horse Bid as set forth in the Stalking Horse Sale Agreement and (b) entry

of the Sale Order approving such Sale (a “Sale Objection”) must be filed and served on (i) Saul

Ewing Arnstein & Lehr LLP, 1201 N. Market Street, Suite 2300, Wilmington, Delaware 19801,

Attn: Mark Minuti (mark.minuti@saul.com), proposed counsel to the Debtors, (ii) Sills Cummis

& Gross P.C., One Riverfront Plaza, Newark, New Jersey, 07102, Attn: Andrew Sherman

(Asherman@sillscummis.com) and Boris Mankovetskiy (BMankoverskiy@sillscummis.com),

proposed counsel to the Committee, and (iii) Stevens & Lee, P.C., 620 Freedom Business Center,

Suite 200, King of Prussia, Pa. 19406 Attn: Robert Lapowsky (rl@stevenslee.com), counsel to

the Stalking Horse Bidder by 4:00 p.m. (prevailing Eastern Time) on August 5, 2019 (the “Sale

Objection Deadline”). Any and all objections to the conduct of the Auction and the terms of a

Sale to a Successful Bidder (other than a Sale to the Stalking Horse Bidder on the terms of the

Stalking Horse Bid as set forth in the Stalking Horse Sale Agreement) (an “Auction Objection”)

must be raised at or prior to the Sale Hearing (the “Auction Objection Deadline”). Any party

failing to timely file a Sale Objection or raise an Auction Objection, as applicable, will be

forever barred from objecting and will be deemed to have consented to the Sale, including the

transfer of the Debtors’ right, title and interest in, to, and under the assets free and clear of any

and all Interests. For the avoidance of doubt, if the Stalking Horse Bidder is selected as the

Successful Bidder, but its successful Bid is not the Stalking Horse Bid or an increased bid based

on an agreement substantially similar to the Stalking Horse Sale Agreement, objections to a Sale




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to the Stalking Horse Bidder, limited to the changed terms (excluding any increase in price) may

be raised by the Auction Objection Deadline.

VII.         Miscellaneous.

             31.         Notwithstanding anything to the contrary in any asset purchase agreement or

document relating to the Sale, the purchased assets (including the Residents Program Assets)

shall not include (i) any cause of action or proceeds of such cause of action under chapter 5 of

the Bankruptcy Code or applicable state law equivalents; (ii) any commercial or other tort claims

arising on or before the closing date of the Sale, or any proceeds of such claims, including,

without limitation, any and all causes of action (a) against present and former directors and

officers of the Debtors and/or any of their affiliates, (b) against direct and indirect equity holders

of the Debtors and/or their affiliates, and (c) of the Debtors and/or any of their affiliates against

any other Debtors; and (iii) any claims or causes of action against the Debtors’ contract

counterparties (other than claims or causes of action arising under any contract that is assumed

by the Debtors), or any proceeds of such claims or causes of action. The provisions of this

paragraphs shall not apply to the Stalking Horse Sale Agreement, as the same may be modified

other than any modifications to the defined term “Purchased Assets.”

             32.         This order and the Bidding Procedures shall be interpreted so as to afford the

Debtors, in consultation with the Committee, the greatest opportunity to maximize the value of

the Residents Program Assets for the benefit of the Debtors’ estates provided, however, the

provisions of this paragraph shall not apply to any matters affecting the Stalking Horse Bidder

without the consent of the Stalking Horse Bidder.

             33.         The Debtors, in consultation with the Committee as applicable, are authorized to

take all actions necessary to effectuate the relief granted pursuant to this Bidding Procedures

Order in accordance with the Motion.

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             34.         Notwithstanding anything in the Motion, the Bidding Procedures, and/or the July

9, 2019 Stalking Horse LOI to the contrary, nothing in this Bidding Procedures Order shall be

construed as authorizing the sale, transfer or assignment of any Medicare provider agreement to

the Successful Bidder free and clear of successor liability for any liability to the United States

arising from such provider agreements, nor as restricting the United States’ right of setoff and

recoupment. Any assumption and assignment of the Medicare provider agreements shall be

authorized only in accordance with 11 U.S.C. § 365, all applicable Medicare statutes and

regulations, and the Anti-Assignment Act.

             35.         To the extent the Successful Bid or the Backup Bid includes the assignment of a

Medicare provider agreement, such bid must include a provision that requires the agreement be

assumed and assigned pursuant to and in accordance with section 365 of the Bankruptcy Code,

all applicable Medicare statutes and regulations, and the Anti-Assignment Act. No Successful

Bid or Backup Bid may include a requirement that any Medicare provider agreement be sold,

assigned, or transferred “free and clear” of successor liability for any liability to the United

States arising from such provider agreement pursuant to section 363(f) of the Bankruptcy Code.

             36.         This Bidding Procedures Order shall constitute the findings of fact and

conclusions of law and shall take immediate effect upon execution hereof.

             37.         This Bidding Procedures Order shall be binding on the Debtors, including any

chapter 7 or chapter 11 trustee or other fiduciary appointed for the estates of the Debtors.

Certain provisions of this Bidding Procedures Order that relate to the Break-Up Fee shall inure to

the benefit of the Stalking Horse Bidder and its affiliates, successors, and assigns.

             38.         Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 6006(d),

7062, 9014, or otherwise, this Court, for good cause shown, orders that the terms and conditions



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of this Bidding Procedures Order shall be immediately effective and enforceable upon its entry.

This Court shall retain jurisdiction with respect to all matters arising from or related to the

implementation or interpretation of this Bidding Procedures Order, including, but not limited to,

any matter, claim, or dispute arising from or relating to the Bidding Procedures, any Stalking

Horse Sale Agreement, and the implementation of this Bidding Procedures Order.




           Dated: July 19th, 2019              KEVIN GROSS
           Wilmington, Delaware                UNITED STATES BANKRUPTCY JUDGE
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                                          SCHEDULE 1


                                    BIDDING PROCEDURES




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                      )
    In re:                            ) Chapter 11
                                      )
    CENTER CITY HEALTHCARE, LLC d/b/a ) Case No. 19-11466 (KG)
    HAHNEMANN UNIVERSITY HOSPITAL, et )
    al.,1                             ) Jointly Administered
                                      )
                        Debtors.      )
                                      )

                                            BIDDING PROCEDURES

        On July 19, 2019, the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”) entered the Order (I) Establishing Bidding Procedures and Granting
Related Relief and (II) Approving the Sale of the Debtors’ Resident Program Assets Free and
Clear of Liens, Claims, Encumbrances, and Interests [Docket No. [Ɣ]] (the “Bidding
Procedures Order”),2 by which the Bankruptcy Court approved the following procedures (the
“Bidding Procedures”). These Bidding Procedures set forth the process by which the Debtors,
in consultation with the Official Committee of Unsecured Creditors (the “Committee”) as set
forth herein, are authorized to conduct an auction (the “Auction”) for the sale (the “Sale”) of the
resident program assets related to the operation of Hahnemann University Hospital, including:
(a) National Provider Identifiers (general and psych) and Medicare provider number and
agreement, (b) the Pennsylvania Department of Health license to operate an acute care hospital,
and (c) the Hahnemann training programs for Residents (collectively, the “Residents Program
Assets”), in accordance with and as described in that certain agreement (the “Stalking Horse
Sale Agreement”), dated as of July 19, 2019, by and among Center City Healthcare, LLC d/b/a
Hahnemann University Hospital and Tower Health (the “Stalking Horse Bidder”), or in
accordance with the terms of such higher and better offer as determined by the Debtors, in
consultation with the Committee, to be the Successful Bidder (defined below).




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             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
             PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
             Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
             Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
             (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
             230 North Broad Street, Philadelphia, Pennsylvania 19102.
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             All capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the
             Bidding Procedures Order.



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A.           Submissions to the Debtors and the Committee.

        All submissions to the Debtors and the Committee required to be made under these
Bidding Procedures must be directed to each the following persons unless otherwise provided
(collectively, the “Notice Parties”):

             a.         Debtors. Center City Healthcare, LLC, 230 North Broad Street, Philadelphia,
                        Pennsylvania, Attn: Allen Wilen, Chief Restructuring Officer.

             b.         Debtors’ Counsel. Saul Ewing Arnstein & Lehr LLP, 1201 N. Market Street,
                        Suite 2300, Wilmington, Delaware 19801, Attn: Mark Minuti
                        (mark.minuti@saul.com).

             c.         Debtors’ Investment Banker. SSG Advisors, LLC, Five Tower Bridge, 300
                        Barr Harbor Drive, West Conshohocken, PA 19428 Suite 420, Attn: J. Scott
                        Victor (jsvictor@ssgca.com); Teresa Kohl (tkohl@ssgca.com); and Craig
                        Warznak (cwarznak@ssgca.com).

             d.         Committee’s Counsel. Sills Cummis & Gross P.C., One Riverfront Plaza,
                        Newark, NJ 07102, Attn: Andrew Sherman (asherman@sillscummis.com) and
                        Boris Mankovetskiy (bmankovetskiy@sillscummis.com).

B.           Potential Bidders.

       The Debtors and their financial advisors have identified, and may in the future, in
consultation with the Committee, identify, parties they believe potentially may be interested in
consummating (and potentially may have the financial resources necessary to consummate) a
competing transaction. To participate in the bidding process or otherwise be considered for any
purpose under these Bidding Procedures, a person or entity interested in consummating a Sale
(each, a “Potential Bidder”), other than the Stalking Horse Bidder, must deliver or have
previously delivered, if determined to be necessary by the Debtors:

             a.         an executed confidentiality agreement on terms acceptable to the Debtors, in
                        consultation with the Committee (a “Confidentiality Agreement”), to the extent
                        not already executed; and

             b.         the most current audited and latest unaudited financial statements (collectively,
                        the “Financials”) of the Potential Bidder (or, if the Potential Bidder is an entity
                        formed for the purpose of acquiring the Residents Program Assets, (i) Financials
                        of the equity holder(s) of the Potential Bidder or such other form of financial
                        disclosure as is acceptable to the Debtors and their advisors, in consultation with
                        the Committee, (ii) a written commitment acceptable to the Debtors and their
                        advisors, in consultation with the Committee, of the equity holder(s) of the
                        Potential Bidder to be responsible for the Potential Bidder’s obligations in
                        connection with the applicable Sale, and (iii) copies of any documents evidencing
                        any financing commitments necessary to consummate the transaction.



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C.           Qualified Bidders.

             a.         A “Qualified Bidder” is a Potential Bidder: (i) whose Financials, or the
                        Financials of its equity holder(s), as applicable, demonstrate the financial
                        capability to consummate the Sale, as determined by the Debtors, in consultation
                        with the Committee; and (ii) whose Bid (as defined below) is a Qualified Bid (as
                        defined below). On or before the date that is one (1) business day after the Bid
                        Deadline (defined below), the Debtors’ advisors will notify each Potential Bidder
                        in writing whether such Potential Bidder is a Qualified Bidder. The Stalking
                        Horse Bidder shall be deemed a Qualified Bidder at all times. MidCap Funding
                        IV Trust (“Midcap”), solely to the extent it seeks to credit bid, shall be deemed a
                        Qualified Bidder at all times; provided that MidCap Funding IV Trust’s right to
                        credit bid shall be subject to the provisions set forth in the Bidding Procedures
                        Order and these Bidding Procedures.

             b.         If any Potential Bidder is determined by the Debtors, in consultation with the
                        Committee, not to be a Qualified Bidder, the Debtors will refund such Qualified
                        Bidder’s Deposit (as defined below) and all accumulated interest thereon on or
                        within three (3) business days after the Bid Deadline.

             c.         Between the date that the Debtors notify a Potential Bidder that it is a Qualified
                        Bidder and the Auction, the Debtors may discuss, negotiate, or seek clarification
                        of any Qualified Bid from a Qualified Bidder. Without the written consent of the
                        Debtors, in consultation with the Committee, a Qualified Bidder may not modify,
                        amend, or withdraw its Qualified Bid, except for proposed amendments to
                        increase the consideration contemplated by, or otherwise improve the terms of,
                        the Qualified Bid, during the period that such Qualified Bid remains binding as
                        specified in these Bidding Procedures; provided, however, that any Qualified Bid
                        may be improved at the Auction as set forth herein. Any improved Qualified Bid
                        must continue to comply with the requirements for Qualified Bids set forth in
                        these Bidding Procedures.

             d.         Any disputes related to these Bidding Procedures, including whether a Bid
                        constitutes a Qualified Bid, shall be resolved by the Bankruptcy Court.

D.           Due Diligence.

             a.         Diligence Provided to Potential Bidders.

        Only (a) the Stalking Horse Bidder, and (b) Potential Bidders that have entered into a
Confidentiality Agreement shall be eligible to receive due diligence information related to the
Residents Program Assets. No Potential Bidder will be permitted to conduct any due
diligence without entering into a Confidentiality Agreement. The Debtors will provide to
each Potential Bidder that has entered into a Confidentiality Agreement reasonable due diligence
information, as requested by such Potential Bidder in writing, as soon as reasonably practicable
after such request. For all Potential Bidders other than the Stalking Horse Bidder, the due



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diligence period will end on the Bid Deadline and subsequent to the Bid Deadline, the Debtors
shall have no obligation to furnish any due diligence information.

        The Debtors shall not furnish any confidential information relating to the Residents
Program Assets, the Debtors’ liabilities, or the Sale (“Confidential Sale Information”) to any
person, except to a Potential Bidder that has entered into a Confidentiality Agreement or to such
Potential Bidder’s duly-authorized representatives, in each case, to the extent provided in the
applicable Confidentiality Agreement; provided, however, that nothing herein shall limit the
Debtors’ ability to furnish Confidential Sale Information to the professional advisors of any
official committee appointed in the Debtors’ chapter 11 cases on a professionals’ eyes only basis.
The Debtors and their advisors shall coordinate all reasonable requests from Potential Bidders
for additional information and due diligence access; provided that the Debtors, in consultation
with the Committee, may decline to provide such information to Potential Bidders who, at such
time and in the Debtors’ reasonable business judgment have not established, or who have raised
doubt, that such Potential Bidder intends in good faith to, or has the capacity to, consummate the
Sale.

        The Debtors also reserve the right to withhold from Potential Bidders any diligence
materials that the Debtors, in consultation with the Committee, determine are sensitive or
otherwise not appropriate for disclosure to a Potential Bidder who the Debtors, in consultation
with the Committee, determine is a competitor of the Debtors or is affiliated with any competitor
of the Debtors. Neither the Debtors nor their representatives shall be obligated to furnish
information of any kind whatsoever to any person that is not approved by the Debtors, in
consultation with the Committee, as a Potential Bidder; provided, however, that, subject to the
limitations set forth in the immediately preceding paragraph, the Debtors may furnish
information to MidCap and the Committee.

       All due diligence requests must be directed by email to SSG Advisors, LLC Attn: J.
Scott Victor (jsvictor@ssgca.com); Teresa Kohl (tkohl@ssgca.com); and Craig Warznak
(cwarznak@ssgca.com); or by phone to (610) 940-3615.

             b.         Diligence Provided by Potential Bidders.

        Each Potential Bidder shall comply with all reasonable requests for additional
information and due diligence access requested by the Debtors or their advisors regarding the
ability of the Potential Bidder to consummate the Sale. Failure by a Potential Bidder to comply
with such reasonable requests for additional information and due diligence access may be a basis
for the Debtors, in consultation with the Committee, to determine that such Potential Bidder is
not a Qualified Bidder or that a bid made by such Potential Bidder is not a Qualified Bid.

        The Debtors and each of their respective advisors and representatives shall be obligated
to maintain in confidence any confidential information in accordance with any applicable
confidentiality agreement, except as otherwise set forth in these Bidding Procedures. Each
recipient of confidential information agrees to use, and to instruct their advisors and
representatives to use, such confidential information only in connection with the evaluation of
Bids (as defined below) during the bidding process or otherwise in connection with the chapter
11 cases or in accordance with the terms of any applicable confidentiality agreement.


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       Notwithstanding the foregoing and the provisions contained in any applicable
Confidentiality Agreement, the Debtors and the Debtors’ advisors may disclose confidential
information: (a) with the prior written consent of such bidder and the Debtors; (b) to the
applicable bidder; (c) to the professional advisors of any official committee appointed in the
Debtors’ chapter 11 cases, and (d) as otherwise required or allowed by any applicable
confidentiality agreement with respect to a particular bidder or other agreement, law, court or
other governmental order, or regulation, including, as appropriate, to regulatory agencies.

E.           Bid Requirements.

        A proposal, solicitation, or offer (each, a “Bid”) by a Qualified Bidder that is submitted
in writing and satisfies each of the following requirements (collectively, the “Bid
Requirements”), as determined by the Debtors, in consultation with the Committee, in their
reasonable business judgment, shall constitute a “Qualified Bid.” For the avoidance of doubt,
notwithstanding the following, the Stalking Horse Sale Agreement will be deemed a Qualified
Bid for all purposes.

             a.         Assets. Each Bid must provide for the purchase of all or substantially all of the
                        Residents Program Assets, and must clearly state which assets the Qualified
                        Bidder is agreeing to purchase.

             b.         Purchase Price. Each Bid must clearly set forth the purchase price to be paid
                        (the “Purchase Price”). The Purchase Price must be in cash consideration and
                        must equal or exceed $7,825,000 (i.e., the sum of (i) the Base Purchase Price set
                        forth in the Stalking Horse Sale Agreement and (ii) the Break-Up Fee) and (iii) a
                        $100,000 incremental amount (a “Minimum Bid”).

             c.         Deposit. With its Bid, each Potential Bidder must submit by wire transfer of
                        immediately available funds, a cash deposit in the amount equal to ten (10)
                        percent of the aggregate cash Purchase Price set forth in the Bid, to be held in an
                        interest-bearing escrow account to be identified and established by the Debtors
                        (the “Deposit”). Within three (3) business days after the conclusion of any
                        Auction, the Successful Bidder and Backup Bidder shall submit by wire transfer
                        of immediately available funds, a supplemental cash deposit in an amount that,
                        when added to the amount of the Deposit, is equal to ten (10) percent of the
                        aggregate cash Purchase Price set forth in their respective Successful Bid and
                        Backup Bid. The foregoing notwithstanding, the Stalking Horse Bidder shall not
                        be required to submit any Deposit.

             d.         Residents. Each Bid must specify the Potential Bidder’s proposed treatment with
                        respect to Residents, including whether and to what extent Residents will be
                        offered placement with the Potential Bidder and on what terms. Each Bid must
                        further provide a description of the Potential Bidder’s accreditation status with the
                        Accreditation Council on Graduate Medical Education, including a description of
                        accredited residency and fellowship programs currently offered by the Potential
                        Bidder and/or expected to be offered in the future.



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             e.         Same or Better Terms. Each Bid must be on terms that are not more
                        burdensome to the Debtors than the terms of the Stalking Horse Sale Agreement,
                        as determined by the Debtors, in consultation with the Committee. Each Bid must
                        include duly executed, non-contingent transaction documents necessary to
                        effectuate the Sale and shall include a schedule of executory contracts proposed to
                        be assumed by the Debtors and assigned to the Qualified Bidder (“Assumed
                        Contracts”), and a copy of the Stalking Horse Sale Agreement clearly marked to
                        show all changes requested by the Qualified Bidder, including those related to the
                        respective Purchase Price and assets to be acquired by such Qualified Bidder, as
                        well as all other material documents integral to such bid and a written
                        commitment demonstrating to the satisfaction of the Debtors, in consultation with
                        the Committee, that the Qualified Bidder will be able to close the transaction
                        proposed in its Bid on the terms and conditions set forth therein (the “Qualified
                        Bid Documents”).

             f.         Contingencies; No Financing or Diligence Outs. A Bid shall not be
                        conditioned on (i) the Potential Bidder obtaining financing, (ii) approval of the
                        Potential Bidder’s shareholders, board of directors or other internal approval, or
                        (iii) the outcome or completion of due diligence by the Potential Bidder.
                        Notwithstanding the foregoing, a Bid may be subject to (i) the accuracy at the
                        closing of the Sale of specified representations and warranties, (ii) or the
                        satisfaction at the closing of the Sale of specified conditions, which shall not be
                        more burdensome to the Debtors, as determined in the Debtors’ business
                        judgment, in consultation with the Committee, than those set forth in the Stalking
                        Horse Sale Agreement.

             g.         Identity. Each Bid must fully disclose the identity of each entity that will be
                        bidding or otherwise participating in connection with such Bid (including each
                        equity holder or other financial backer of the Potential Bidder if such Potential
                        Bidder is an entity formed for the purpose of consummating the Sale), and the
                        complete terms of any such participation. Under no circumstances shall any
                        undisclosed principals, equity holders, or financial backers be associated with any
                        Bid. Each Bid must also include contact information for the specific persons and
                        counsel whom the Debtors and their advisors should contact regarding such Bid.

             h.         Demonstrated Financial Capacity. A Qualified Bidder must have, in the
                        Debtors’ business judgment, as determined in consultation with the Committee,
                        the necessary financial capacity to consummate the proposed transactions
                        required by its Bid and provide adequate assurance of future performance under
                        all contracts proposed to be assumed by such Bid. Each Bid must be
                        accompanied by reasonable evidence of the Qualified Bidder’s ability to operate
                        the business related to the Residents Program Assets and include a packet of
                        information, including financial information, that will be provided to the non-
                        Debtor counterparties to Assumed Contracts sufficient to demonstrate adequate
                        assurance of future performance.




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             i.         Committed Financing. To the extent that a Bid is not accompanied by evidence
                        of the Potential Bidder’s capacity to consummate the sale set forth in its Bid with
                        cash on hand, each Bid must include executed unconditional committed financing
                        from a qualified source documented to the satisfaction of the Debtors, in
                        consultation with the Committee, which demonstrates that the Potential Bidder
                        has received sufficient debt and/or equity funding commitments to satisfy the
                        Potential Bidder’s Purchase Price and other obligations under its Bid. Such
                        funding commitments or other financing must be unconditional and must not be
                        subject to any internal approvals, syndication requirements, diligence, or credit
                        committee approvals, and shall have covenants and conditions acceptable to the
                        Debtors, in consultation with the Committee,.

             j.         Binding and Irrevocable. A Qualified Bid must include a signed writing stating
                        that the Qualified Bid is irrevocable until the later of (i) two (2) business days
                        after the closing of a Sale to another Qualified Bidder, and (ii) thirty (30) days
                        after the conclusion of the Sale Hearing (as defined below).

             k.         Expenses; Disclaimer of Fees. Each Bid (other than the Stalking Horse Sale
                        Agreement) must disclaim any right to receive a break-up fee, expense
                        reimbursement, termination fee, or any other similar form of compensation. For
                        the avoidance of doubt, no Potential Bidder (other than the Stalking Horse
                        Bidder) will be permitted to request, nor be granted by the Debtors, at any time,
                        whether as part of the Auction or otherwise, a break-up fee, expense
                        reimbursement, termination fee, or any other similar form of compensation, and
                        by submitting its Bid is agreeing to refrain from and waive any assertion or
                        request for reimbursement on any basis, including under section 503(b) of the
                        Bankruptcy Code.

             l.         Authorization. Each Bid must contain evidence that the Potential Bidder has
                        obtained authorization or approval from its board of directors (or a comparable
                        governing body acceptable to the Debtors, in consultation with the Committee)
                        with respect to the submission of its Bid and the consummation of the transactions
                        contemplated in such Bid.

             m.         As-Is, Where-Is. Each Bid must include a written acknowledgement and
                        representation that the Potential Bidder: (i) has had an opportunity to conduct any
                        and all due diligence regarding the Residents Program Assets prior to submitting
                        the Bid; (ii) has relied solely upon its own independent review, investigation,
                        and/or inspection of any documents and/or the Residents Program Assets in
                        making its Bid; and (iii) did not rely upon any written or oral statements,
                        representations, promises, warranties, or guaranties whatsoever, whether express,
                        implied by operation of law, or otherwise, regarding the Residents Program
                        Assets or the completeness of any information provided in connection therewith
                        or the Auction, except as expressly stated in the Bid.




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             n.         Adherence to Bid Procedures. By submitting its Bid, each Potential Bidder is
                        agreeing to abide by and honor the terms of these Bidding Procedures and agrees
                        not to submit a Bid or seek to reopen the Auction after conclusion of the Auction.

             o.         Regulatory Approvals and Covenants. A Bid must set forth each regulatory
                        and third-party approval to consummate the Sale and the time period within which
                        the Potential Bidder expects to receive such regulatory and third-party approvals
                        (and in the case that receipt of any such regulatory or third-party approval is
                        expected to take more than thirty (30) days following execution and delivery of
                        the asset purchase agreement, those actions the Qualified Bidder will take to
                        ensure receipt of such approvals as promptly as possible).

             p.         Consent to Jurisdiction. Each Potential Bidder must submit to the jurisdiction
                        of the Bankruptcy Court and waive any right to a jury trial in connection with any
                        disputes relating to Debtors’ qualification of Bids, the Auction, the construction
                        and enforcement of these Bidding Procedures, the Sale documents, and the
                        closing of the Sale, as applicable.

             q.         Bid Deadline. Each Bid must be transmitted via email (in .pdf or similar format)
                        so as to be actually received on or before 4:00 p.m. (prevailing Eastern Time) on
                        August 5, 2019 (the “Bid Deadline”).

       The Debtors reserve the right, in consultation with the Committee, to work with any
Potential Bidder in advance of the Auction to cure any deficiencies in a Bid that is not initially
deemed to be a Qualified Bid.

F.           Right to Credit Bid.

        At the Auction, subject to section 363(k) of the Bankruptcy Code, any Qualified Bidder
who has a valid and perfected lien on all of the Resident Program Assets (a “Secured Creditor”)
shall have the right, subject in all respects to the Bankruptcy Code and other applicable law (and
the rights of the Committee and other parties in interest to object or challenge such creditor’s lien
thereunder (a “Challenge”)) to credit bid all or a portion of the value of such Secured Creditor’s
claims within the meaning of section 363(k) of the Bankruptcy Code, unless otherwise ordered
by the Bankruptcy Court for cause. In the event that the Committee or another party in interest
Challenges a creditor’s lien, the approval of a Successful Bid by such creditor that includes a
credit bid shall be contingent upon a final determination that such creditor’s lien is valid and
perfected. If such creditor’s lien is successfully Challenged, or otherwise determined not to be
valid and perfected, such creditor shall pay the credit bid portion of its Bid in cash as the closing
of the Sale.

       In the event of a competing Qualified Bid, the Stalking Horse Bidder will be entitled, but
not obligated, to submit overbids and will be entitled in any such overbids to include all or any
portion of the Break-Up fee in lieu of cash.

      Credit bids, if any, by Secured Creditors will not impair or otherwise affect the Stalking
Horse Bidder’s entitlement to the Break-Up Fee granted under the Bidding Procedures Order.


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Any credit bid shall include a cash component sufficient to satisfy in full all costs of sale,
including the Break-Up Fee.

G.           Auction.

       If, prior to the Bid Deadline, the Debtors receive a Qualified Bid, other than the Stalking
Horse Sale Agreement, the Debtors will conduct an Auction to determine the Successful Bidder.
By 6:00 p.m. on the date of the Bid Deadline, the Debtors shall notify the Stalking Horse Bidder
if one or more Qualified Bids were received prior to the Bid Deadline. If the Debtors do not
receive a Qualified Bid (other than the Stalking Horse Sale Agreement) prior to the Bid
Deadline, the Debtors will not conduct an Auction and shall designate the Stalking Horse
Bidder’s Bid as the Successful Bid.

        On the date that is one (1) day after the Bid Deadline, the Debtors will notify each
Qualified Bidder of the highest or otherwise best Qualified Bid, as determined in the Debtors’
business judgment, in consultation with the Committee (the “Baseline Bid”), and provide copies
of all Qualified Bid Documents supporting the Baseline Bid and each other Qualified Bid to each
Qualified Bidder. The determination of which Qualified Bid constitutes the Baseline Bid and
which Qualified Bid constitutes the Successful Bid shall take into account any factors the
Debtors, in consultation with the Committee, reasonably deem relevant to the value of the
Qualified Bid to the Debtors’ estates, and may include, among other things: (a) the number, type,
and nature of any changes to the Stalking Horse Sale Agreement, if any, requested by the
Qualified Bidder, including the type and amount of Residents Program Assets sought to be
acquired and obligations sought to be assumed in the Qualified Bid; (b) the amount and nature of
the total consideration; (c) the likelihood of the Qualified Bidder’s ability to close the applicable
Sale and the timing thereof; (d) the net economic effect of any changes to the value to be
received by the Debtors’ estates from the transaction contemplated by the Qualified Bid
Documents; and (e) the impact on Residents (collectively, the “Bid Assessment Criteria”).
Only the Stalking Horse Bidder and other Qualified Bidders will be entitled to make any
subsequent bids at the Auction. At least one (1) day prior to the Auction, each Qualified Bidder
who has timely submitted a Qualified Bid must inform the Debtors and the Committee whether it
intends to attend the Auction and all Qualified Bidders wishing to attend the Auction must have
at least one individual representative with authority to bind such Qualified Bidder in attendance
at the Auction in person.

        The Auction, if necessary, will be conducted at the offices of Saul Ewing Arnstein &
Lehr LLP, Centre Square West, 1500 Market Street, 38th Floor, Philadelphia, Pennsylvania
19102 on August 7, 2019 at 10:00 a.m. (prevailing Eastern Time), or at such other time and
location as designated by the Debtors. The Auction, if necessary, shall be conducted in a timely
fashion according to the following procedures:

             a.         The Debtors Shall Conduct the Auction.

        The Debtors and their professionals shall direct and preside over the Auction, in
consultation with the Committee as applicable. At the start of the Auction, the Debtors shall
describe the terms of the Baseline Bid. All incremental Bids made thereafter shall be Overbids
(as defined below) and shall be made and received on an open basis, and all material terms of


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each Overbid shall be fully disclosed to all other Qualified Bidders who submitted Bids. The
Debtors shall maintain a written transcript of all Bids made and announced at the Auction,
including the Baseline Bid, all applicable Overbids, and the Successful Bid.

       The Auction will be conducted openly and the Committee and all creditors will be
permitted to attend. The Qualified Bidders, including the Stalking Horse Bidder, may appear at
the Auction in person or through duly authorized representatives.

             b.         Terms of Overbids.

       “Overbid” means any bid made at the Auction by a Qualified Bidder subsequent to the
Debtors’ announcement of the Baseline Bid. Each Overbid must comply with the following
conditions:

                        (a)   Minimum Overbid Increment. The initial Overbid, if any, shall provide
                              for total consideration to the Debtors with a value that exceeds the value
                              of the consideration under the Baseline Bid by an incremental amount that
                              is not less than the sum of $100,000 (a “Minimum Overbid Increment”).

                              Additional consideration in excess of the amount set forth in the respective
                              Baseline Bid must include: (1) cash or (2) in the case of a Bid by a
                              Secured Creditor, a credit bid of up to the full amount of such secured
                              creditors’ allowed secured claim, subject to section 363(k) of the
                              Bankruptcy Code and any other restrictions set forth in the Bidding
                              Procedures Order or these Bidding Procedures (including the requirement
                              of a cash component sufficient to pay all costs of sale including the Break-
                              Up Fee).

                        (b)   Conclusion of Each Overbid Round. Upon the solicitation of each
                              round of applicable Overbids, the Debtors may, in consultation with the
                              Committee, announce a deadline (as the Debtors may, in their business
                              judgment, extend from time to time, the “Overbid Round Deadline”) by
                              which time any Overbids must be submitted to the Debtors and the
                              Committee.

                        (c)   Overbid Alterations. An applicable Overbid may contain alterations,
                              modifications, additions, or deletions of any terms of the Bid no less
                              favorable to the Debtors’ estates than any prior Bid or Overbid, as
                              determined in the Debtors’ reasonable business judgment, in consultation
                              with the Committee, but shall otherwise comply with the terms of these
                              Bidding Procedures. Any Overbid must comply with the conditions for a
                              Qualified Bid.

                        (d)   Announcing Highest Bid. Subsequent to each Overbid Round Deadline,
                              the Debtors shall announce whether the Debtors, in consultation with the
                              Committee, have (i)in the initial Overbid round, identified an Overbid as
                              being higher or otherwise better than the Baseline Bid for the Residents
                              Program Assets, or (ii) in subsequent rounds, identified an Overbid as

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                              being higher or otherwise better than the Overbid previously designated by
                              the Debtors as the prevailing highest or otherwise best Bid for the
                              Residents Program Assets (the “Prevailing Highest Bid”). The Debtors
                              shall describe to all Qualified Bidders the material terms of any new
                              Overbid designated by the Debtors, in consultation with the Committee, as
                              the Prevailing Highest Bid as well as the value attributable by the Debtors,
                              in consultation with the Committee, to such Prevailing Highest Bid.

             c.         Consideration of Overbids.

         The Debtors reserve the right, in their reasonable business judgment, and in consultation
with the Committee, to adjourn the Auction one or more times to, among other things:
(i) facilitate discussions among the Debtors, the Committee, and any Qualified Bidders;
(ii) allow Qualified Bidders to consider how they wish to proceed; (iii) provide Qualified Bidders
the opportunity to provide the Debtors and the Committee with such additional evidence as the
Debtors, in their reasonable business judgment, in consultation with the Committee, may require,
including that the Qualified Bidder has sufficient internal resources or has received sufficient
non-contingent debt and/or equity funding commitments to consummate the proposed transaction
at the prevailing Overbid amount; and (iv) provide the Debtors with an opportunity to consider,
in consultation with the Committee, how to value each Overbid.

             d.         Closing the Auction.

                        (a)   The Auction shall continue until there is only one Bid that the Debtors
                              determine, in their reasonable business judgment, and in consultation with
                              the Committee, to be the highest or otherwise best Bid in accordance with
                              the Bid Assessment Criteria. Such Bid shall be declared the “Successful
                              Bid,” and such Qualified Bidder the “Successful Bidder,” at which point
                              the Auction will be closed. The Debtors shall notify the Qualified Bidders
                              of the Successful Bid within one business day following such selection.
                              The Auction shall not close unless and until all Qualified Bidders have
                              been given a reasonable opportunity to submit an Overbid at the Auction
                              to the then Prevailing Highest Bid. Such acceptance by the Debtors of the
                              Successful Bid is conditioned upon approval by the Bankruptcy Court of
                              the Successful Bid.

                        (b)   The Debtors shall not consider any Bids or Overbids submitted after the
                              conclusion of the Auction, and any such Bids or Overbids shall be deemed
                              untimely.

                        (c)   As soon as reasonably practicable after closing the Auction, the Debtors
                              shall cause the Qualified Bid Documents for the Successful Bid and
                              Backup Bid to be filed with the Bankruptcy Court.




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             e.         No Collusion; Good-Faith Offer.

         Each Qualified Bidder participating at the Auction will be required to confirm on the
record at the Auction that: (i) it has not engaged in any collusion with respect to the bidding; and
(ii) its Bid is a good-faith offer and it intends to consummate the Sale if selected as the
Successful Bidder. All Potential Bidders and all Qualified Bidders will immediately disclose to
the Debtors, the Committee, and the United States Trustee any discussions regarding
employment of or offers to retain or employ any officer or insider of the Debtors.

H.           Backup Bidder.

             a.         Notwithstanding anything in these Bidding Procedures to the contrary, if an
                        Auction is conducted, the Qualified Bidder with the next-highest or otherwise
                        second-best Bid at the Auction, as determined by the Debtors in the exercise of
                        their reasonable business judgment, in consultation with the Committee (the
                        “Backup Bid”), shall be required to serve as a backup bidder (the “Backup
                        Bidder”), and each Qualified Bidder shall agree and be deemed to agree to be the
                        Backup Bidder if so designated by the Debtors. The Stalking Horse Bidder shall
                        serve as a Backup Bidder only if (X) the Bid set forth in the Stalking Horse
                        Agreement is not determined to be the Baseline Bid (as defined herein), and
                        (Y) the Stalking Horse Bidder elects, in its sole discretion, to offer a higher and
                        better bid at the Auction. The Stalking Horse Bidder’s Bid described in the
                        Stalking Horse Agreement shall not be a Backup Bid absent the express consent
                        of the Stalking Horse Bidder.

             b.         The identity of the Backup Bidder and the amount and material terms of the
                        Backup Bid shall be announced by the Debtors at the conclusion of the Auction at
                        the same time the Debtors announce the identity of the Successful Bidder. The
                        Backup Bidder shall be required to keep its Bid (or if the Backup Bidder submits
                        one or more Overbids at the Auction, its final Overbid) open and irrevocable,
                        until the closing of the Sale with the Successful Bidder. The foregoing
                        notwithstanding, if the Stalking Horse Bidder serves as the Backup Bidder, its
                        Backup Bid shall expire on the earlier of closing on an Alternative Transaction
                        (defined below) or September 6, 2019. The Backup Bidder’s Deposit shall be
                        held in escrow until the closing of the transaction with the Successful Bidder and
                        shall thereafter be returned within five (5) business days.

             c.         If a Successful Bidder fails to consummate the approved transactions
                        contemplated by its Successful Bid, the Debtors, in consultation with the
                        Committee, may select the Backup Bidder as the Successful Bidder, and such
                        Backup Bidder shall be deemed a Successful Bidder for all purposes. The
                        Debtors will be authorized, but not required, to consummate all transactions
                        contemplated by the Backup Bid without further order of the Bankruptcy Court or
                        notice to any party. In such case, the defaulting Successful Bidder’s Deposit shall
                        be forfeited to the Debtors. The Debtors specifically reserve the right to seek all
                        available remedies against the defaulting Successful Bidder, including with
                        respect to specific performance.


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I.           Reservation of Rights.

        Without prejudice to the rights of the Stalking Horse Bidder under the terms the Stalking
Horse Sale Agreement, the Debtors reserve their rights, in consultation with the Committee, to
modify these Bidding Procedures in their reasonable business judgment in any manner that will
best promote the goals of the bidding process, or impose, at or prior to the Auction, additional
customary terms and conditions on the sale of the Residents Program Assets, including, without
limitation: (a) extending the deadlines set forth in these Bidding Procedures; (b) adjourning the
Auction at the Auction and/or adjourning the Sale Hearing in open court without further notice;
(c) adding procedural rules that are reasonably necessary or advisable under the circumstances
for conducting the Auction; (d) canceling the Auction; and (e) rejecting any or all bids or Bids.

J.           Sale Hearing.

       A hearing to consider approval of the Sale of the Residents Program Assets to the
Successful Bidder (or to approve the Stalking Horse Agreement if no Auction is held) (the “Sale
Hearing”) is currently scheduled to take place on August 9, 2019, at 11:00 a.m. (ET) before the
Honorable Kevin Gross, at the United States Bankruptcy Court, 824 Market Street, 6th Floor,
Courtroom No. 3, Wilmington, Delaware 19801.

       The Sale Hearing may be continued to a later date by the Debtors, in consultation
with the Committee, by sending notice prior to, or making an announcement at, the Sale
Hearing. No further notice of any such continuance will be required to be provided to any
party (including the Stalking Horse Bidder). The foregoing notwithstanding, if the Sale
Hearing is continued without the consent of the Stalking Horse, the Stalking Horse may
terminate the Stalking Horse Agreement.

       At the Sale Hearing, the Debtors shall present the Successful Bid to the Bankruptcy Court
for approval.

K.           Break-Up Fee.

       To provide an incentive and to compensate the Stalking Horse Bidder for performing the
substantial due diligence and incurring the expenses necessary and entering into a Stalking Horse
Sale Agreement with the knowledge and risk that arises from participating in the sale and
subsequent bidding process, the Debtors have agreed to pay the Stalking Horse Bidder, under the
conditions set forth in the Bidding Procedures Order, a break-up fee in the amount of $225,000
(the “Breakup Fee”).

        The Break-Up fee, to the extent owed by the Debtors, (a) shall be an allowed
administrative expense claim under section 503(b) and 507 of the Bankruptcy Code and a direct
cost of any such Sale; (b) shall be payable at closing on of a Sale to a purchaser other than the
Stalking Horse Bidder (an “Alternative Transaction”)without further order of the Court; and (c)
shall be payable solely from the proceeds of such Alternative Transaction. No Interests shall
attach to the proceeds of any such Alternative Transaction equal to the amounts owed to the
Stalking Horse Bidder on account of the Break-Up Fee.



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L.           Return of Deposit.

        The Deposit of the Successful Bidder shall be applied to the Purchase Price of the
transaction at closing. The Deposits for each Qualified Bidder shall be held in one or more
interest-bearing escrow accounts on terms acceptable to the Debtors, in consultation with the
Committee, and shall be returned (other than with respect to the Successful Bidder and the
Backup Bidder) on or within five (5) business days after the Auction. The Stalking Horse Bidder
shall not be required to provide a Deposit.

       If the Successful Bidder fails to consummate the Sale because of a breach by the
Successful Bidder, the Debtors will not have any obligation to return the Deposit deposited by
the Successful Bidder, which may be retained by the Debtors as liquidated damages, in addition
to any and all rights, remedies, or causes of action that may be available to the Debtors, and the
Debtors shall be free to consummate the Sale with the Backup Bidder without the need for an
additional hearing or order of the Bankruptcy Court.

M.           Fiduciary Out.

        Nothing in these Bidding Procedures shall require the Debtors’ board of managers to take
any action, or to refrain from taking any action, with respect to these Bidding Procedures prior to
the commencement of the Auction if the Debtors’ board of managers determines, based on the
advice of counsel, that taking such action, or refraining from taking such action, as the case may
be, is required to comply with applicable law or the board’s fiduciary obligations thereunder;
provided that, in the event the Debtors’ board of managers determines to take any action, or
refrain from taking any action, pursuant to this paragraph, without the consent of the Stalking
Horse Bidder, the Stalking Horse Bidder may, but shall not be required to, terminate the Stalking
Horse Agreement if taking such action or refraining from taking such action, as the case may be,
would otherwise be grounds for termination under the Stalking Horse Agreement, it being
understood that any material modification to the Bid Procedures without the consent of the
Stalking Horse would be a breach of the Stalking Horse Agreement pursuant to which the
Stalking Horse would have the right to terminate the Stalking Horse Agreement.




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                                          SCHEDULE 2


                                      RESIDENT’S NOTICE




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                      )
    In re:                            ) Chapter 11
                                      )
    CENTER CITY HEALTHCARE, LLC d/b/a ) Case No. 19-11466 (KG)
    HAHNEMANN UNIVERSITY HOSPITAL, et )
    al.,1                             ) Jointly Administered
                                      )
                        Debtors.      )
                                      )

                         NOTICE TO RESIDENTS AND FELLOWS
               REGARDING PROPOSED SALE OF RESIDENCY PROGRAM ASSETS

TO: ALL RESIDENTS AND FELLOWS AT HAHNEMANN UNIVERSITY HOSPITAL:

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”), including Center City Healthcare, LLC, the entity that operates
Hahnemann University Hospital (“Hahnemann”), each filed a voluntary petition for relief under
chapter 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy
Court for the District of Delaware (the “Court”) on June 30, 2019 or July 1, 2019.

       PLEASE TAKE FURTHER NOTICE that the Debtors have entered into an agreement
(the “Agreement”) with Tower Health (“Tower”) to sell certain assets related to Hahnemann’s
residency and fellowship training programs (the “Sale”). Specifically, the Debtors intend to sell
to Tower: (a) National Provider Identifiers (general and psych) and Medicare provider number
and agreement; (b) the Pennsylvania Department of Health license to operate an acute care
hospital; and (c) to the extent assignable or transferrable, the Hahnemann training programs for
residents and fellows.

                                       KEY DATES AND DEADLINES

       The proposed Sale is subject to the approval of the Court and subject to better offers from
other qualified bidders. On July 9, 2019, the Debtors file a motion (the “Sale Motion”) seeking
the Court’s approval of the Sale and certain procedures (“Bidding Procedures”) related to the
Sale. On July 19, 2019, the Court entered an order (the “Bidding Procedures Order”), which

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             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
             PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
             Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
             Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
             (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
             230 North Broad Street, Philadelphia, Pennsylvania 19102.



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sets forth certain key dates and deadlines in connection with the proposed Sale. In particular, the
Bidding Procedures establish August 5, 2019 as the deadline for parties to file objections to the
Sale (the “Sale Objection Deadline”) and as the deadline for third parties to submit competing
bids. A final hearing to seek Court approval of the Sale (either to Tower or another party
submitting the best bid) is currently scheduled for August 9, 2019 at 11:00 a.m. (ET) (the “Sale
Hearing”). A copy of the Agreement, the Bidding Procedures Order and the Bidding Procedures
is enclosed herewith.

                                     THE PROPOSED SALE

        If approved by the Court, the Agreement will enable residents and fellows (collectively
herein, the “Residents”) at Hahnemann to continue their training at one of six hospitals operated
by Tower - Brandywine Hospital in Coatesville, Pennsylvania, Chestnut Hill Hospital, in
Philadelphia, Pennsylvania, Jennersville Hospital in West Grove, Pennsylvania, Phoenixville
Hospital in Phoenixville, Pennsylvania, Pottstown Hospital, in Pottstown, Pennsylvania, and
Reading Hospital, in Reading, Pennsylvania. Residents have a choice, and are not required to
continue their training with Tower. For any Resident who elects to complete their training
elsewhere, Tower or the Debtors, as applicable, will release the related cap on Medicare
reimbursement on a temporary basis to accommodate that choice.

        For Residents who elect to stay with Tower, Tower will provide housing for those
residents doing rotations at Reading Hospital, which is sixty miles from Hahnemann. Tower has
also agreed to seek to hire the faculty who are currently training Residents at Hahnemann to
ensure continuity of the Hahnemann training programs. Tower will also provide free housing
(subject to parameters set forth in the Agreement) for the remainder of the academic year or
during the term of a resident’s existing vacated lease if it is necessary for the Resident to relocate
during the current academic year. Residents will receive free meals while in any Tower hospital,
and Tower will also provide additional amenities to assist Residents and their families with the
transition.

      If the Sale is approved by the Court to someone other than Tower, the terms of the Sale,
and the impact upon Residents, may be different than those under the Agreement.

       The Debtors recognize the unique difficulties and challenges facing Residents in light of
the bankruptcy filing and expected closure of Hahnemann. The Debtors believe that the
proposed Sale is in the best interests of Residents because it provides Residents with the option
to continue their training and, to minimize, to the greatest extent possible, the impact of
Hahnemann’s closure on Residents, their professional training and education, and their families.

                                 Obtaining Additional Information

        Copies of all documents filed with the Court with respect to the Debtors’ bankruptcy
cases are available free of charge on the website of the Court-appointed claims and noticing
agent     for   the    Debtors’     chapter    11    cases,  Omni     Management       Group,
https://omnimgt.com/sblite/centercityhealthcare/. You may also contact the Debtors’ attorneys,



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whose contact information is in the signature block below, for more information. In addition,
Residents should contact their Program Director with questions specific to their situation.

                                         Filing Objections

        Objections to the Sale (a “Sale Objection”), if any, must (a) be in writing, (b) state the
basis of such objection with specificity and (c) be filed with the Court and served upon, so as to
be actually received on or prior to the Sale Objection Deadline: (a) the Debtors Center City
Healthcare, LLC, d/b/a Hahnemann University Hospital, 230 North Broad Street, Philadelphia,
Pennsylvania, Attn: Allen Wilen, Chief Restructuring Officer; and (b) proposed counsel to the
Debtors, Saul Ewing Arnstein & Lehr LLP, (i) 1201 North Market Street, Suite 2300,
Wilmington, DE 19899, Attn: Mark Minuti; and (ii) Centre Square West, 1500 Market Street,
38th Floor, Philadelphia, PA, Attn: Jeffrey C. Hampton; and (c) Stevens & Lee, P.C., 620
Freedom Business Center, Suite 200, Attn: Robert Lapowsky (rl@stevenslee.com), counsel to
Tower.

              CONSEQUENCES OF FAILING TO TIMELY ASSERT AN OBJECTION

     ANY PARTY OR ENTITY WHO FAILS TO TIMELY ASSERT AN OBJECTION
TO THE SALE ON OR BEFORE THE OBJECTION DEADLINE IN ACCORDANCE
WITH THE BIDDING PROCEDURES ORDER SHALL BE FOREVER BARRED FROM
ASSERTING ANY OBJECTION TO THE SALE, INCLUDING WITH RESPECT TO
THE TRANSFER OF THE RESIDENTS PROGRAM ASSETS FREE AND CLEAR OF
ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS. IF YOU FAIL
TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT
THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR
HEARING. ANY CREDITOR THAT RECEIVES NOTICE OF THE SALE HEARING
AND FAILS TO TIMELY FILE AN OBJECTION TO THE SALE ON OR BEFORE THE
OBJECTION DEADLINE IN ACCORDANCE WITH THE BIDDING PROCEDURES
ORDER SHALL BE DEEMED TO HAVE CONSENTED UNDER SECTION 363(f)(2) OF
THE BANKRUPTCY CODE TO SUCH SALE FREE AND CLEAR OF SUCH
CREDITOR’S LIEN OR INTERESTS, IF ANY.




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Dated: July 19, 2019                         SAUL EWING ARNSTEIN & LEHR LLP

                                          By:/s/ Aaron S. Applebaum
                                             Mark Minuti (DE Bar No. 2659)
                                             Monique B. DiSabatino (DE Bar No. 6027)
                                             1201 N. Market Street, Suite 2300
                                             P.O. Box 1266
                                             Wilmington, DE 19899
                                             Telephone: (302) 421-6800
                                             Fax: (302) 421-5873
                                             mark.minuti@saul.com
                                             monique.disabatino@saul.com

                                                     -and-

                                             Jeffrey C. Hampton
                                             Adam H. Isenberg
                                             Aaron S. Applebaum (DE Bar No. 5587)
                                             Centre Square West
                                             1500 Market Street, 38th Floor
                                             Philadelphia, PA 19102
                                             Telephone: (215) 972-7700
                                             Fax: (215) 972-7725
                                             jeffrey.hampton@saul.com
                                             adam.isenberg@saul.com
                                             aaron.applebaum@saul.com

                                             Proposed Counsel for Debtors and
                                             Debtors in Possession




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                                          SCHEDULE 3


                                     PUBLICATION NOTICE




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                      )
    In re:                            ) Chapter 11
                                      )
    CENTER CITY HEALTHCARE, LLC d/b/a ) Case No. 19-11466 (KG)
    HAHNEMANN UNIVERSITY HOSPITAL, et )
    al.,1                             ) Jointly Administered
                                      )
                        Debtors.      )
                                      )

NOTICE REGARDING PROPOSED SALE OF RESIDENTS PROGRAM ASSETS FREE
  AND CLEAR OF ALL INTERESTS, INCLUDING PERSONAL INJURY CLAIMS

TO:          ALL PERSONS WITH CLAIMS AGAINST THE DEBTORS IN THE ABOVE
             CAPTIONED CASES, INCLUDING CLAIMS AGAINST HAHNEMANN
             UNIVERSITY HOSPITAL:

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”), including Center City Healthcare, LLC, the entity that operates
Hahnemann University Hospital (“Hahnemann”), each filed a voluntary petition for relief under
chapter 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy
Court for the District of Delaware (the “Court”) on June 30, 2019 or July 1, 2019.

        PLEASE TAKE FURTHER NOTICE that the Debtors have entered into an agreement
(the “Agreement”) with Reading Hospital (the “Purchaser”) to sell certain assets related to
Hahnemann’s residency and fellowship training programs (the “Sale”). Specifically, the Debtors
intend to sell to the Purchaser: (a) National Provider Identifiers (general and psych) and
Medicare provider number and agreement; (b) the Pennsylvania Department of Health license to
operate an acute care hospital; and (c) to the extent assignable or transferrable, the Hahnemann
training programs for residents and fellows.

         PLEASE TAKE FURTHER NOTICE that the Sale, if approved, will be free and clear
of all Interests, including claims of successor liability.



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             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
             PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
             Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
             Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
             (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
             230 North Broad Street, Philadelphia, Pennsylvania 19102.



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     PLEASE TAKE FURTHER NOTICE THAT, IF THE SALE IS APPROVED, THE
PURCHASER WILL NOT BE LIABLE ON ACCOUNT OF ANY CLAIMS AGAINST
ANY OF THE DEBTORS (OTHER THAN CLAIMS AFFIRMATIVELY ASSUMED BY
THE PURCHASER), INCLUDING CLAIMS OF PATIENTS TREATED AT
HAHNEMANN, INCLUDING CLAIMS OF WHICH THE HOLDER MAY NOT BE
PRESENTLY AWARE.

                                  KEY DATES AND DEADLINES

        The proposed Sale is subject to the approval of the Court and subject to better offers from
other qualified bidders. On July 9, 2019, the Debtors filed a motion (the “Sale Motion”) seeking
the Court’s approval of the Sale and certain procedures (“Bidding Procedures”) related to the
Sale. On July 19, 2019, the Court entered an order (the “Bidding Procedures Order”), which
sets forth certain key dates and deadlines in connection with the proposed Sale. In particular, the
Bidding Procedures establish August 5, 2019 as the deadline for parties to file objections to the
Sale (the “Sale Objection Deadline”) and as the deadline for third parties to submit competing
bids. A final hearing to seek Court approval of the Sale (either to Tower or another party
submitting the best bid) is currently scheduled for August 9, 2019 at 11:00 a.m. (ET) (the “Sale
Hearing”).

                                 Obtaining Additional Information

        Copies of all documents filed with the Court with respect to the Debtors’ bankruptcy
cases are available free of charge on the website of the Court-appointed claims and noticing
agent     for   the    Debtors’     chapter     11     cases,     Omni  Management      Group,
https://omnimgt.com/sblite/centercityhealthcare/. You may also contact the Debtors’ attorneys,
whose contact information is below, for more information. In addition, Residents should contact
their Program Director with questions specific to their situation.

                                         Filing Objections

        Objections to the Sale (a “Sale Objection”), if any, must (a) be in writing, (b) state the
basis of such objection with specificity and (c) be filed with the Court and served upon, so as to
be actually received on or prior to the Sale Objection Deadline: (a) the Debtors Center City
Healthcare, LLC, d/b/a Hahnemann University Hospital, 230 North Broad Street, Philadelphia,
Pennsylvania, Attn: Allen Wilen, Chief Restructuring Officer; and (b) proposed counsel to the
Debtors, Saul Ewing Arnstein & Lehr LLP, (i) 1201 North Market Street, Suite 2300,
Wilmington, DE 19899, Attn: Mark Minuti; and (ii) Centre Square West, 1500 Market Street,
38th Floor, Philadelphia, PA, Attn: Jeffrey C. Hampton; (c) Stevens & Lee, P.C., 620 Freedom
Business Center, Suite 200, Attn: Robert Lapowsky (rl@stevenslee.com), counsel to Tower, and
(d) Sills Cummis & Gross P.C., One Riverfront Plaza, Newark, New Jersey, 07102, Attn:
Andrew       Sherman       (Asherman@sillscummis.com)            and      Boris     Mankovetskiy
(BMankoverskiy@sillscummis.com), proposed counsel to the Committee.




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              CONSEQUENCES OF FAILING TO TIMELY ASSERT AN OBJECTION

     ANY PARTY OR ENTITY WHO FAILS TO TIMELY ASSERT AN OBJECTION
TO THE SALE ON OR BEFORE THE OBJECTION DEADLINE IN ACCORDANCE
WITH THE BIDDING PROCEDURES ORDER SHALL BE FOREVER BARRED FROM
ASSERTING ANY OBJECTION TO THE SALE, INCLUDING WITH RESPECT TO
THE TRANSFER OF THE RESIDENTS PROGRAM ASSETS FREE AND CLEAR OF
ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS. IF YOU FAIL
TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT
THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR
HEARING. ANY CREDITOR THAT FAILS TO TIMELY FILE AN OBJECTION TO
THE SALE ON OR BEFORE THE OBJECTION DEADLINE IN ACCORDANCE WITH
THE BIDDING PROCEDURES ORDER SHALL BE DEEMED TO HAVE CONSENTED
UNDER SECTION 363(f)(2) OF THE BANKRUPTCY CODE TO SUCH SALE FREE
AND CLEAR OF SUCH CREDITOR’S LIEN OR INTERESTS, IF ANY.

Dated: July 19, 2019                         SAUL EWING ARNSTEIN & LEHR LLP

                                          By:/s/ Mark Minuti
                                             Mark Minuti (DE Bar No. 2659)
                                             Monique B. DiSabatino (DE Bar No. 6027)
                                             1201 N. Market Street, Suite 2300
                                             P.O. Box 1266
                                             Wilmington, DE 19899
                                             Telephone: (302) 421-6800
                                             Fax: (302) 421-5873
                                             mark.minuti@saul.com
                                             monique.disabatino@saul.com

                                                     -and-

                                             Jeffrey C. Hampton
                                             Adam H. Isenberg
                                             Aaron S. Applebaum (DE Bar No. 5587)
                                             1500 Market Street, 38th Floor
                                             Philadelphia, PA 19102
                                             Telephone: (215) 972-7700
                                             Fax: (215) 972-7725
                                             jeffrey.hampton@saul.com
                                             adam.isenberg@saul.com
                                             aaron.applebaum@saul.com

                                             Proposed Counsel for Debtors and
                                             Debtors in Possession




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                                          SCHEDULE 5


                                  AUCTION AND SALE NOTICE




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                      )
    In re:                            ) Chapter 11
                                      )
    CENTER CITY HEALTHCARE, LLC d/b/a ) Case No. 19-11466 (KG)
    HAHNEMANN UNIVERSITY HOSPITAL, et )
    al.,1                             ) Jointly Administered
                                      )
                        Debtors.      )
                                      )

      NOTICE OF SALE, BIDDING PROCEDURES, AUCTION, AND SALE HEARING

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) each filed a voluntary petition for relief under chapter 11 of the
United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
District of Delaware (the “Court”) on June 30, 2019 and July 1, 2019.

        PLEASE TAKE FURTHER NOTICE that on July 9, 2019, the Debtors filed a motion
(the “Sale and Bidding Procedures Motion”)2 seeking the entry of orders, among other things,
approving (a) procedures for the solicitation of bids in connection with the proposed sale of
certain of the Debtors’ assets to Tower Health (the “Stalking Horse Bidder”) for $7.5 million
plus the assumption of certain contracts and responsibilities of the Debtors with respect to
Residents at Hahnemann University Hospital (the “Sale”), subject to the submission of higher or
better offers in an auction process (the “Auction”); (b) the form and manner of notices related to
the Sale; and (c) procedures for the assumption and assignment of contracts in connection with
the Sale.

        PLEASE TAKE FURTHER NOTICE that on July 19, 2019, the Court entered an order
(the “Bidding Procedures Order”) approving, among other things, the Bidding Procedures,
which establish the key dates and times related to the Sale and the Auction. All interested
bidders should carefully read the Bidding Procedures Order and the Bidding Procedures in their
entirety. To the extent that there are any inconsistencies between the Bidding Procedures and the

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             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
             PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
             Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
             Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
             (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
             230 North Broad Street, Philadelphia, Pennsylvania 19102.
2
             Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
             Sale and Bidding Procedures Motion.



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summary descriptions of the Bidding Procedures in this notice, the terms of the Bidding
Procedures shall control in all respects. The deadline by which all Bids must be actually
received by the parties specified in the Bidding Procedures Order is August 5, 2019 at 4:00 p.m.
(prevailing Eastern time) (the “Bid Deadline”).

                          Contact Persons for Parties Interested in Submitting a Bid

         The Bidding Procedures set forth the requirements for submitting a Qualified Bid, and
any person interested in making an offer to purchase the Residents Program Assets must comply
strictly with the Bidding Procedures. Only Qualified Bids will be considered by the Debtors.
Any interested persons should contact:

Proposed Investment Banker to Debtors                       Proposed Counsel to Debtors

             SSG Advisors, LLC                            Saul Ewing Arnstein & Lehr LLP
        Five Tower Bridge, Suite 420                      1201 N. Market Street, Suite 2300
           300 Barr Harbor Drive                            Wilmington, Delaware 19899
       West Conshohocken, PA 19428                      Mark Minuti (mark.minuti@saul.com),
    J. Scott Victor (jsvictor@ssgca.com)          Jeffrey C. Hampton (jeffrey.hampton@saul.com),
       Teresa Kohl (tkohl@ssgca.com)              Aaron S. Applebaum (aaron.applebaum@saul.com)
   Craig Warznak (cwarznak@ssgca.com)                             (215) 972-7777
               (610) 940-3615

                                   Obtaining Additional Information

       Copies of the Sale and Bidding Procedures Motion, the Bidding Procedures, and the
Bidding Procedures Order, as well as all related exhibits, including the Stalking Horse Purchase
Agreement and all other documents filed with the Court, are available free of charge on the
website of the Court-appointed claims and noticing agent for the Debtors’ chapter 11 cases,
Omni Management Group, https://omnimgt.com/sblite/centercityhealthcare/.

                                    Important Dates and Deadlines

             1. The deadline to submit a Qualified Bid is August 5, 2019 at 4:00 p.m. (prevailing
                Eastern time).

             2. The deadline to file an objection with the Bankruptcy Court to the entry of an order
                approving the Sale (the “Sale Order”) and all objections relating to the Stalking
                Horse Bidder (collectively, “Sale Objections”) is August 5, 2019 at 4:00 p.m.
                (prevailing Eastern time) (the “Sale Objection Deadline”).

             3. In the event that the Debtors timely receive a Qualified Bid in addition to the
                Qualified Bid of the Stalking Horse Bidder, the Debtors intend to conduct an Auction
                for the Residents Program Assets. The Auction, if one is necessary, will commence
                on August 7, 2019 at 10:00 a.m. (prevailing Eastern time), or such other date as
                determined by the Court, at the offices of Saul Ewing Arnstein & Lehr LLP, Centre


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                   Square West, 1500 Market Street, 38th Floor, Philadelphia, PA 19102 (or at any other
                   location as the Debtors may hereafter designate on proper notice).

             4. Objections to the conduct of the Auction and the terms of a sale to a Successful
                Bidder other than the Stalking Horse Bidder (collectively, “Auction Objections”)
                may be raised at the Sale Hearing (as defined below).

             5. A hearing (the “Sale Hearing”) to consider the proposed Sale will be held before the
                Court on August 9, 2019 at 11:00 a.m. (ET), or such other date as determined by the
                Bankruptcy Court, at 824 North Market Street, Wilmington, Delaware 19801.

                                              Filing Objections

        Sale Objections, if any, must (a) be in writing, (b) state the basis of such objection with
specificity and (c) be filed with the Court and served upon, so as to be actually received on or
prior to the Sale Objection Deadline: (a) the Debtors Center City Healthcare, LLC, 230 North
Broad Street, Philadelphia, Pennsylvania, Attn: Allen Wilen, Chief Restructuring Officer; (b)
proposed counsel to the Debtors, Saul Ewing Arnstein & Lehr LLP, 1201 North Market Street,
Suite 2300, Wilmington, DE 19899, Attn: Mark Minuti and Centre Square West, 1500 Market
Street, 38th Floor, Philadelphia, PA 19102, Attn: Jeffrey C. Hampton; (c) proposed counsel to
the Official Committee of Unsecured Creditors, Sills Cummis & Gross P.C., One Riverfront
Plaza, Newark, New Jersey, 07102, Attn: Andrew Sherman and Boris Mankovetskiy; and (d)
counsel to the Stalking Horse Bidder, Stevens & Lee, P.C., 620 Freedom Business Center, Suite
200, King of Prussia, Pennsylvania 19406, Attn: Robert Lapowsky.

              CONSEQUENCES OF FAILING TO TIMELY ASSERT AN OBJECTION

     ANY PARTY OR ENTITY WHO FAILS TO TIMELY ASSERT AN OBJECTION
TO THE SALE ON OR BEFORE THE OBJECTION DEADLINE IN ACCORDANCE
WITH THE BIDDING PROCEDURES ORDER SHALL BE FOREVER BARRED FROM
ASSERTING ANY OBJECTION TO THE SALE, INCLUDING WITH RESPECT TO
THE TRANSFER OF THE RESIDENTS PROGRAM ASSETS FREE AND CLEAR OF
ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS. IF YOU FAIL
TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT
THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR
HEARING. ANY CREDITOR THAT RECEIVES NOTICE OF THE SALE HEARING
AND FAILS TO TIMELY FILE AN OBJECTION TO THE SALE ON OR BEFORE THE
OBJECTION DEADLINE IN ACCORDANCE WITH THE BIDDING PROCEDURES
ORDER SHALL BE DEEMED TO HAVE CONSENTED UNDER SECTION 363(f)(2) OF
THE BANKRUPTCY CODE TO SUCH SALE FREE AND CLEAR OF SUCH
CREDITOR’S LIEN OR INTERESTS, IF ANY.




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Dated: July 19, 2019                         SAUL EWING ARNSTEIN & LEHR LLP

                                          By:/s/ Aaron S. Applebaum
                                             Mark Minuti (DE Bar No. 2659)
                                             Monique B. DiSabatino (DE Bar No. 6027)
                                             1201 N. Market Street, Suite 2300
                                             P.O. Box 1266
                                             Wilmington, DE 19899
                                             Telephone: (302) 421-6800
                                             Fax: (302) 421-5873
                                             mark.minuti@saul.com
                                             monique.disabatino@saul.com

                                                     -and-

                                             Jeffrey C. Hampton
                                             Adam H. Isenberg
                                             Aaron S. Applebaum (DE Bar No. 5587)
                                             Centre Square West
                                             1500 Market Street, 38th Floor
                                             Philadelphia, PA 19102
                                             Telephone: (215) 972-7700
                                             Fax: (215) 972-7725
                                             jeffrey.hampton@saul.com
                                             adam.isenberg@saul.com
                                             aaron.applebaum@saul.com

                                             Proposed Counsel for Debtors and
                                             Debtors in Possession




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